       Case 1:24-cv-04777-AKH             Document 9-1      Filed 06/25/24    Page 1 of 78




                                               EXHIBIT A

                                       Sound Recordings at Issue

#        Artist                  Title                       Reg. No.              Rights Owner
         Natalie
1.                     Torn                                SR0000249297             Arista Music
        Imbruglia
                                                    Pre-1972 Recording (Indexed
2.    Jose Feliciano   Feliz Navidad                                                Arista Music
                                                               2019)
                                                    Pre-1972 Recording (Indexed
3.     Hank Snow       I've Been Everywhere                                         Arista Music
                                                               2019)
                                                    Pre-1972 Recording (Indexed
4.     Hank Snow       Miller's Cave                                                Arista Music
                                                               2019)
                       (Now and Then, There's) A    Pre-1972 Recording (Indexed
5.     Hank Snow                                                                    Arista Music
                       Fool Such As I                          2019)
6.     Hank Snow       Hello Love                             N14246                Arista Music
                                                    Pre-1972 Recording (Indexed
7.     Hank Snow       The Golden Rocket                                            Arista Music
                                                               2019)
                       Ninety Miles An Hour         Pre-1972 Recording (Indexed
8.     Hank Snow                                                                    Arista Music
                       (Down A Dead End Street)                2019)
                                                    Pre-1972 Recording (Indexed
9.     Hank Snow       Ghost Trains                                                 Arista Music
                                                               2019)
                                                    Pre-1972 Recording (Indexed
10.    Hank Snow       Let Me Go Lover                                              Arista Music
                                                               2019)
                                                    Pre-1972 Recording (Indexed
11.    Hank Snow       Beggar To A King                                             Arista Music
                                                               2019)
                                                    Pre-1972 Recording (Indexed
12.    Hank Snow       Lady's Man                                                   Arista Music
                                                               2019)
                                                    Pre-1972 Recording (Indexed
13.    Hank Snow       Conscience I'm Guilty                                        Arista Music
                                                               2019)
                       The Wishing Well (Down       Pre-1972 Recording (Indexed
14.    Hank Snow                                                                    Arista Music
                       In The Well)                            2019)
                       The Gal Who Invented         Pre-1972 Recording (Indexed
15.    Hank Snow                                                                    Arista Music
                       Kissin'                                 2019)
                                                    Pre-1972 Recording (Indexed
16.    Hank Snow       Would You Mind                                               Arista Music
                                                               2019)
                                                    Pre-1972 Recording (Indexed
17.    Hank Snow       The Last Ride                                                Arista Music
                                                               2019)
                                                    Pre-1972 Recording (Indexed
18.    Hank Snow       I Went To Your Wedding                                       Arista Music
                                                               2019)
                       The Wreck of the Number      Pre-1972 Recording (Indexed
19.    Hank Snow                                                                    Arista Music
                       Nine                                    2019)
                                                    Pre-1972 Recording (Indexed
20.    Hank Snow       The Rhumba Boogie                                            Arista Music
                                                               2019)
                       Rudolph The Red-Nosed        Pre-1972 Recording (Indexed
21.    Hank Snow                                                                    Arista Music
                       Reindeer                                2019)
                       The Man Who Robbed the       Pre-1972 Recording (Indexed
22.    Hank Snow                                                                    Arista Music
                       Bank at Santa Fe                        2019)
      Case 1:24-cv-04777-AKH          Document 9-1    Filed 06/25/24    Page 2 of 78




                                              Pre-1972 Recording (Indexed
23.   Hank Snow   Big Wheels                                                   Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
24.   Hank Snow   You're the Reason                                            Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
25.   Hank Snow   The Reindeer Boogie                                          Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
26.   Hank Snow   Waiting for a Train                                          Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
27.   Hank Snow   Pan American                                                 Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
28.   Hank Snow   My Nova Scotia Home                                          Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
29.   Hank Snow   Frosty the Snow Man                                          Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
30.   Hank Snow   Chattanooga Choo Choo                                        Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
31.   Hank Snow   Tangled Mind                                                 Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
32.   Hank Snow   Wabash Cannonball                                            Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
33.   Hank Snow   In The Misty Moonlight                                       Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
34.   Hank Snow   I'm Movin' On                                                Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
35.   Hank Snow   Southbound                                                   Arista Music
                                                        2019)
                  When It's Springtime in     Pre-1972 Recording (Indexed
36.   Hank Snow                                                                Arista Music
                  Alaska                                2019)
                                              Pre-1972 Recording (Indexed
37.   Hank Snow   The Crazy Engineer                                           Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
38.   Hank Snow   Lonesome Whistle                                             Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
39.   Hank Snow   Bluebird Island                                              Arista Music
                                                        2019)
                                              Pre-1972 Recording (Indexed
40.   Hank Snow   Way Out There                                                Arista Music
                                                        2019)
                  The Cremation of Sam        Pre-1972 Recording (Indexed
41.   Hank Snow                                                                Arista Music
                  McGee                                 2019)
                                              Pre-1972 Recording (Indexed
42.   Hank Snow   Geisha Girl                                                  Arista Music
                                                        2019)
       Yes/Jon
43.               Lift Me Up                         SR0000137763           Arista Records LLC
      Anderson
       Yes/Jon
44.               Silent Talking                     SR0000137763           Arista Records LLC
      Anderson
       Yes/Jon
45.               Miracle Of Life                    SR0000137763           Arista Records LLC
      Anderson
       Yes/Jon
46.               Saving My Heart                    SR0000137763           Arista Records LLC
      Anderson
       Yes/Jon
47.               Masquerade                         SR0000137763           Arista Records LLC
      Anderson

                                            -2-
       Case 1:24-cv-04777-AKH          Document 9-1    Filed 06/25/24   Page 3 of 78




         Yes/Jon
48.                   Shock To The System             SR0000137763         Arista Records LLC
        Anderson
         Yes/Jon      Without Hope You Cannot
49.                                                   SR0000137763         Arista Records LLC
        Anderson      Start The Day
         Yes/Jon
50.                   Angkor Wat                      SR0000137763         Arista Records LLC
        Anderson
         Yes/Jon
51.                   Holding On                      SR0000137763         Arista Records LLC
        Anderson
         Yes/Jon      Take The Water To The
52.                                                   SR0000137763         Arista Records LLC
        Anderson      Mountain
         Yes/Jon      I Would Have Waited
53.                                                   SR0000137763         Arista Records LLC
        Anderson      Forever
                      Dangerous (Look In the
         Yes/Jon
54.                   Light of What You're            SR0000137763         Arista Records LLC
        Anderson
                      Searching For)
          Yes/Jon     The More We Live - Let
55.                                                   SR0000137763         Arista Records LLC
         Anderson     Go
          Yes/Jon
56.                   Evensong                        SR0000137763         Arista Records LLC
         Anderson
         Anthony
      Ramos, Ariana
      DeBose, Sasha
        Hutchings,
         Ephraim
                                                                           Atlantic Recording
57.     Sykes, Lin-   Blow Us All Away                SR0000923673
                                                                                  Corp.
          Manuel
         Miranda,
         Original
      Broadway Cast
       of Hamilton
         Anthony
       Ramos, Lin-
          Manuel
       Miranda, Jon
                                                                           Atlantic Recording
58.     Rua, Leslie   Ten Duel Commandments           SR0000923673
                                                                                  Corp.
        Odom, Jr.,
         Original
      Broadway Cast
       of Hamilton
         Anthony
          Ramos,
         Okieriete
       Onaodowan,
                      The Story of Tonight                                 Atlantic Recording
59.   Daveed Diggs,                                   SR0000923673
                      (Reprise)                                                   Corp.
        Lin-Manuel
         Miranda,
       Leslie Odom,
             Jr.




                                                -3-
       Case 1:24-cv-04777-AKH               Document 9-1    Filed 06/25/24   Page 4 of 78




          Anthony
           Ramos,
       Phillipa Soo,
                                                                                Atlantic Recording
60.     Lin-Manuel      Schuyler Defeated                  SR0000923673
                                                                                       Corp.
          Miranda,
       Leslie Odom,
              Jr.
        Christopher
          Jackson,
      Daveed Diggs,
                                                                                Atlantic Recording
61.     Lin-Manuel      Cabinet Battle #1                  SR0000923673
                                                                                       Corp.
          Miranda,
         Okieriete
        Onaodowan
        Christopher
          Jackson,
      Daveed Diggs,
                                                                                Atlantic Recording
62.     Lin-Manuel      Cabinet Battle #2                  SR0000923673
                                                                                       Corp.
          Miranda,
         Okieriete
        Onaodowan
        Christopher
       Jackson, Lin-
           Manuel
          Miranda,                                                              Atlantic Recording
63.                     Right Hand Man                     SR0000923673
       Leslie Odom,                                                                    Corp.
        Jr., Original
      Broadway Cast
        of Hamilton
        Christopher
       Jackson, Lin-
           Manuel
                        History Has Its Eyes on                                 Atlantic Recording
64.       Miranda,                                         SR0000923673
                        You                                                            Corp.
          Original
      Broadway Cast
        of Hamilton
        Christopher
       Jackson, Lin-
           Manuel
                                                                                Atlantic Recording
65.       Miranda,      One Last Time                      SR0000923673
                                                                                       Corp.
          Original
      Broadway Cast
        of Hamilton




                                                  -4-
       Case 1:24-cv-04777-AKH            Document 9-1    Filed 06/25/24   Page 5 of 78




      Daveed Diggs,
          Okieriete
        Onaodowan,
       Leslie Odom,
                                                                             Atlantic Recording
66.   Jr., Lin-Manuel   The Election of 1800            SR0000923673
                                                                                    Corp.
          Miranda,
           Original
      Broadway Cast
        of Hamilton
           Jasmine
       Cephas Jones,
       Leslie Odom,
      Jr., Lin-Manuel
          Miranda,                                                           Atlantic Recording
67.                     Say No to This                  SR0000923673
       Sydney James                                                                 Corp.
          Harcourt,
           Original
      Broadway Cast
        of Hamilton
       Leslie Odom,
        Jr., Anthony
            Ramos,
      Daveed Diggs,
          Okieriete
        Onaodowan,
        Lin-Manuel                                                           Atlantic Recording
68.                     Alexander Hamilton              SR0000923673
          Miranda,                                                                  Corp.
       Phillipa Soo,
        Christopher
           Jackson,
           Original
      Broadway Cast
        of Hamilton
       Leslie Odom,
                                                                             Atlantic Recording
69.   Jr., Lin-Manuel   Dear Theodosia                  SR0000923673
                                                                                    Corp.
           Miranda
       Leslie Odom,
      Jr., Lin-Manuel
          Miranda,
      Daveed Diggs,
                        The Room Where It                                    Atlantic Recording
70.       Okieriete                                     SR0000923673
                        Happens                                                     Corp.
        Onaodowan,
           Original
      Broadway Cast
        of Hamilton




                                               -5-
       Case 1:24-cv-04777-AKH             Document 9-1    Filed 06/25/24   Page 6 of 78




       Leslie Odom,
      Jr., Lin-Manuel
          Miranda,                                                            Atlantic Recording
71.                     A Winter's Ball                  SR0000923673
           Original                                                                  Corp.
      Broadway Cast
        of Hamilton
       Leslie Odom,
      Jr., Lin-Manuel
          Miranda,      The World Was Wide                                    Atlantic Recording
72.                                                      SR0000923673
           Original     Enough                                                       Corp.
      Broadway Cast
        of Hamilton
       Leslie Odom,
      Jr., Lin-Manuel
          Miranda,                                                            Atlantic Recording
73.                     Your Obedient Servant            SR0000923673
           Original                                                                  Corp.
      Broadway Cast
        of Hamilton
       Leslie Odom,
      Jr., Lin-Manuel
          Miranda,
        Renée Elise
        Goldsberry,
                                                                              Atlantic Recording
74.    Phillipa Soo,    Non-Stop                         SR0000923673
                                                                                     Corp.
        Christopher
           Jackson,
           Original
      Broadway Cast
        of Hamilton
        Lin-Manuel
          Miranda,
           Anthony
            Ramos,
      Daveed Diggs,
                                                                              Atlantic Recording
75.       Okieriete     My Shot                          SR0000923673
                                                                                     Corp.
        Onaodowan,
       Leslie Odom,
        Jr., Original
      Broadway Cast
        of Hamilton
        Lin-Manuel
          Miranda,
           Anthony
            Ramos,
          Okieriete                                                           Atlantic Recording
76.                     The Story of Tonight             SR0000923673
        Onaodowan,                                                                   Corp.
      Daveed Diggs,
           Original
      Broadway Cast
        of Hamilton


                                                -6-
       Case 1:24-cv-04777-AKH             Document 9-1     Filed 06/25/24   Page 7 of 78




        Lin-Manuel
         Miranda,
          Anthony
           Ramos,                                                              Atlantic Recording
77.                     Stay Alive (Reprise)              SR0000923673
       Phillipa Soo,                                                                  Corp.
          Original
      Broadway Cast
       of Hamilton
        Lin-Manuel
         Miranda,
      Daveed Diggs,                                                            Atlantic Recording
78.                     We Know                           SR0000923673
       Leslie Odom,                                                                   Corp.
       Jr., Okieriete
       Onaodowan
        Lin-Manuel
         Miranda,
      Leslie Odom ,
       Jr., Anthony                                                            Atlantic Recording
79.                     Aaron Burr, Sir                   SR0000923673
           Ramos,                                                                     Corp.
      Daveed Diggs,
         Okieriete
       Onaodowan
        Lin-Manuel
         Miranda,
       Leslie Odom,
       Jr., Anthony
           Ramos,                                                              Atlantic Recording
80.                     Meet Me Inside                    SR0000923673
        Christopher                                                                   Corp.
          Jackson,
          Original
      Broadway Cast
       of Hamilton
        Lin-Manuel
         Miranda,
                                                                               Atlantic Recording
81.       Original      Hurricane                         SR0000923673
                                                                                      Corp.
      Broadway Cast
       of Hamilton
       Phillipa Soo,
          Anthony
       Ramos, Lin-
                                                                               Atlantic Recording
82.       Manuel        Take a Break                      SR0000923673
                                                                                      Corp.
         Miranda,
        Renée Elise
        Goldsberry
       Phillipa Soo,
                        Best of Wives and Best of                              Atlantic Recording
83.     Lin-Manuel                                        SR0000923673
                        Women                                                         Corp.
          Miranda
       Phillipa Soo,
                                                                               Atlantic Recording
84.     Lin-Manuel      That Would Be Enough              SR0000923673
                                                                                      Corp.
          Miranda


                                                    -7-
       Case 1:24-cv-04777-AKH               Document 9-1    Filed 06/25/24   Page 8 of 78




        Renée Elise
        Goldsberry,
        Lin-Manuel
         Miranda,                                                                Atlantic Recording
85.                     It's Quiet Uptown                  SR0000923673
       Phillipa Soo,                                                                    Corp.
          Original
      Broadway Cast
        of Hamilton
          Thayne
      Jasperson, Lin-
          Manuel
                                                                                 Atlantic Recording
86.      Miranda,       Farmer Refuted                     SR0000923673
                                                                                        Corp.
          Original
      Broadway Cast
        of Hamilton
                                                    2020-05-06- USCA21102512;
                                                                                  Capitol Records,
87.   Frank Sinatra     Adeste Fideles                    USCA28500105;
                                                                                        LLC
                                                          USCA29900560
                                                    2020-05-06 -USCA28800143;
                                                          USCA21102484;
                                                                                  Capitol Records,
88.   Frank Sinatra     All The Way                       USCA29901321;
                                                                                        LLC
                                                          USCA20601830;
                                                          USCA21102123
                                                    2020-05-06 - USCA29800168;
                                                          USCA28700407;           Capitol Records,
89.   Frank Sinatra     Blue Moon
                                                          USCA21202996;                 LLC
                                                          USCA28700407
                                                    2020-05-06 - USCA28800144;
                                                                                  Capitol Records,
90.   Frank Sinatra     Chicago                           USCA29800388;
                                                                                        LLC
                                                          USCA20300966
                                                    2020-05-06 - USCA28700435;
                                                          USCA21102476;
                                                          USCA29800360;           Capitol Records,
91.   Frank Sinatra     Come Fly With Me
                                                          USCA20002343;                 LLC
                                                          USCA21102124;
                                                          USCA21102129
                                                    2020-05-06 - USCA21102510;
                        Hark! The Herald Angels           USCA28700227;           Capitol Records,
92.   Frank Sinatra
                        Sing                              USCA29900556;                 LLC
                                                          USCA20200907
                                                    2020-05-06 - USCA21102508;
                        Have Yourself A Merry             USCA28500103;           Capitol Records,
93.   Frank Sinatra
                        Little Christmas                  USCA29900549;                 LLC
                                                          USCA20200911
                                                    2020-05-06 - USCA28800145;
                                                                                  Capitol Records,
94.   Frank Sinatra     I Get A Kick Out Of You           USCA29800475;
                                                                                        LLC
                                                          USCA20002338
                                                    2020-05-06 -USCA29100469;     Capitol Records,
95.   Frank Sinatra     I Won't Dance
                                                          USCA29800403                  LLC



                                                  -8-
       Case 1:24-cv-04777-AKH           Document 9-1      Filed 06/25/24    Page 9 of 78




                                                   2020-05-06 - USCA21102506;
                       I'll Be Home For                  USCA20904650;
                                                                                Capitol Records,
96.    Frank Sinatra   Christmas (If Only In My          USCA28700224;
                                                                                      LLC
                       Dreams)                           USCA29900571;
                                                         USCA20200937
                                                   2020-05-06 - USCA28700391;
                                                         USCA21102481;
                                                         USCA29800105;
                       In The Wee Small Hours                                   Capitol Records,
97.    Frank Sinatra                                     USCA20601846;
                       Of The Morning                                                 LLC
                                                         USCA21102117;
                                                         USCA29400866;
                                                         USCA25500205
                                                   2020-05-06 - USCA21102513;
                       It Came Upon A Midnight           USCA28500106;          Capitol Records,
98.    Frank Sinatra
                       Clear                             USCA29900563;                LLC
                                                         USCA20200933
                                                   2020-05-06 - USCA28900526;
                       I've Got The World On A           USCA29901318;          Capitol Records,
99.    Frank Sinatra
                       String                            USCA21102120;                LLC
                                                         USCA29501618
                                                   2020-05-06 - USCA28700117;
                                                         USCA21102482;
                                                         USCA29800426;
                       I've Got You Under My                                    Capitol Records,
100.   Frank Sinatra                                     USCA20601825;
                       Skin                                                           LLC
                                                         USCA21102114;
                                                         USCA20002344;
                                                         USCA25600224
                                                   2020-05-06 - USCA21102503;
                                                         USCA28700222;          Capitol Records,
101.   Frank Sinatra   Jingle Bells
                                                         USCA29900545;                LLC
                                                         USUM71314604
                                                   2020-05-06 - USCA29001708;
                                                         USCA29601907;
                                                                                Capitol Records,
102.   Frank Sinatra   Learnin' The Blues                USCA20902783;
                                                                                      LLC
                                                         USCA29001713;
                                                         USCA28900527
                                                   2020-05-06 - USCA28900528;
                                                         USCA29601860;
                                                                                Capitol Records,
103.   Frank Sinatra   Love And Marriage                 USCA20902785;
                                                                                      LLC
                                                         USCA21102118;
                                                         USCA20300965
                                                   2020-05-06 - USCA28700457;
                                                         USCA29800421;
                                                                                Capitol Records,
104.   Frank Sinatra   Love Is Here To Stay              USCA20601840;
                                                                                      LLC
                                                         USCA20902800;
                                                         USCA25500204
                                                   2020-05-06 - USCA21102505;
                                                         USCA28700223;          Capitol Records,
105.   Frank Sinatra   Mistletoe And Holly
                                                         USCA29900547;                LLC
                                                         USCA20200902


                                                  -9-
       Case 1:24-cv-04777-AKH            Document 9-1       Filed 06/25/24   Page 10 of 78




                                                     2020-05-06 - USCA29800471;
                                                           USCA21102478;
                                                           USCA28800147;
                                                                                  Capitol Records,
106.   Frank Sinatra   My Funny Valentine                  USCA20601839;
                                                                                        LLC
                                                           USCA21102115;
                                                           USCA20002339;
                                                           USCA20002397
                                                     2020-05-06 - USCA28800148;
                                                           USCA21102487;
                                                           USCA29900868;          Capitol Records,
107.   Frank Sinatra   Nice 'N' Easy
                                                           USCA20400848;                LLC
                                                           USCA21102126;
                                                           USCA26000469
                                                     2020-05-06 - USCA21102514;
                                                           USCA29900564;          Capitol Records,
108.   Frank Sinatra   Silent Night
                                                           USCA28500107;                LLC
                                                           USUM71314606
                                                     2020-05-06 - USCA21102504;
                                                           USCA28500102;
                       The Christmas Song                                         Capitol Records,
109.   Frank Sinatra                                       USCA29900546;
                       (Merry Christmas To You)                                         LLC
                                                           USCA29500328;
                                                           USUM71314605
                                                     2020-05-06 - USCA21102507;
                                                           USCA20200909;
                                                           USCA29900548;
                                                                                  Capitol Records,
110.   Frank Sinatra   The Christmas Waltz                 USCA28700225;
                                                                                        LLC
                                                           USCA21102516;
                                                           USCA29900566;
                                                           USCA28700228
                                                     2020-05-06 - USCA21102509;
                                                           USCA28700226;          Capitol Records,
111.   Frank Sinatra   The First Noël
                                                           USCA29900550;                LLC
                                                           USCA20200904
                                                     2020-05-06 - USCA28800146;
                                                           USCA21102485;
                                                                                  Capitol Records,
112.   Frank Sinatra   The Lady Is A Tramp                 USCA29800412;
                                                                                        LLC
                                                           USCA21102121;
                                                           USCA20002340
                                                     2020-05-06 - USCA21102515;
                                                                                  Capitol Records,
113.   Frank Sinatra   White Christmas                     USCA29900565;
                                                                                        LLC
                                                           USCA28500108
                                                     2020-05-06 - USCA28900241;
                                                           USCA21102479;          Capitol Records,
114.   Frank Sinatra   Witchcraft
                                                           USCA29901320;                LLC
                                                           USCA21102122




                                                  - 10 -
       Case 1:24-cv-04777-AKH            Document 9-1     Filed 06/25/24   Page 11 of 78




                                                   2020-05-06 - USCA28700450;
                                                         USCA21102477;
                       You Make Me Feel So               USCA29800413;          Capitol Records,
115.   Frank Sinatra
                       Young                             USCA21102119;                LLC
                                                         USCA20002327;
                                                         USCA29801823
                                                   2020-05-06 - USCA28900242;
                                                         USCA21102480;          Capitol Records,
116.   Frank Sinatra   Young At Heart
                                                         USCA29901319;                LLC
                                                         USCA21102116
                                                                                Capitol Records,
117.   John Lennon     #9 Dream                          N00000019331
                                                                                      LLC
                       (Forgive Me) My Little                                   Capitol Records,
118.   John Lennon                                       SR0000051546
                       Flower Princess                                                LLC
                                                                                Capitol Records,
119.   John Lennon     Ain't That A Shame                N00000021447
                                                                                      LLC
                                                                                Capitol Records,
120.   John Lennon     Aisumasen (I'm Sorry)             N00000010756
                                                                                      LLC
                       Beautiful Boy (Darling                                   Capitol Records,
121.   John Lennon                                       SR0000022756
                       Boy)                                                           LLC
                                                                                Capitol Records,
122.   John Lennon     Beautiful Boys                    SR0000022756
                                                                                      LLC
                                                                                Capitol Records,
123.   John Lennon     Bless You                         N00000019331
                                                                                      LLC
                                                                                Capitol Records,
124.   John Lennon     Borrowed Time                     SR0000051546
                                                                                      LLC
                       Bring On The Lucie (Freda                                Capitol Records,
125.   John Lennon                                       N00000010756
                       Peeple)                                                        LLC
                                                                                Capitol Records,
126.   John Lennon     Cleanup Time                      SR0000022756
                                                                                      LLC
                                                                                Capitol Records,
127.   John Lennon     Dear Yoko                         SR0000022756
                                                                                      LLC
                                                                                Capitol Records,
128.   John Lennon     Don't Be Scared                   SR0000051546
                                                                                      LLC
                       Every Man Has a Woman                                    Capitol Records,
129.   John Lennon                                       SR0000022756
                       Who Loves Him                                                  LLC
                                                                                Capitol Records,
130.   John Lennon     Give Me Something                 SR0000022756
                                                                                      LLC
                                                                                Capitol Records,
131.   John Lennon     Grow Old With Me                  SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
132.   John Lennon     Hard Times Are Over               SR0000022756
                                                                                      LLC
                                                                                Capitol Records,
133.   John Lennon     I Don't Wanna Face It             SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
134.   John Lennon     I Know (I Know)                   N00000010756
                                                                                      LLC
                                                                                Capitol Records,
135.   John Lennon     I'm Losing You                    SR0000022756
                                                                                      LLC
                                                                                Capitol Records,
136.   John Lennon     I'm Moving On                     SR0000022756
                                                                                      LLC

                                                - 11 -
       Case 1:24-cv-04777-AKH             Document 9-1    Filed 06/25/24   Page 12 of 78




                                                                                Capitol Records,
137.   John Lennon     I'm Stepping Out                   SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
138.   John Lennon     I'm Your Angel                     SR0000022756
                                                                                      LLC
                                                                                Capitol Records,
139.   John Lennon     Intuition                          N00000010756
                                                                                      LLC
                                                                                Capitol Records,
140.   John Lennon     Let Me Count The Ways              SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
141.   John Lennon     Meat City                          N00000010756
                                                                                      LLC
                                                                                Capitol Records,
142.   John Lennon     Mind Games                         N00000010756
                                                                                      LLC
                       Nobody Loves You (When                                   Capitol Records,
143.   John Lennon                                        N00000019331
                       You're Down And Out)                                           LLC
                                                                                Capitol Records,
144.   John Lennon     Nobody Told Me                     SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
145.   John Lennon     Old Dirt Road                      N00000019331
                                                                                      LLC
                                                                                Capitol Records,
146.   John Lennon     One Day (At A Time)                N00000010756
                                                                                      LLC
                                                                                Capitol Records,
147.   John Lennon     Only People                        N00000010756
                                                                                      LLC
                                                                                Capitol Records,
148.   John Lennon     O'Sanity                           SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
149.   John Lennon     Out The Blue                       N00000010756
                                                                                      LLC
                                                                                Capitol Records,
150.   John Lennon     Sleepless Night                    SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
151.   John Lennon     Stand By Me                        N00000021447
                                                                                      LLC
                                                                                Capitol Records,
152.   John Lennon     Steel And Glass                    N00000019331
                                                                                      LLC
                                                                                Capitol Records,
153.   John Lennon     Tight A$                           N00000010756
                                                                                      LLC
                                                                                Capitol Records,
154.   John Lennon     Watching The Wheels                SR0000022756
                                                                                      LLC
                       Whatever Gets You Thru                                   Capitol Records,
155.   John Lennon                                        N00000019311
                       The Night                                                      LLC
                                                                                Capitol Records,
156.   John Lennon     Woman                              SR0000022756
                                                                                      LLC
                                                                                Capitol Records,
157.   John Lennon     You Are Here                       N00000010756
                                                                                      LLC
                                                                                Capitol Records,
158.   John Lennon     Your Hands                         SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
159.   John Lennon     You're The One                     SR0000051546
                                                                                      LLC
                                                                                Capitol Records,
160.   Merle Haggard   Always Wanting You                 N00000022069
                                                                                      LLC
                                                           RE0000856075         Capitol Records,
161.   Merle Haggard   Holding Things Together
                                                          /EU0000478203               LLC

                                                 - 12 -
       Case 1:24-cv-04777-AKH             Document 9-1             Filed 06/25/24         Page 13 of 78




                       I Wonder If They Ever                                                   Capitol Records,
162.   Merle Haggard                                              N00000002500
                       Think Of Me                                                                   LLC
                       If We Make It Through                                                   Capitol Records,
163.   Merle Haggard                                              N00000026291
                       December                                                                      LLC
                       It's Not Love (But It's Not                                             Capitol Records,
164.   Merle Haggard                                              N00000002338
                       Bad)                                                                          LLC
                                                              Capitol filed 7/12/2022-         Capitol Records,
165.   Merle Haggard   Mama Tried
                                                                 USCA28900366                        LLC
                                                                                               Capitol Records,
166.   Merle Haggard   Movin' On                                  N00000023396
                                                                                                     LLC
                                                                                               Capitol Records,
167.   Merle Haggard   The Silver Ghost                           USCN10800630
                                                                                                     LLC
                                                                                               Capitol Records,
168.   Merle Haggard   The Way It Was In '51                      SR0000007935
                                                                                                     LLC
                                                              Capitol filed 7/12/2022 -
                                                                 USCN10100712;
       Merle Haggard
                                                                 USCN10100848;                 Capitol Records,
169.      & The        Branded Man
                                                                 USCN10500198;                       LLC
         Strangers
                                                                 USCN10600060;
                                                                 USCN19200021
       Merle Haggard                                          Capitol filed 7/12/2022-
                       Daddy Frank (The Guitar                                                 Capitol Records,
170.      & The                                                  USCN19000123;
                       Man)                                                                          LLC
         Strangers                                               USCN10100978
                                                              Capitol filed 7/12/2022-
       Merle Haggard
                                                                 USCN19000098;                 Capitol Records,
171.      & The        Hungry Eyes
                                                                 USCN10100981;                       LLC
         Strangers
                                                                 USCN10600066
                                                              Capitol filed 7/12/2022-
       Merle Haggard                                             USCN10500250;
                       I Take A Lot Of Pride In                                                Capitol Records,
172.      & The                                                  USCN10600065;
                       What I Am                                                                     LLC
         Strangers                                               USCN16800106;
                                                                 USCN19000111
                                                              Capitol filed 7/12/2022-
       Merle Haggard                                             USCA28900361;
                                                                                               Capitol Records,
173.      & The        I'm A Lonesome Fugitive                   USCN10100699;
                                                                                                     LLC
         Strangers                                               USCN10100843;
                                                                 USCN19200058
                                                              Capitol filed 7/12/2022-
       Merle Haggard
                                                                 USCA29000183;                 Capitol Records,
174.      & The        Okie From Muskogee
                                                                 USCN10600069;                       LLC
         Strangers
                                                                 USCN18600023
                                                              Capitol filed 7/12/2022-
       Merle Haggard                                             USCN19000099;
                                                                                               Capitol Records,
175.      & The        Silver Wings                              USCN10800547;
                                                                                                     LLC
         Strangers                                               USCN10100863;
                                                                 USCN10600068




                                                     - 13 -
       Case 1:24-cv-04777-AKH           Document 9-1            Filed 06/25/24         Page 14 of 78




                                                          Capitol filed 7/12/2022-
                                                             USCN10100878;
       Merle Haggard                                         USCN10600061;
                                                                                            Capitol Records,
176.      & The        Sing Me Back Home                     USCN18900033;
                                                                                                  LLC
         Strangers                                           USCN10500313;
                                                             USCN10100834;
                                                             USCN19000214
                                                          Capitol filed 7/12/2022-
       Merle Haggard                                         USCN10500349;
                                                                                            Capitol Records,
177.      & The        Swinging Doors                        USCN10100823;
                                                                                                  LLC
         Strangers                                           USCN16500074;
                                                             USCN18900032
                                                          Capitol filed 7/12/2022 -
                                                             USCN16600046;
       Merle Haggard
                                                             USCN19000097;                  Capitol Records,
178.      & The        The Bottle Let Me Down
                                                             USCN10100830;                        LLC
         Strangers
                                                             USCN10600059;
                                                             USCN10500355
                                                          Capitol filed 7/12/2022-
       Merle Haggard                                         USCA28700190;
                                                                                            Capitol Records,
179.      & The        The Fightin' Side Of Me               USCN10100976;
                                                                                                  LLC
         Strangers                                           USCN10600070;
                                                             USCN18600020
       Merle Haggard
                                                           Capitol filed 7/12/2022-         Capitol Records,
180.      & The        The Fugitive
                                                              USCN16600074                        LLC
         Strangers
                                                           Capitol filed 7/12/2022-
       Merle Haggard                                          USCN18900034;
                       Today I Started Loving                                               Capitol Records,
181.      & The                                               USCN10500332;
                       You Again                                                                  LLC
         Strangers                                            USCN10100977;
                                                              USCN10600076
                                                           Capitol filed 7/12/2022-
       Merle Haggard                                          USCN18600024;
                                                                                            Capitol Records,
182.      & The        Working Man Blues                      USCN10600067;
                                                                                                  LLC
         Strangers                                            USCN10100972;
                                                              USCN10100910
       Merle Haggard
           & The       Take My Hand, Precious              Capitol filed 7/12/2022-         Capitol Records,
183.
       Stranges; The   Lord/Jesus Hold My Hand                USCN19700193                        LLC
       Carter Family
        The Beach                                         Capitol filed 2019-03-25 -        Capitol Records,
184.                   409
           Boys                                               USCA20001612                        LLC
        The Beach                                         Capitol filed 2019-03-25 -        Capitol Records,
185.                   All I Wanna Do
           Boys                                                USGJP1300033                       LLC
        The Beach                                         Capitol filed 2019-03-25 -        Capitol Records,
186.                   All Summer Long
           Boys                                               USCA20001636                        LLC
        The Beach                                         Capitol filed 2019-03-25 -        Capitol Records,
187.                   Barbara Ann
           Boys                                               GBCBR0100608                        LLC
        The Beach      Be True To Your School             Capitol filed 3.22.2019 -         Capitol Records,
188.
           Boys        (Single Version)                       GBCBR0100593                        LLC

                                                 - 14 -
       Case 1:24-cv-04777-AKH         Document 9-1             Filed 06/25/24        Page 15 of 78




       The Beach                                                                          Capitol Records,
189.               California Dreamin'                        SR0000902518
         Boys                                                                                   LLC
       The Beach                                      Capitol filed CALIFORNIA            Capitol Records,
190.               California Girls
         Boys                                              GIRLS 3.22.2019                      LLC
       The Beach                                                                          Capitol Records,
191.               Caroline, No                           Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                    Capitol filed 3.22.2019 Catch A       Capitol Records,
192.               Catch A Wave
         Boys                                                     Wave                          LLC
       The Beach                                                                          Capitol Records,
193.               Dance, Dance, Dance                    Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                                                          Capitol Records,
194.               Darlin'                                Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                                                          Capitol Records,
195.               Do It Again                            Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                                                          Capitol Records,
196.               Do You Wanna Dance?                    Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                     Capitol filed 3.22.2019 Don't        Capitol Records,
197.               Don't Back Down
         Boys                                                 Back Down                         LLC
       The Beach                                                                          Capitol Records,
198.               Don't Go Near The Water                Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                                                          Capitol Records,
199.               Don't Hurt My Little Sister            Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach   Don't Talk (Put Your Head                                              Capitol Records,
200.                                                      Capitol filed 2019-03-25
         Boys      On My Shoulder)                                                              LLC
       The Beach                                     Capitol filed 3.22.2019 Don't        Capitol Records,
201.               Don't Worry Baby
         Boys                                                 Worry Baby                        LLC
       The Beach                                                                          Capitol Records,
202.               Drive-In                               Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach   Fall Breaks And Back To                                                Capitol Records,
203.                                                      Capitol filed 2019-03-25
         Boys      Winter                                                                       LLC
       The Beach                                          Capitol filed 3.22.2019         Capitol Records,
204.               Farmer's Daughter
         Boys                                               Farmer's Daughter                   LLC
       The Beach                                                                          Capitol Records,
205.               Feel Flows                             Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                                                          Capitol Records,
206.               Finders Keepers                        Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                                                          Capitol Records,
207.               Forever                                Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                          Capitol filed FRIENDS           Capitol Records,
208.               Friends
         Boys                                                   3.22.2019                       LLC
       The Beach                                                                          Capitol Records,
209.               Frosty The Snowman                     Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                     Capitol filed 3.22.2019 Fun,         Capitol Records,
210.               Fun, Fun, Fun
         Boys                                                  Fun, Fun                         LLC
       The Beach                                                                          Capitol Records,
211.               Getting Hungry                         Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                                                          Capitol Records,
212.               Girl Don't Tell Me                     Capitol filed 2019-03-25
         Boys                                                                                   LLC
       The Beach                                     Capitol filed 3.22.2019 Girls        Capitol Records,
213.               Girls On The Beach
         Boys                                               On The Beach                        LLC

                                                 - 15 -
       Case 1:24-cv-04777-AKH        Document 9-1            Filed 06/25/24        Page 16 of 78




       The Beach                                        Capitol filed GOD ONLY          Capitol Records,
214.               God Only Knows
         Boys                                             KNOWS 3.22.2019                     LLC
       The Beach                                                                        Capitol Records,
215.               Good To My Baby                      Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
216.               Good Vibrations                      Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
217.               Got To Know The Woman                Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
218.               Graduation Day                       Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
219.               Hang On To Your Ego                  Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
220.               Hawaii                               Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach   Heads You Win, Tails I         Capitol filed 3.22.2019 Heads         Capitol Records,
221.
         Boys      Lose                              You Win, Tails I Lose                    LLC
       The Beach                                  Capitol filed 3.22.2019 Help          Capitol Records,
222.               Help Me, Rhonda
         Boys                                              Me, Rhonda                         LLC
       The Beach                                                                        Capitol Records,
223.               Here Comes The Night                 Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
224.               Here Today                           Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
225.               Heroes And Villains                  Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
226.               Honky Tonk                           Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
227.               How She Boogalooed It                Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
228.               Hully Gully                          Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
229.               Hushabye                             Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
230.               I Can Hear Music                     Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
231.               I Do                                 Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                   Capitol filed 3.22.2019 I Get        Capitol Records,
232.               I Get Around
         Boys                                                 Around                          LLC
       The Beach   I Get Around/Little Deuce                                            Capitol Records,
233.                                                    Capitol filed 2019-03-25
         Boys      Coupe                                                                      LLC
       The Beach   I Just Wasn't Made For                                               Capitol Records,
234.                                                    Capitol filed 2019-03-25
         Boys      These Times                                                                LLC
       The Beach                                                                        Capitol Records,
235.               I Know There's An Answer             Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
236.               I Was Made To Love Her               Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
237.               I Went To Sleep                      Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach   I'd Love Just Once To See                                            Capitol Records,
238.                                                    Capitol filed 2019-03-25
         Boys      You                                                                        LLC

                                               - 16 -
       Case 1:24-cv-04777-AKH          Document 9-1         Filed 06/25/24        Page 17 of 78




       The Beach   I'll Be Home For                                                    Capitol Records,
239.                                                   Capitol filed 2019-03-25
         Boys      Christmas                                                                 LLC
       The Beach   I'm Bugged At My Ol'                                                Capitol Records,
240.                                                   Capitol filed 2019-03-25
         Boys      Man                                                                       LLC
       The Beach                                                                       Capitol Records,
241.               I'm So Young                        Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
242.               I'm Waiting For The Day             Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
243.               In My Room                          Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
244.               In The Back Of My Mind              Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                 Capitol filed 3.22.2019 In The        Capitol Records,
245.               In The Parkin' Lot
         Boys                                              Parkin' Lot                       LLC
       The Beach                                                                       Capitol Records,
246.               It's About Time                     Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
247.               Johnny B. Goode                     Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
248.               Keep An Eye On Summer               Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                 Capitol filed KISS ME, BABY           Capitol Records,
249.               Kiss Me, Baby
         Boys                                               3.22.2019                        LLC
       The Beach                                                                       Capitol Records,
250.               Lana                                Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
251.               Land Ahoy                           Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                  Capitol filed LET HIM RUN            Capitol Records,
252.               Let Him Run Wild
         Boys                                          WILD 3.22.2019                        LLC
       The Beach                                                                       Capitol Records,
253.               Let The Wind Blow                   Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
254.               Let's Go Away For Awhile            Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
255.               Let's Go Trippin'                   Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
256.               Little Bird                         Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                 Capitol filed 3.22.2019 - Little      Capitol Records,
257.               Little Deuce Coupe
         Boys                                             Deuce Coupe                        LLC
       The Beach   Little Girl (You're My         Capitol filed 3.22.2019 Little       Capitol Records,
258.
         Boys      Miss America)                 Girl (You're My Miss America)               LLC
       The Beach                                                                       Capitol Records,
259.               Little Honda                        Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
260.               Little Pad                          Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
261.               Little Saint Nick                   Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
262.               Lonely Sea                          Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
263.               Long Promised Road                  Capitol filed 2019-03-25
         Boys                                                                                LLC

                                              - 17 -
       Case 1:24-cv-04777-AKH        Document 9-1          Filed 06/25/24        Page 18 of 78




       The Beach                                                                      Capitol Records,
264.               Long Tall Texan                    Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach   Lookin' At Tomorrow (A                                             Capitol Records,
265.                                                  Capitol filed 2019-03-25
         Boys      Welfare Song)                                                            LLC
       The Beach                                                                      Capitol Records,
266.               Louie Louie                        Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
267.               Mama Says                          Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
268.               Meant For You                      Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
269.               Merry Christmas, Baby              Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
270.               Misirlou                           Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
271.               Monster Mash                       Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                 Capitol filed 3.22.2019 Moon         Capitol Records,
272.               Moon Dawg
         Boys                                                Dawg                           LLC
       The Beach                                                                      Capitol Records,
273.               Mountain Of Love                   Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
274.               Never Learn Not To Love            Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
275.               Noble Surfer                       Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                Capitol filed 3.22.2019 No-Go         Capitol Records,
276.               No-Go Showboat
         Boys                                              Showboat                         LLC
       The Beach   Old Folks At Home / Ol'                                            Capitol Records,
277.                                                  Capitol filed 2019-03-25
         Boys      Man River                                                                LLC
       The Beach                                                                      Capitol Records,
278.               Our Car Club                       Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach   Our Favorite Recording                                             Capitol Records,
279.                                                  Capitol filed 2019-03-25
         Boys      Sessions                                                                 LLC
       The Beach                                                                      Capitol Records,
280.               Our Prayer                         Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
281.               Our Sweet Love                     Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
282.               Papa-Oom-Mow-Mow                   Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
283.               Passing By                         Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
284.               Pet Sounds                         Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                                                      Capitol Records,
285.               Please Let Me Wonder               Capitol filed 2019-03-25
         Boys                                                                               LLC
       The Beach                                 Capitol filed 3.22.2019 Pom          Capitol Records,
286.               Pom Pom Play Girl
         Boys                                           Pom Play Girl                       LLC
       The Beach                                   Capitol filed 3.22.2019            Capitol Records,
287.               Rocking Surfer
         Boys                                          Rocking Surfer                       LLC
       The Beach                                  Capitol filed SALT LAKE             Capitol Records,
288.               Salt Lake City
         Boys                                         CITY 3.22.2019                        LLC

                                             - 18 -
       Case 1:24-cv-04777-AKH           Document 9-1        Filed 06/25/24        Page 19 of 78




       The Beach                                                                       Capitol Records,
289.               Santa's Beard                       Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                   Capitol filed SHE KNOWS             Capitol Records,
290.               She Knows Me Too Well
         Boys                                      ME TOO WELL 3.22.2019                     LLC
       The Beach                                                                       Capitol Records,
291.               Shut Down                           Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
292.               Shut Down, Part II                  Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                 Capitol filed SLOOP JOHN B            Capitol Records,
293.               Sloop John B
         Boys                                               3.22.2019                        LLC
       The Beach                                 Capitol filed 3.22.2019 South         Capitol Records,
294.               South Bay Surfer
         Boys                                              Bay Surfer                        LLC
       The Beach                                 Capitol filed 3.22.2019 Spirit        Capitol Records,
295.               Spirit Of America
         Boys                                              Of America                        LLC
       The Beach                                                                       Capitol Records,
296.               Stoked                              Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach   Student Demonstration                                               Capitol Records,
297.                                                   Capitol filed 2019-03-25
         Boys      Time                                                                      LLC
       The Beach                                                                       Capitol Records,
298.               Summer Means New Love               Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
299.               Summertime Blues                    Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                  Capitol filed 3.22.2019 Surf         Capitol Records,
300.               Surf Jam
         Boys                                                  Jam                           LLC
       The Beach                                 Capitol filed 3.22.2019 Surfer        Capitol Records,
301.               Surfer Girl
         Boys                                                  Girl                          LLC
       The Beach                                 Capitol filed 3.22.2019 Surfer's      Capitol Records,
302.               Surfer's Rule
         Boys                                                  Rule                          LLC
       The Beach                                                                       Capitol Records,
303.               Surfin'                       Capitol filed 3.22.2019 Surfin'
         Boys                                                                                LLC
       The Beach                                 Capitol filed 3.22.2019 Surfin'       Capitol Records,
304.               Surfin' Safari
         Boys                                                 Safari                         LLC
       The Beach                                                                       Capitol Records,
305.               Surfin U.S.A.                       Capitol filed 3.22.2019
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
306.               Take A Load Off Your Feet           Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
307.               Tears In The Morning                Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
308.               Ten Little Indians                  Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
309.               That's Not Me                       Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach                                                                       Capitol Records,
310.               The Baker Man                       Capitol filed 2019-03-25
         Boys                                                                                LLC
       The Beach   The Girl From New York                                              Capitol Records,
311.                                                   Capitol filed 2019-03-25
         Boys      City                                                                      LLC
       The Beach   The Little Girl I Once                                              Capitol Records,
312.                                                   Capitol filed 2019-03-25
         Boys      Knew                                                                      LLC
       The Beach   The Little Old Lady From                                            Capitol Records,
313.                                                   Capitol filed 2019-03-25
         Boys      Pasadena                                                                  LLC

                                              - 19 -
       Case 1:24-cv-04777-AKH         Document 9-1           Filed 06/25/24        Page 20 of 78




       The Beach   The Man With All The                                                 Capitol Records,
314.                                                    Capitol filed 2019-03-25
         Boys      Toys                                                                       LLC
       The Beach   The Nearest Faraway                                                  Capitol Records,
315.                                                    Capitol filed 2019-03-25
         Boys      Place                                                                      LLC
       The Beach                                                                        Capitol Records,
316.               The Shift                            Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
317.               The Surfer Moon                      Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach   The Times They Are A-                                                Capitol Records,
318.                                                    Capitol filed 2019-03-25
         Boys      Changin'                                                                   LLC
       The Beach                                                                        Capitol Records,
319.               The Wanderer                         Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
320.               The Warmth Of The Sun                Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach   Their Hearts Were Full Of                                            Capitol Records,
321.                                                    Capitol filed 2019-03-25
         Boys      Spring                                                                     LLC
       The Beach                                                                        Capitol Records,
322.               Then I Kissed Her                    Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach   There's No Other (Like                                               Capitol Records,
323.                                                    Capitol filed 2019-03-25
         Boys      My Baby)                                                                   LLC
       The Beach                                   Capitol filed 3.22.2019 This         Capitol Records,
324.               This Car Of Mine
         Boys                                              Car Of Mine                        LLC
       The Beach                                                                        Capitol Records,
325.               This Whole World                     Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
326.               'Til I Die                           Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
327.               Time To Get Alone                    Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
328.               Transcendental Meditation            Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
329.               Trombone Dixie                       Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
330.               Vegetables                           Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
331.               Wake The World                       Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
332.               Walk On By                           Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach   We Three Kings Of Orient                                             Capitol Records,
333.                                                    Capitol filed 2019-03-25
         Boys      Are                                                                        LLC
       The Beach                                   Capitol filed 3.22.2019 We'll        Capitol Records,
334.               We'll Run Away
         Boys                                                Run Away                         LLC
       The Beach                                                                        Capitol Records,
335.               Wendy                          Capitol filed 3.22.2019 Wendy
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
336.               We're Together Again                 Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach   When A Man Needs A                                                   Capitol Records,
337.                                                    Capitol filed 2019-03-25
         Boys      Woman                                                                      LLC
       The Beach   When I Grow Up (To Be A        Capitol filed 3.22.2019 When I        Capitol Records,
338.
         Boys      Man)                             Grow Up (To Be A Man)                     LLC

                                               - 20 -
       Case 1:24-cv-04777-AKH           Document 9-1         Filed 06/25/24        Page 21 of 78




       The Beach                                                                        Capitol Records,
339.                 Whistle In                         Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
340.                 White Christmas                    Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach     Why Do Fools Fall In          Capitol filed 3.22.2019 Why          Capitol Records,
341.
         Boys        Love                            Do Fools Fall In Love                    LLC
       The Beach                                                                        Capitol Records,
342.                 Wild Honey                         Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
343.                 Wind Chimes                        Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
344.                 With Me Tonight                    Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
345.                 Wonderful                          Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
346.                 Wouldn't It Be Nice            Capitol filed 3.22.2019 - 5
         Boys                                                                                 LLC
       The Beach                                                                        Capitol Records,
347.                 You Still Believe In Me            Capitol filed 2019-03-25
         Boys                                                                                 LLC
       The Beach                                   Capitol filed 3.22.2019 Your         Capitol Records,
348.                 Your Summer Dream
         Boys                                            Summer Dream                         LLC
       The Beach                                    Capitol filed YOU'RE SO             Capitol Records,
349.                 You're So Good to Me
         Boys                                       GOOD TO ME 3.22.2019                      LLC
       The Beach     You're So Good To Me                                               Capitol Records,
350.                                                    Capitol filed 2019-03-25
         Boys        (Instrumental)                                                           LLC
       The Beach                                                                        Capitol Records,
351.                 You're Welcome                     Capitol filed 2019-03-25
         Boys                                                                                 LLC
                                                   Capitol filed A DAY IN THE           Capitol Records,
352.   The Beatles   A Day In The Life
                                                          LIFE 3.13.2019                      LLC
                                                  Capitol filed A HARD DAY'S            Capitol Records,
353.   The Beatles   A Hard Day's Night
                                                        NIGHT 3.13.2019                       LLC
                                                    Capitol filed A TASTE OF            Capitol Records,
354.   The Beatles   A Taste of Honey
                                                        HONEY 3.13.2019                       LLC
                                                   Capitol filed ACROSS THE             Capitol Records,
355.   The Beatles   Across The Universe
                                                      UNIVERSE 3.13.2019                      LLC
                                                        Capitol filed ACT               Capitol Records,
356.   The Beatles   Act Naturally
                                                     NATURALLY 3.13.2019                      LLC
                                                   Capitol filed ALL I'VE GOT           Capitol Records,
357.   The Beatles   All I've Got To Do
                                                        TO DO 3.13.2019                       LLC
                                                      Capitol filed ALL MY              Capitol Records,
358.   The Beatles   All My Loving
                                                       LOVING 3.13.2019                       LLC
                                                  Capitol filed ALL TOGETHER            Capitol Records,
359.   The Beatles   All Together Now
                                                         NOW 3.13.2019                        LLC
                                                  Capitol filed ALL YOU NEED            Capitol Records,
360.   The Beatles   All You Need Is Love
                                                       IS LOVE 3.13.2019                      LLC
                                                    Capitol filed AND I LOVE            Capitol Records,
361.   The Beatles   And I Love Her
                                                          HER 3.13.2019                       LLC
                                                    Capitol filed AND YOUR              Capitol Records,
362.   The Beatles   And Your Bird Can Sing
                                                   BIRD CAN SING 3.13.2019                    LLC
                                                   Capitol filed ANNA (GO TO            Capitol Records,
363.   The Beatles   Anna (Go To Him)
                                                         HIM) 3.13.2019                       LLC

                                               - 21 -
       Case 1:24-cv-04777-AKH          Document 9-1          Filed 06/25/24        Page 22 of 78




                                                   Capitol filed ANOTHER GIRL           Capitol Records,
364.   The Beatles   Another Girl
                                                               3.13.2019                      LLC
                                                    Capitol filed ANY TIME AT           Capitol Records,
365.   The Beatles   Any Time At All
                                                           ALL 3.13.2019                      LLC
                                                    Capitol filed ASK ME WHY            Capitol Records,
366.   The Beatles   Ask Me Why
                                                               3.13.2019                      LLC
                                                   Capitol filed BABY IT'S YOU          Capitol Records,
367.   The Beatles   Baby It's You
                                                               3.13.2019                      LLC
                                                   Capitol filed BABY YOU'RE A          Capitol Records,
368.   The Beatles   Baby You're A Rich Man
                                                      RICH MAN 3.13.2019                      LLC
                                                     Capitol filed BABY'S IN            Capitol Records,
369.   The Beatles   Baby's In Black
                                                         BLACK 3.13.2019                      LLC
                                                    Capitol filed BACK IN THE           Capitol Records,
370.   The Beatles   Back In The U.S.S.R.
                                                         U.S.S.R 3.13.2019                    LLC
                                                      Capitol filed BAD BOY             Capitol Records,
371.   The Beatles   Bad Boy
                                                               3.13.2019                      LLC
                                                      Capitol filed BECAUSE             Capitol Records,
372.   The Beatles   Because of You
                                                               3.13.2019                      LLC
                                                   Capitol filed BEING FOR THE
                     Being For The Benefit of                                           Capitol Records,
373.   The Beatles                                   BENEFIT OF MR KITE!
                     Mr Kite!                                                                 LLC
                                                               3.13.2019
                                                                                        Capitol Records,
374.   The Beatles   Birthday                            Capitol filed 3.13.2019
                                                                                              LLC
                                                      Capitol filed Birthday            Capitol Records,
375.   The Beatles   Birthday 2009 Remaster
                                                              3.13.2019                       LLC
                                                    Capitol filed BLACKBIRD             Capitol Records,
376.   The Beatles   Blackbird
                                                              3.13.2019                       LLC
                                                   Capitol filed BLUE JAY WAY           Capitol Records,
377.   The Beatles   Blue Jay Way
                                                              3.13.2019                       LLC
                                                                                        Capitol Records,
378.   The Beatles   Boys                          Capitol filed BOYS 3.13.2019
                                                                                              LLC
                                                   Capitol filed CAN'T BUY ME           Capitol Records,
379.   The Beatles   Can't Buy Me Love
                                                         LOVE 3.13.2019                       LLC
                                                    Capitol filed CARRY THAT            Capitol Records,
380.   The Beatles   Carry That Weight
                                                        WEIGHT 3.13.2019                      LLC
                                                      Capitol filed CHAINS              Capitol Records,
381.   The Beatles   Chains
                                                              3.13.2019                       LLC
                                                        Capitol filed COME              Capitol Records,
382.   The Beatles   Come Together
                                                      TOGETHER 3.13.2019                      LLC
                                                   Capitol filed CRY BABY CRY           Capitol Records,
383.   The Beatles   Cry Baby Cry
                                                              3.13.2019                       LLC
                                                    Capitol filed DAY TRIPPER           Capitol Records,
384.   The Beatles   Day Tripper
                                                              3.13.2019                       LLC
                                                        Capitol filed DEAR              Capitol Records,
385.   The Beatles   Dear Prudence
                                                      PRUDENCE 3.13.2019                      LLC
                                                   Capitol filed DEVIL IN HER           Capitol Records,
386.   The Beatles   Devil In Her Heart
                                                         HEART 3.13.2019                      LLC
                                                                                        Capitol Records,
387.   The Beatles   Dig It                              Capitol filed 3.13.2019
                                                                                              LLC


                                                - 22 -
       Case 1:24-cv-04777-AKH           Document 9-1         Filed 06/25/24        Page 23 of 78




                                                    Capitol filed DIZZY MISS            Capitol Records,
388.   The Beatles   Dizzy Miss Lizzy
                                                         LIZZY 3.13.2019                      LLC
                                                   Capitol filed DO YOU WANT
                     Do You Want To Know A                                              Capitol Records,
389.   The Beatles                                    TO KNOW A SECRET
                     Secret                                                                   LLC
                                                              3.13.2019
                                                   Capitol filed DON'T BOTHER           Capitol Records,
390.   The Beatles   Don't Bother Me
                                                           ME 3.13.2019                       LLC
                                                                                        Capitol Records,
391.   The Beatles   Don't Let Me Down                   Capitol filed 3.13.2019
                                                                                              LLC
                                                                                        Capitol Records,
392.   The Beatles   Don't Pass Me By                    Capitol filed 3.13.2019
                                                                                              LLC
                                                   Capitol filed DRIVE MY CAR           Capitol Records,
393.   The Beatles   Drive My Car
                                                              3.13.2019                       LLC
                                                   Capitol filed EIGHT DAYS A           Capitol Records,
394.   The Beatles   Eight Days A Week
                                                         WEEK 3.13.2019                       LLC
                                                     Capitol filed 3.13.2019 -          Capitol Records,
395.   The Beatles   Eleanor Rigby
                                                            Eleanor Rigby                     LLC
                                                   Capitol filed 3.13.2019 - Every      Capitol Records,
396.   The Beatles   Every Little Thing
                                                             Little Thing                     LLC
                     Everybody's Got
                                                                                        Capitol Records,
397.   The Beatles   Something To Hide Except            Capitol filed 3.13.2019
                                                                                              LLC
                     Me And My Monkey
                     Everybody's Trying To Be                                           Capitol Records,
398.   The Beatles                                       Capitol filed 3.13.2019
                     My Baby                                                                  LLC
                                                                                        Capitol Records,
399.   The Beatles   Fixing A Hole                       Capitol filed 3.13.2019
                                                                                              LLC
                                                                                        Capitol Records,
400.   The Beatles   Flying                        Capitol filed 3.13.2019 - Flying
                                                                                              LLC
                                                     Capitol filed FOR NO ONE           Capitol Records,
401.   The Beatles   For No One
                                                              3.13.2019                       LLC
                                                                                        Capitol Records,
402.   The Beatles   For You Blue                        Capitol filed 3.13.2019
                                                                                              LLC
                                                   Capitol filed From Me To You         Capitol Records,
403.   The Beatles   From Me To You
                                                              3.13.2019                       LLC
                                                      Capitol filed Get Back            Capitol Records,
404.   The Beatles   Get Back
                                                              3.13.2019                       LLC
                                                    Capitol filed Getting Better        Capitol Records,
405.   The Beatles   Getting Better
                                                              3.13.2019                       LLC
                                                                                        Capitol Records,
406.   The Beatles   Girl                           Capitol filed 3.13.2019 - Girl
                                                                                              LLC
                                                   Capitol filed GLASS ONION            Capitol Records,
407.   The Beatles   Glass Onion
                                                              3.13.2019                       LLC
                                                   Capitol filed Golden Slumbers        Capitol Records,
408.   The Beatles   Golden Slumbers
                                                              3.13.2019                       LLC
                                                     Capitol filed GOOD DAY             Capitol Records,
409.   The Beatles   Good Day Sunshine
                                                      SUNSHINE 3.13.2019                      LLC
                                                        Capitol filed GOOD
                     Good Morning Good                                                  Capitol Records,
410.   The Beatles                                      MORNING GOOD
                     Morning                                                                  LLC
                                                      MORNING 3.13.2019


                                                - 23 -
       Case 1:24-cv-04777-AKH           Document 9-1          Filed 06/25/24        Page 24 of 78




                                                     Capitol filed GOOD NIGHT            Capitol Records,
411.   The Beatles   Good Night
                                                               3.13.2019                       LLC
                     Got To Get You Into My          Capitol filed Got To Get You        Capitol Records,
412.   The Beatles
                     Life                              Into My Life 3.13.2019                  LLC
                                                    Capitol filed HAPPINESS IS A         Capitol Records,
413.   The Beatles   Happiness Is A Warm Gun
                                                       WARM GUN 3.13.2019                      LLC
                                                        Capitol filed HELLO,             Capitol Records,
414.   The Beatles   Hello, Goodbye
                                                       GOODBYE 3.13.2019                       LLC
                                                                                         Capitol Records,
415.   The Beatles   Help!                          Capitol filed HELP! 3.13.2019
                                                                                               LLC
                                                        Capitol filed HELTER             Capitol Records,
416.   The Beatles   Helter Skelter
                                                        SKELTER 3.13.2019                      LLC
                                                      Capitol filed Her Majesty          Capitol Records,
417.   The Beatles   Her Majesty
                                                               3.13.2019                       LLC
                                                     Capitol filed HERE COMES            Capitol Records,
418.   The Beatles   Here Comes The Sun
                                                        THE SUN 3.13.2019                      LLC
                                                     Capitol filed HERE, THERE
                     Here, There And                                                     Capitol Records,
419.   The Beatles                                     AND EVERYWHERE
                     Everywhere                                                                LLC
                                                               3.13.2019
                                                    Capitol filed HEY BULLDOG            Capitol Records,
420.   The Beatles   Hey Bulldog
                                                               3.13.2019                       LLC
                                                      Capitol filed HEY JUDE             Capitol Records,
421.   The Beatles   Hey Jude
                                                               3.13.2019                       LLC
                                                       Capitol filed HOLD ME             Capitol Records,
422.   The Beatles   Hold Me Tight
                                                          TIGHT 3.13.2019                      LLC
                                                                                         Capitol Records,
423.   The Beatles   Honey Don't                          Capitol filed 3.13.2019
                                                                                               LLC
                                                      Capitol filed Honey Pie            Capitol Records,
424.   The Beatles   Honey Pie
                                                               3.13.2019                       LLC
                                                    Capitol filed I Am The Walrus        Capitol Records,
425.   The Beatles   I Am The Walrus
                                                               3.13.2019                       LLC
                                                                                         Capitol Records,
426.   The Beatles   I Call Your Name                     Capitol filed 3.13.2019
                                                                                               LLC
                     I Don't Want To Spoil The                                           Capitol Records,
427.   The Beatles                                        Capitol filed 3.13.2019
                     Party                                                                     LLC
                                                       Capitol filed I Feel Fine         Capitol Records,
428.   The Beatles   I Feel Fine
                                                               3.13.2019                       LLC
                                                      Capitol filed I ME MINE            Capitol Records,
429.   The Beatles   I Me Mine
                                                               3.13.2019                       LLC
                                                       Capitol filed I Need You          Capitol Records,
430.   The Beatles   I Need You
                                                               3.13.2019                       LLC
                                                      Capitol filed I SAW HER            Capitol Records,
431.   The Beatles   I Saw Her Standing There
                                                    STANDING THERE 3.13.2019                   LLC
                     I Should Have Known             Capitol filed I Should Have         Capitol Records,
432.   The Beatles
                     Better                           Known Better 3.13.2019                   LLC
                                                    Capitol filed I Wanna Be Your        Capitol Records,
433.   The Beatles   I Wanna Be Your Man
                                                            Man 3.13.2019                      LLC
                                                      Capitol filed I WANT TO
                                                                                         Capitol Records,
434.   The Beatles   I Want To Hold Your Hand           HOLD YOUR HAND
                                                                                               LLC
                                                               3.13.2019

                                                 - 24 -
       Case 1:24-cv-04777-AKH            Document 9-1        Filed 06/25/24         Page 25 of 78




                                                    Capitol filed I Want To Tell         Capitol Records,
435.   The Beatles   I Want To Tell You
                                                          You 3.13.2019                        LLC
                     I Want You (She's So           Capitol filed I WANT YOU             Capitol Records,
436.   The Beatles
                     Heavy)                       (SHE'S SO HEAVY) 3.13.2019                   LLC
                                                                                         Capitol Records,
437.   The Beatles   I Will                       Capitol filed I WILL 3.13.2019
                                                                                               LLC
                                                  Capitol filed I'M HAPPY JUST
                     I’m Happy Just To Dance                                             Capitol Records,
438.   The Beatles                                  TO DANCE WITH YOU
                     With You                                                                  LLC
                                                              3.13.2019
                                                                                         Capitol Records,
439.   The Beatles   If I Fell                    Capitol filed If I Fell 3.13.2019
                                                                                               LLC
                                                        Capitol filed If I Needed        Capitol Records,
440.   The Beatles   If I Needed Someone
                                                          Someone 3.13.2019                    LLC
                                                                                         Capitol Records,
441.   The Beatles   I'll Be Back                       Capitol filed 3.13.2019
                                                                                               LLC
                                                                                         Capitol Records,
442.   The Beatles   I'll Cry Instead                   Capitol filed 3.13.2019
                                                                                               LLC
                                                   Capitol filed I'll Follow The         Capitol Records,
443.   The Beatles   I'll Follow The Sun
                                                           Sun 3.13.2019                       LLC
                                                     Capitol filed I'll Get You          Capitol Records,
444.   The Beatles   I'll Get You
                                                             3.13.2019                         LLC
                                                    Capitol filed I'm A Loser            Capitol Records,
445.   The Beatles   I'm A Loser
                                                             3.13.2019                         LLC
                                                     Capitol filed I'm Down              Capitol Records,
446.   The Beatles   I'm Down
                                                             3.13.2019                         LLC
                                                    Capitol filed I'm Looking            Capitol Records,
447.   The Beatles   I'm Looking Through You
                                                     Through You 3.13.2019                     LLC
                                                  Capitol filed I'm Only Sleeping        Capitol Records,
448.   The Beatles   I'm Only Sleeping
                                                             3.13.2019                         LLC
                                                    Capitol filed I'm So Tired           Capitol Records,
449.   The Beatles   I'm So Tired
                                                             3.13.2019                         LLC
                                                    Capitol filed IN MY LIFE             Capitol Records,
450.   The Beatles   In My Life
                                                             3.13.2019                         LLC
                                                  Capitol filed It Won't Be Long         Capitol Records,
451.   The Beatles   It Won't Be Long
                                                             3.13.2019                         LLC
                                                  Capitol filed It's All Too Much        Capitol Records,
452.   The Beatles   It's All Too Much
                                                             3.13.2019                         LLC
                                                   Capitol filed It's Only Love          Capitol Records,
453.   The Beatles   It's Only Love
                                                             3.13.2019                         LLC
                                                  Capitol filed I've Got A Feeling       Capitol Records,
454.   The Beatles   I've Got A Feeling
                                                             3.13.2019                         LLC
                                                   Capitol filed I've Just Seen A        Capitol Records,
455.   The Beatles   I'Ve Just Seen A Face
                                                          Face 3.13.2019                       LLC
                                                                                         Capitol Records,
456.   The Beatles   Julia                        Capitol filed JULIA 3.13.2019
                                                                                               LLC
                     Kansas City / Hey-Hey-       Capitol filed Kansas City/Hey-         Capitol Records,
457.   The Beatles
                     Hey-Hey                        Hey-Hey-Hey 3.13.2019                      LLC
                     Komm Gib Mir Deine           Capitol filed Komm, Gib Mir            Capitol Records,
458.   The Beatles
                     Hand                            Deine Hand 3.13.2019                      LLC


                                               - 25 -
       Case 1:24-cv-04777-AKH          Document 9-1         Filed 06/25/24        Page 26 of 78




                                                                                       Capitol Records,
459.   The Beatles   Lady Madonna                       Capitol filed 3.13.2019
                                                                                             LLC
                                                        Capitol filed LET IT BE        Capitol Records,
460.   The Beatles   Let It Be
                                                               3.13.2019                     LLC
                                                                                       Capitol Records,
461.   The Beatles   Little Child                       Capitol filed 3.13.2019
                                                                                             LLC
                                                                                       Capitol Records,
462.   The Beatles   Long Long Long                     Capitol filed 3.13.2019
                                                                                             LLC
                                                                                       Capitol Records,
463.   The Beatles   Long Tall Sally                    Capitol filed 3.13.2019
                                                                                             LLC
                                                  Capitol filed Long Long Long         Capitol Records,
464.   The Beatles   Long, Long, Long
                                                             3.13.2019                       LLC
                                                   Capitol filed LOVE ME DO            Capitol Records,
465.   The Beatles   Love Me Do
                                                             3.13.2019                       LLC
                                                                                       Capitol Records,
466.   The Beatles   Love You To                        Capitol filed 3.13.2019
                                                                                             LLC
                                                    Capitol filed Lovely Rita          Capitol Records,
467.   The Beatles   Lovely Rita
                                                             3.13.2019                       LLC
                     Lucy In The Sky With         Capitol filed Lucy In The Sky        Capitol Records,
468.   The Beatles
                     Diamonds                      With Diamonds 3.13.2019                   LLC
                                                                                       Capitol Records,
469.   The Beatles   Maggie Mae                         Capitol filed 3.13.2019
                                                                                             LLC
                                                  Captiol filed Magical Mystery        Capitol Records,
470.   The Beatles   Magical Mystery Tour
                                                         Tour 3.13.2019                      LLC
                                                                                       Capitol Records,
471.   The Beatles   March Of The Meanies               Capitol filed 3.13.2019
                                                                                             LLC
                                                  Capitol filed Martha My Dear         Capitol Records,
472.   The Beatles   Martha My Dear
                                                             3.13.2019                       LLC
                                                     Capitol filed Matchbox            Capitol Records,
473.   The Beatles   Matchbox
                                                             3.13.2019                       LLC
                                                   Capitol filed MAXWELL'S             Capitol Records,
474.   The Beatles   Maxwell's Silver Hammer
                                                  SILVER HAMMER 3.13.2019                    LLC
                                                                                       Capitol Records,
475.   The Beatles   Mean Mr Mustard                    Capitol filed 3.13.2019
                                                                                             LLC
                                                         Capitol filed Michelle        Capitol Records,
476.   The Beatles   Michelle
                                                              3.13.2019                      LLC
                                                                                       Capitol Records,
477.   The Beatles   Misery                       Capitol filed Misery 3.13.2019
                                                                                             LLC
                     Money (That's What I                                              Capitol Records,
478.   The Beatles                                      Capitol filed 3.13.2019
                     Want)                                                                   LLC
                                                     Capitol filed MOTHER              Capitol Records,
479.   The Beatles   Mother Nature's Son
                                                   NATURE'S SON 3.13.2019                    LLC
                                                        Capitol filed MR               Capitol Records,
480.   The Beatles   Mr Moonlight
                                                    MOONLIGHT 3.13.2019                      LLC
                                                    Capitol filed NO REPLY             Capitol Records,
481.   The Beatles   No Reply
                                                             3.13.2019                       LLC
                                                   Capitol filed NORWEGIAN
                     Norwegian Wood (This                                              Capitol Records,
482.   The Beatles                                 WOOD (THIS BIRD HAS
                     Bird Has Flown)                                                         LLC
                                                      FLOWN) 3.13.2019


                                               - 26 -
       Case 1:24-cv-04777-AKH           Document 9-1       Filed 06/25/24        Page 27 of 78




                                                                                      Capitol Records,
483.   The Beatles   Not A Second Time                 Capitol filed 3.13.2019
                                                                                            LLC
                                                   Capitol filed NOWHERE              Capitol Records,
484.   The Beatles   Nowhere Man
                                                        MAN 3.13.2019                       LLC
                                                  Capitol filed OB-LA-DI, OB-         Capitol Records,
485.   The Beatles   Ob-La-Di, Ob-La-Da
                                                       LA-DA 3.13.2019                      LLC
                                                   Capitol filed OCTOPUS'S            Capitol Records,
486.   The Beatles   Octupus's Garden
                                                      GARDEN 3.13.2019                      LLC
                                                  Capitol filed OH! DARLING           Capitol Records,
487.   The Beatles   Oh! Darling
                                                             3.13.2019                      LLC
                                                  Capitol filed Old Brown Shoe        Capitol Records,
488.   The Beatles   Old Brown Shoe
                                                             3.13.2019                      LLC
                                                                                      Capitol Records,
489.   The Beatles   One After 909                     Capitol filed 3.13.2019
                                                                                            LLC
                                                                                      Capitol Records,
490.   The Beatles   Only A Northern Song              Capitol filed 3.13.2019
                                                                                            LLC
                                                  Capitol filed P.S. I Love You       Capitol Records,
491.   The Beatles   P.S. I Love You
                                                            3.13.2019                       LLC
                                                  Capitol filed PAPERBACK             Capitol Records,
492.   The Beatles   Paperback Writer
                                                     WRITER 3.13.2019                       LLC
                                                  Capitol filed PENNY LANE            Capitol Records,
493.   The Beatles   Penny Lane
                                                            3.13.2019                       LLC
                                                   Capitol filed Pepperland           Capitol Records,
494.   The Beatles   Pepperland
                                                            3.13.2019                       LLC
                                                                                      Capitol Records,
495.   The Beatles   Pepperland Laid Waste             Capitol filed 3.13.2019
                                                                                            LLC
                                                                                      Capitol Records,
496.   The Beatles   Piggies                           Capitol filed 3.13.2019
                                                                                            LLC
                                                     Capitol filed PLEASE
                                                                                      Capitol Records,
497.   The Beatles   Please Mister Postman           MISTER POSTMAN
                                                                                            LLC
                                                            3.13.2019
                                                     Capitol filed PLEASE             Capitol Records,
498.   The Beatles   Please Please Me
                                                    PLEASE ME 3.13.2019                     LLC
                                                   Capitol filed POLYTHENE            Capitol Records,
499.   The Beatles   Polythene Pam
                                                        PAM 3.13.2019                       LLC
                                                                                      Capitol Records,
500.   The Beatles   Rain                         Capitol filed RAIN 3.13.2019
                                                                                            LLC
                                                  Capitol filed REVOLUTION            Capitol Records,
501.   The Beatles   Revolution
                                                            3.13.2019                       LLC
                                                   Capitol filed Revolution 9         Capitol Records,
502.   The Beatles   Revolution 9
                                                            3.13.2019                       LLC
                                                                                      Capitol Records,
503.   The Beatles   Rock And Roll Music               Capitol filed 3.13.2019
                                                                                            LLC
                                                     Capitol filed ROCKY              Capitol Records,
504.   The Beatles   Rocky Raccoon
                                                    RACCOON 3.13.2019                       LLC
                                                   Capitol filed ROLL OVER            Capitol Records,
505.   The Beatles   Roll Over Beethoven
                                                   BEETHOVEN 3.13.2019                      LLC
                                                 Capitol filed RUN FOR YOUR           Capitol Records,
506.   The Beatles   Run For Your Life
                                                         LIFE 3.13.2019                     LLC


                                              - 27 -
       Case 1:24-cv-04777-AKH          Document 9-1           Filed 06/25/24        Page 28 of 78




                                                                                         Capitol Records,
507.   The Beatles   Savoy Truffle                        Capitol filed 3.13.2019
                                                                                               LLC
                                                      Capitol filed Sea Of Holes         Capitol Records,
508.   The Beatles   Sea Of Holes
                                                              3.13.2019                        LLC
                                                                                         Capitol Records,
509.   The Beatles   Sea Of Monsters                      Capitol filed 3.13.2019
                                                                                               LLC
                                                                                         Capitol Records,
510.   The Beatles   Sea Of Time                          Capitol filed 3.13.2019
                                                                                               LLC
                                                      Capitol filed SEXY SADIE           Capitol Records,
511.   The Beatles   Sexy Sadie
                                                               3.13.2019                       LLC
                                                       Capitol filed Sgt Pepper's
                     Sgt Pepper'S Lonely                                                 Capitol Records,
512.   The Beatles                                     Lonely Hearts Club Band
                     Hearts Club Band                                                          LLC
                                                               3.13.2019
                     Sgt Pepper's Lonely Hearts                                          Capitol Records,
513.   The Beatles                                        Capitol filed 3.13.2019
                     Club Band (Reprise)                                                       LLC
                                                     Capitol filed SHE CAME IN
                     She Came In Through The              THROUGH THE                    Capitol Records,
514.   The Beatles
                     Bathroom Window                  BATHROOM WINDOW                          LLC
                                                               3.13.2019
                                                     Capitol filed She Loves You         Capitol Records,
515.   The Beatles   She Loves You
                                                               3.13.2019                       LLC
                                                                                         Capitol Records,
516.   The Beatles   She Said She Said                    Capitol filed 3.13.2019
                                                                                               LLC
                                                                                         Capitol Records,
517.   The Beatles   She's A Woman                        Capitol filed 3.13.2019
                                                                                               LLC
                                                    Capitol filed SHE'S LEAVING          Capitol Records,
518.   The Beatles   She's Leaving Home
                                                          HOME 3.13.2019                       LLC
                                                    Capitol filed SIE LIEBT DICH         Capitol Records,
519.   The Beatles   Sie Liebt Dich
                                                               3.13.2019                       LLC
                                                     Capitol filed SLOW DOWN             Capitol Records,
520.   The Beatles   Slow Down
                                                               3.13.2019                       LLC
                                                     Capitol filed SOMETHING             Capitol Records,
521.   The Beatles   Something
                                                               3.13.2019                       LLC
                                                    Capitol filed STRAWBERRY             Capitol Records,
522.   The Beatles   Strawberry Fields Forever
                                                    FIELDS FOREVER 3.13.2019                   LLC
                                                       Capitol filed SUN KING            Capitol Records,
523.   The Beatles   Sun King
                                                               3.13.2019                       LLC
                                                       Capitol filed TAXMAN              Capitol Records,
524.   The Beatles   Taxman
                                                               3.13.2019                       LLC
                                                                                         Capitol Records,
525.   The Beatles   Tell Me What You See                 Capitol filed 3.13.2019
                                                                                               LLC
                                                     Capitol filed TELL ME WHY           Capitol Records,
526.   The Beatles   Tell Me Why
                                                                3.13.2019                      LLC
                                                                                         Capitol Records,
527.   The Beatles   Thank You Girl                       Capitol filed 3.13.2019
                                                                                               LLC
                                                     Capitol filed THE BALLAD
                     The Ballad Of John And                                              Capitol Records,
528.   The Beatles                                     OF JOHN AND YOKO
                     Yoko                                                                      LLC
                                                               3.13.2019
                     The Continuing Story Of                                             Capitol Records,
529.   The Beatles                                        Capitol filed 3.13.2019
                     Bungalow Bill                                                             LLC

                                                 - 28 -
       Case 1:24-cv-04777-AKH           Document 9-1       Filed 06/25/24        Page 29 of 78




                                                    Capitol filed THE END             Capitol Records,
530.   The Beatles   The End
                                                            3.13.2019                       LLC
                                                  Capitol filed THE FOOL ON           Capitol Records,
531.   The Beatles   The Fool On The Hill
                                                     THE HILL 3.13.2019                     LLC
                                                                                      Capitol Records,
532.   The Beatles   The Inner Light                   Capitol filed 3.13.2019
                                                                                            LLC
                     The Long And Winding                                             Capitol Records,
533.   The Beatles                                     Capitol filed 3.13.2019
                     Road                                                                   LLC
                                                   Capitol filed THE NIGHT            Capitol Records,
534.   The Beatles   The Night Before
                                                     BEFORE 3.13.2019                       LLC
                                                   Capitol filed THE WORD             Capitol Records,
535.   The Beatles   The Word
                                                            3.13.2019                       LLC
                                                   Capitol filed THERE'S A            Capitol Records,
536.   The Beatles   There's A Place
                                                      PLACE 3.13.2019                       LLC
                                                   Capitol filed THINGS WE            Capitol Records,
537.   The Beatles   Things We Said Today
                                                   SAID TODAY 3.13.2019                     LLC
                                                                                      Capitol Records,
538.   The Beatles   Think For Yourself                Capitol filed 3.13.2019
                                                                                            LLC
                                                    Capitol filed THIS BOY            Capitol Records,
539.   The Beatles   This Boy
                                                           3.13.2019                        LLC
                                                   Capitol filed TICKET TO            Capitol Records,
540.   The Beatles   Ticket To Ride
                                                        RIDE 3.13.2019                      LLC
                                                  Capitol filed TILL THERE            Capitol Records,
541.   The Beatles   Till There Was You
                                                     WAS YOU 3.13.2019                      LLC
                                                  Capitol filed TOMORROW              Capitol Records,
542.   The Beatles   Tomorrow Never Knows
                                                  NEVER KNOWS 3.13.2019                     LLC
                                                   Capitol filed TWIST AND            Capitol Records,
543.   The Beatles   Twist And Shout
                                                      SHOUT 3.13.2019                       LLC
                                                    Capitol filed Two Of Us           Capitol Records,
544.   The Beatles   Two Of Us
                                                           3.13.2019                        LLC
                                                                                      Capitol Records,
545.   The Beatles   Wait                         Capitol filed WAIT 3.13.2019
                                                                                            LLC
                                                                                      Capitol Records,
546.   The Beatles   We Can Work It Out                Capitol filed 3.13.2019
                                                                                            LLC
                                                                                      Capitol Records,
547.   The Beatles   What Goes On                      Capitol filed 3.13.2019
                                                                                            LLC
                                                                                      Capitol Records,
548.   The Beatles   What You're Doing                 Capitol filed 3.13.2019
                                                                                            LLC
                                                 Capitol filed When I Get Home        Capitol Records,
549.   The Beatles   When I Get Home
                                                            3.13.2019                       LLC
                                                                                      Capitol Records,
550.   The Beatles   When I'm Sixty Four               Capitol filed 3.13.2019
                                                                                            LLC
                                                   Capitol filed WHILE MY
                     While My Guitar Gently                                           Capitol Records,
551.   The Beatles                                GUITAR GENTLY WEEPS
                     Weeps                                                                  LLC
                                                           3.13.2019
                     Why Don't We Do It In                                            Capitol Records,
552.   The Beatles                                     Capitol filed 3.13.2019
                     The Road                                                               LLC
                                                  Capitol filed WILD HONEY            Capitol Records,
553.   The Beatles   Wild Honey Pie
                                                         PIE 3.13.2019                      LLC


                                              - 29 -
       Case 1:24-cv-04777-AKH             Document 9-1         Filed 06/25/24        Page 30 of 78




                                                     Capitol filed WITH A LITTLE
                       With A Little Help From                                            Capitol Records,
554.   The Beatles                                   HELP FROM MY FRIENDS
                       My Friends                                                               LLC
                                                                3.13.2019
                                                                                          Capitol Records,
555.   The Beatles     Within You Without You              Capitol filed 3.13.2019
                                                                                                LLC
                                                                                          Capitol Records,
556.   The Beatles     Words Of Love                       Capitol filed 3.13.2019
                                                                                                LLC
                                                     Capitol filed Yellow Submarine       Capitol Records,
557.   The Beatles     Yellow Submarine
                                                                 3.13.2019                      LLC
                       Yellow Submarine In                                                Capitol Records,
558.   The Beatles                                         Capitol filed 3.13.2019
                       Pepperland                                                               LLC
                                                                                          Capitol Records,
559.   The Beatles     Yer Blues                           Capitol filed 3.13.2019
                                                                                                LLC
                                                        Capitol filed YES IT IS           Capitol Records,
560.   The Beatles     Yes It Is
                                                                3.13.2019                       LLC
                                                       Capitol filed YESTERDAY            Capitol Records,
561.   The Beatles     Yesterday
                                                                3.13.2019                       LLC
                                                                                          Capitol Records,
562.   The Beatles     You Can't Do That                   Capitol filed 3.13.2019
                                                                                                LLC
                                                                                          Capitol Records,
563.   The Beatles     You Know My Name                    Capitol filed 3.13.2019
                                                                                                LLC
                                                      Capitol filed YOU LIKE ME           Capitol Records,
564.   The Beatles     You Like Me Too Much
                                                        TOO MUCH 3.13.2019                      LLC
                       You Never Give Me Your                                             Capitol Records,
565.   The Beatles                                         Capitol filed 3.13.2019
                       Money                                                                    LLC
                                                      Capitol filed YOU REALLY
                       You Really Got A Hold On                                           Capitol Records,
566.   The Beatles                                      GOT A HOLD ON ME
                       Me                                                                       LLC
                                                                3.13.2019
                                                                                          Capitol Records,
567.   The Beatles     You Won't See Me                    Capitol filed 3.13.2019
                                                                                                LLC
                                                    Capitol filed YOUR MOTHER             Capitol Records,
568.   The Beatles     Your Mother Should Know
                                                     SHOULD KNOW 3.13.2019                      LLC
                                                    Capitol filed YOU'RE GOING
                       You're Going To Lose That                                          Capitol Records,
569.   The Beatles                                     TO LOSE THAT GIRL
                       Girl                                                                     LLC
                                                                3.13.2019
                                                    Capitol filed YOU'VE GOT TO
                       You've Got To Hide Your                                            Capitol Records,
570.   The Beatles                                   HIDE YOUR LOVE AWAY
                       Love Away                                                                LLC
                                                                3.13.2019
                                                                                         Capitol Records,
571.   Willie Nelson   Crazy                                  SR0000200387
                                                                                               LLC
                                                                                         Capitol Records,
572.   Willie Nelson   Healing Hands Of Time                  SR0000200387
                                                                                               LLC
                                                                                         Capitol Records,
573.   Willie Nelson   Night Life                             SR0000200387
                                                                                               LLC
                                                                                        Rhino Entertainment
574.       Yes         A Venture                       Pre-1972 Sound Recording
                                                                                               Co.
                                                                                        Rhino Entertainment
575.       Yes         Almost like Love                       SR0000084592
                                                                                               Co.



                                                  - 30 -
       Case 1:24-cv-04777-AKH        Document 9-1          Filed 06/25/24        Page 31 of 78




                   And You and I: i. Cord of
                   Life, ii. Eclipse, iii. The
                   Preacher the Teacher, iv.
                   The ApocalypseAnd You                                            Rhino Entertainment
576.      Yes                                                  N2169
                   and I: I. Cord of Life, II.                                             Co.
                   Eclipse, III. The Preacher,
                   the Teacher, IV. The
                   Apocalypse
                                                                                    Rhino Entertainment
577.      Yes      Big Generator                           SR0000084592
                                                                                           Co.
                                                                                    Rhino Entertainment
578.      Yes      Cans and Brahms                    Pre-1972 Sound Recording
                                                                                           Co.
                                                                                    Rhino Entertainment
579.      Yes      Changes                                 SR0000050617
                                                                                           Co.
                                                                                    Rhino Entertainment
580.      Yes      Cinema                                  SR0000050617
                                                                                           Co.
                                                                                    Rhino Entertainment
581.      Yes      City of Love                            SR0000050617
                                                                                           Co.
                                                                                    Rhino Entertainment
582.      Yes      Clap                               Pre-1972 Sound Recording
                                                                                           Co.
                   Close to the Edge: i. The
                   Solid Time of Change, ii.
                                                                                    Rhino Entertainment
583.      Yes      Total Mass Retain, iii. I                   N2169
                                                                                           Co.
                   Get up I Get Down, iv.
                   Seasons of Man
                                                                                    Rhino Entertainment
584.      Yes      Does It Really Happen?                  SR0000020337
                                                                                           Co.
                                                                                    Rhino Entertainment
585.      Yes      Final Eyes                              SR0000084592
                                                                                           Co.
                                                                                    Rhino Entertainment
586.      Yes      Five per Cent for Nothing          Pre-1972 Sound Recording
                                                                                           Co.
                                                                                    Rhino Entertainment
587.      Yes      Heart of the Sunrise               Pre-1972 Sound Recording
                                                                                           Co.
                                                                                    Rhino Entertainment
588.      Yes      Hearts                                  SR0000050617
                                                                                           Co.
                                                                                    Rhino Entertainment
589.      Yes      Hold On                                 SR0000050617
                                                                                           Co.
                                                                                    Rhino Entertainment
590.      Yes      Holy Lamb                               SR0000084690
                                                                                           Co.
                                                                                    Rhino Entertainment
591.      Yes      I'm Running                             SR0000084592
                                                                                           Co.
                                                                                    Rhino Entertainment
592.      Yes      Into the Lens                           SR0000020337
                                                                                           Co.
                                                                                    Rhino Entertainment
593.      Yes      It Can Happen                           SR0000050617
                                                                                           Co.
                   I've Seen All Good People:
                                                                                    Rhino Entertainment
594.      Yes      a. Your Move, b. All Good          Pre-1972 Sound Recording
                                                                                           Co.
                   People
                                                                                    Rhino Entertainment
595.      Yes      Leave It                                SR0000050617
                                                                                           Co.

                                                 - 31 -
       Case 1:24-cv-04777-AKH              Document 9-1         Filed 06/25/24       Page 32 of 78




                                                                                        Rhino Entertainment
596.        Yes         Long Distance Runaround           Pre-1972 Sound Recording
                                                                                               Co.
                                                                                        Rhino Entertainment
597.        Yes         Love Will Find a Way                   SR0000084690
                                                                                               Co.
                                                                                        Rhino Entertainment
598.        Yes         Machine Messiah                        SR0000020337
                                                                                               Co.
                                                                                        Rhino Entertainment
599.        Yes         Mood for a Day                    Pre-1972 Sound Recording
                                                                                               Co.
                                                                                        Rhino Entertainment
600.        Yes         Our Song                               SR0000050667
                                                                                               Co.
                                                                                        Rhino Entertainment
601.        Yes         Owner of a Lonely Heart                SR0000050667
                                                                                               Co.
                                                                                        Rhino Entertainment
602.        Yes         Perpetual Change                  Pre-1972 Sound Recording
                                                                                               Co.
                                                                                        Rhino Entertainment
603.        Yes         Rhythm of Love                         SR0000084592
                                                                                               Co.
                                                                                        Rhino Entertainment
604.        Yes         Roundabout                        Pre-1972 Sound Recording
                                                                                               Co.
                                                                                        Rhino Entertainment
605.        Yes         Run Through the Light                  SR0000020337
                                                                                               Co.
                                                                                        Rhino Entertainment
606.        Yes         Shoot High, Aim Low                    SR0000084592
                                                                                               Co.
                                                                                        Rhino Entertainment
607.        Yes         Siberian Khatru                            N2169
                                                                                               Co.
                                                                                        Rhino Entertainment
608.        Yes         Sound Chaser                              N20006
                                                                                               Co.
                                                                                        Rhino Entertainment
609.        Yes         South Side of the Sky             Pre-1972 Sound Recording
                                                                                               Co.
                        Starship Trooper: a. Life
                                                                                        Rhino Entertainment
610.        Yes         Seeker, b. Disillusion, c.        Pre-1972 Sound Recording
                                                                                               Co.
                        Würm
                                                                                        Rhino Entertainment
611.        Yes         Tempus Fugit                           SR0000020337
                                                                                                Co.
                        The Fish (Schindleria                                           Rhino Entertainment
612.        Yes                                           Pre-1972 Sound Recording
                        Praematurus)                                                            Co.
                                                                                        Rhino Entertainment
613.        Yes         The Gates of Delirium                     N20006
                                                                                                Co.
                                                                                        Rhino Entertainment
614.        Yes         To Be Over                                N20006
                                                                                                Co.
                                                                                        Rhino Entertainment
615.        Yes         We Have Heaven                    Pre-1972 Sound Recording
                                                                                                Co.
                                                                                        Rhino Entertainment
616.        Yes         White Car                              SR0000020337
                                                                                                Co.
                                                                                        Rhino Entertainment
617.        Yes         Yours Is No Disgrace              Pre-1972 Sound Recording
                                                                                                Co.
                                                         Pre-1972 Recording (Indexed        Sony Music
618.   Billie Holiday   All of Me
                                                                   2019)                   Entertainment
                                                         Pre-1972 Recording (Indexed        Sony Music
619.   Billie Holiday   Easy Living
                                                                   2019)                   Entertainment


                                                     - 32 -
       Case 1:24-cv-04777-AKH             Document 9-1         Filed 06/25/24     Page 33 of 78




                                                        Pre-1972 Recording (Indexed      Sony Music
620.   Billie Holiday   Gloomy Sunday
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
621.   Billie Holiday   I'm a Fool to Want You
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
622.   Billie Holiday   The Very Thought of You
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
623.   Billie Holiday   Pennies From Heaven
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
624.   Billie Holiday   Any Old Time
                                                                  2019)                 Entertainment
                        When You're Smiling (The
                                                        Pre-1972 Recording (Indexed      Sony Music
625.   Billie Holiday   Whole World Smiles with
                                                                  2019)                 Entertainment
                        You)
                                                        Pre-1972 Recording (Indexed      Sony Music
626.   Billie Holiday   Fine and Mellow
                                                                  2019)                 Entertainment
                        What a Little Moonlight         Pre-1972 Recording (Indexed      Sony Music
627.   Billie Holiday
                        Can Do                                    2019)                 Entertainment
                        The Way You Look                Pre-1972 Recording (Indexed      Sony Music
628.   Billie Holiday
                        Tonight                                   2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
629.   Billie Holiday   Sugar
                                                                  2019)                 Entertainment
                        I'm Gonna Lock My Heart
                                                        Pre-1972 Recording (Indexed      Sony Music
630.   Billie Holiday   (And Throw Away The
                                                                  2019)                 Entertainment
                        Key)
                                                        Pre-1972 Recording (Indexed      Sony Music
631.   Billie Holiday   You've Changed
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
632.   Billie Holiday   I Must Have That Man
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
633.   Billie Holiday   This Year's Kisses
                                                                  2019)                 Entertainment
                        I Can't Give You Anything       Pre-1972 Recording (Indexed      Sony Music
634.   Billie Holiday
                        but Love                                  2019)                 Entertainment
                        You Don't Know What             Pre-1972 Recording (Indexed      Sony Music
635.   Billie Holiday
                        Love Is                                   2019)                 Entertainment
                        I've Got My Love to Keep        Pre-1972 Recording (Indexed      Sony Music
636.   Billie Holiday
                        Me Warm                                   2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
637.   Billie Holiday   Foolin' Myself
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
638.   Billie Holiday   I'll Never Be the Same
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
639.   Billie Holiday   Mean to Me
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
640.   Billie Holiday   Can't Help Lovin' Dat Man
                                                                  2019)                 Entertainment
                        These Foolish Things            Pre-1972 Recording (Indexed      Sony Music
641.   Billie Holiday
                        (Remind Me of You)                        2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
642.   Billie Holiday   But Beautiful
                                                                  2019)                 Entertainment
                                                        Pre-1972 Recording (Indexed      Sony Music
643.   Billie Holiday   Miss Brown To You
                                                                  2019)                 Entertainment

                                                    - 33 -
       Case 1:24-cv-04777-AKH             Document 9-1             Filed 06/25/24    Page 34 of 78




                                                          Pre-1972 Recording (Indexed       Sony Music
644.   Billie Holiday   The End of a Love Affair
                                                                    2019)                  Entertainment
                                                          Pre-1972 Recording (Indexed       Sony Music
645.   Billie Holiday   If You Were Mine
                                                                    2019)                  Entertainment
                        Let's Call The Whole              Pre-1972 Recording (Indexed       Sony Music
646.   Billie Holiday
                        Thing Off                                   2019)                  Entertainment
                        I Get Along Without You           Pre-1972 Recording (Indexed       Sony Music
647.   Billie Holiday
                        Very Well                                   2019)                  Entertainment
                        I Can't Believe That You're       Pre-1972 Recording (Indexed       Sony Music
648.   Billie Holiday
                        In Love With Me                             2019)                  Entertainment
                        Until the Real Thing              Pre-1972 Recording (Indexed       Sony Music
649.   Billie Holiday
                        Comes Along                                 2019)                  Entertainment
                                                          Pre-1972 Recording (Indexed       Sony Music
650.   Billie Holiday   Glad to Be Unhappy
                                                                    2019)                  Entertainment
                                                          Pre-1972 Recording (Indexed       Sony Music
651.   Billie Holiday   Billie's Blues
                                                                    2019)                  Entertainment
                                                          Pre-1972 Recording (Indexed       Sony Music
652.   Billie Holiday   For Heaven's Sake
                                                                    2019)                  Entertainment
                        I Can't Believe That You're       Pre-1972 Recording (Indexed       Sony Music
653.   Billie Holiday
                        In Love With Me                             2019)                  Entertainment
                                                          Pre-1972 Recording (Indexed       Sony Music
654.   Billie Holiday   It's Easy to Remember
                                                                    2019)                  Entertainment
                                                          Pre-1972 Recording (Indexed       Sony Music
655.   Billie Holiday   God Bless the Child
                                                                    2019)                  Entertainment
                                                          Pre-1972 Recording (Indexed       Sony Music
656.   Billie Holiday   I'll Be Around
                                                                    2019)                  Entertainment
                                                          Pre-1972 Recording (Indexed       Sony Music
657.   Billie Holiday   For All We Know
                                                                    2019)                  Entertainment
          Bruce                                                                             Sony Music
658.                    Dancing In the Dark                       SR0000055658
        Springsteen                                                                        Entertainment
          Bruce                                                                             Sony Music
659.                    Born in the U.S.A.                        SR0000055647
        Springsteen                                                                        Entertainment
          Bruce                                                                             Sony Music
660.                    Born To Run                            RE0000894630/N27922
        Springsteen                                                                        Entertainment
          Bruce                                                                             Sony Music
661.                    Fire                                      SR0000079798
        Springsteen                                                                        Entertainment
          Bruce                                                                             Sony Music
662.                    Glory Days                                SR0000055647
        Springsteen                                                                        Entertainment
          Bruce         Santa Claus Is Comin' to                                            Sony Music
663.                                                              SR0000032783
        Springsteen     Town                                                               Entertainment
          Bruce                                                                             Sony Music
664.                    Thunder Road                           RE0000894630/N27922
        Springsteen                                                                        Entertainment
          Bruce                                                                             Sony Music
665.                    Hungry Heart                              SR0000025235
        Springsteen                                                                        Entertainment
          Bruce                                                                             Sony Music
666.                    Streets of Philadelphia                   SR0000185365
        Springsteen                                                                        Entertainment
          Bruce                                                                             Sony Music
667.                    Badlands                                  SR0000003323
        Springsteen                                                                        Entertainment
          Bruce                                                                             Sony Music
668.                    Secret Garden                             SR0000198948
        Springsteen                                                                        Entertainment

                                                      - 34 -
       Case 1:24-cv-04777-AKH            Document 9-1       Filed 06/25/24    Page 35 of 78




         Bruce                                                                       Sony Music
669.                 My Hometown                           SR0000055647
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
670.                 Tenth Avenue Freeze-Out            RE0000894630/N27922
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
671.                 The River                             SR0000025235
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
672.                 The Rising                            SR0000314292
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
673.                 Cover Me                              SR0000055647
       Springsteen                                                                  Entertainment
         Bruce       Rosalita (Come Out                                              Sony Music
674.                                                          N12219
       Springsteen   Tonight)                                                       Entertainment
         Bruce                                                                       Sony Music
675.                 Jungleland                         RE0000894630/N27922
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
676.                 I'm Goin' Down                        SR0000055647
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
677.                 The Ghost of Tom Joad                 SR0000205154
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
678.                 Atlantic City                         SR000043466
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
679.                 Prove It All Night                    SR0000008330
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
680.                 Tunnel of Love                        SR0000087116
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
681.                 Growin' Up                         RE0000920385/N4528
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
682.                 Tougher Than the Rest                 SR0000087116
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
683.                 Human Touch                           SR0000152008
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
684.                 The Promised Land                     SR0000008335
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
685.                 Letter To You                         SR0000885511
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
686.                 No Surrender                          SR0000055647
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
687.                 One Step Up                           SR0000087116
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
688.                 Ghosts                                SR0000886356
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
689.                 Pink Cadillac                         SR0000055658
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
690.                 Backstreets                        RE0000894630/N27922
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
691.                 Blinded By The Light               RE0000920385/N4528
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
692.                 Out In the Street                     SR0000025235
       Springsteen                                                                  Entertainment
         Bruce                                                                       Sony Music
693.                 Spirit In The Night                RE0000920385/N4528
       Springsteen                                                                  Entertainment

                                               - 35 -
       Case 1:24-cv-04777-AKH             Document 9-1        Filed 06/25/24     Page 36 of 78




         Bruce                                                                          Sony Music
694.                   Bobby Jean                            SR0000055647
       Springsteen                                                                     Entertainment
         Bruce         Darkness On the Edge of                                          Sony Music
695.                                                         SR0000008335
       Springsteen     Town                                                            Entertainment
         Bruce                                                                          Sony Music
696.                   Sherry Darling                        SR0000025235
       Springsteen                                                                     Entertainment
                       Let It Snow! Let It Snow!       Pre-1972 Recording (Indexed      Sony Music
697.   Frank Sinatra
                       Let It Snow!                              2019)                 Entertainment
                       Santa Claus Is Comin' to        Pre-1972 Recording (Indexed      Sony Music
698.   Frank Sinatra
                       Town                                      2019)                 Entertainment
                       Have Yourself A Merry           Pre-1972 Recording (Indexed      Sony Music
699.   Frank Sinatra
                       Little Christmas                          2019)                 Entertainment
                       It Came Upon The                Pre-1972 Recording (Indexed      Sony Music
700.   Frank Sinatra
                       Midnight Clear                            2019)                 Entertainment
                       Nancy (With The                 Pre-1972 Recording (Indexed      Sony Music
701.   Frank Sinatra
                       Laughing Face)                            2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
702.   Frank Sinatra   Baby, It's Cold Outside
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
703.   Frank Sinatra   White Christmas
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
704.   Frank Sinatra   Silent Night, Holy Night
                                                                 2019)                 Entertainment
                       Medley: O Little Town of
                                                       Pre-1972 Recording (Indexed      Sony Music
705.   Frank Sinatra   Bethlehem / Joy to the
                                                                 2019)                 Entertainment
                       World / White Christmas
                                                       Pre-1972 Recording (Indexed      Sony Music
706.   Frank Sinatra   The Song Is You
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
707.   Frank Sinatra   Christmas Dreaming
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
708.   Frank Sinatra   Jingle Bells
                                                                 2019)                 Entertainment
                       Saturday Night (Is The
                                                       Pre-1972 Recording (Indexed      Sony Music
709.   Frank Sinatra   Loneliest Night In The
                                                                 2019)                 Entertainment
                       Week)
                                                       Pre-1972 Recording (Indexed      Sony Music
710.   Frank Sinatra   The Huckle-Buck
                                                                 2019)                 Entertainment
                       O Little Town of                Pre-1972 Recording (Indexed      Sony Music
711.   Frank Sinatra
                       Bethlehem                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
712.   Frank Sinatra   All or Nothing at All
                                                                 2019)                 Entertainment
                       Everybody Loves                 Pre-1972 Recording (Indexed      Sony Music
713.   Frank Sinatra
                       Somebody                                  2019)                 Entertainment
                       Someone to Watch Over           Pre-1972 Recording (Indexed      Sony Music
714.   Frank Sinatra
                       Me                                        2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
715.   Frank Sinatra   If You Are But A Dream
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
716.   Frank Sinatra   I've Got a Crush on You
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
717.   Frank Sinatra   I'm a Fool to Want You
                                                                 2019)                 Entertainment

                                                   - 36 -
       Case 1:24-cv-04777-AKH            Document 9-1         Filed 06/25/24     Page 37 of 78




                       Saturday Night (Is The
                                                       Pre-1972 Recording (Indexed      Sony Music
718.   Frank Sinatra   Loneliest Night In The
                                                                 2019)                 Entertainment
                       Week)
                       Put Your Dreams Away            Pre-1972 Recording (Indexed      Sony Music
719.   Frank Sinatra
                       (For Another Day)                         2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
720.   Frank Sinatra   Ave Maria
                                                                 2019)                 Entertainment
                       Adeste Fideles (O Come          Pre-1972 Recording (Indexed      Sony Music
721.   Frank Sinatra
                       All Ye Faithful)                          2019)                 Entertainment
                       When You're Smiling (The
                                                       Pre-1972 Recording (Indexed      Sony Music
722.   Frank Sinatra   Whole World Smiles with
                                                                 2019)                 Entertainment
                       You)
                       Fools Rush In (Where            Pre-1972 Recording (Indexed      Sony Music
723.   Frank Sinatra
                       Angels Fear to Tread)                     2019)                 Entertainment
                       Santa Claus Is Coming to        Pre-1972 Recording (Indexed      Sony Music
724.   Frank Sinatra
                       Town                                      2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
725.   Frank Sinatra   I'll Be Seeing You
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
726.   Frank Sinatra   Time After Time
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
727.   Frank Sinatra   All Through The Day
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
728.   Frank Sinatra   Begin the Beguine
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
729.   Frank Sinatra   Night and Day
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
730.   Frank Sinatra   Once In Love With Amy
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
731.   Frank Sinatra   Stella by Starlight
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
732.   Frank Sinatra   All of Me
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
733.   Frank Sinatra   I Fall In Love Too Easily
                                                                 2019)                 Entertainment
                       The House I Live In             Pre-1972 Recording (Indexed      Sony Music
734.   Frank Sinatra
                       (That's America To Me)                    2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
735.   Frank Sinatra   Blue Skies
                                                                 2019)                 Entertainment
                                                       Pre-1972 Recording (Indexed      Sony Music
736.   Frank Sinatra   Winter Wonderland
                                                                 2019)                 Entertainment
                                                                                        Sony Music
737.      Future       WAIT FOR U                            SR0000949131
                                                                                       Entertainment
                                                                                        Sony Music
738.      Future       Life Is Good                          SR0000865316
                                                                                       Entertainment
                                                                                        Sony Music
739.      Future       Mask Off                              SR0000814500
                                                                                       Entertainment
                                                                                        Sony Music
740.      Future       PUFFIN ON ZOOTIEZ                     SR0000949131
                                                                                       Entertainment
                                                                                        Sony Music
741.      Future       Low Life                              SR0000799347
                                                                                       Entertainment

                                                   - 37 -
       Case 1:24-cv-04777-AKH         Document 9-1     Filed 06/25/24   Page 38 of 78




                                                                               Sony Music
742.     Future    Solo                                SR0000804403
                                                                              Entertainment
                                                                               Sony Music
743.     Future    March Madness                       SR0000968457
                                                                              Entertainment
                                                                               Sony Music
744.     Future    Stick Talk                          SR0000769842
                                                                              Entertainment
                                                                               Sony Music
745.     Future    LOVE YOU BETTER                     SR0000949131
                                                                              Entertainment
                                                                               Sony Music
746.     Future    F*ck Up Some Commas                 SR0000769856
                                                                              Entertainment
                                                                               Sony Music
747.     Future    Where Ya At                         SR0000769842
                                                                              Entertainment
                                                                               Sony Music
748.     Future    I'M ON ONE                          SR0000949131
                                                                              Entertainment
                                                                               Sony Music
749.     Future    712PM                               SR0000949131
                                                                              Entertainment
                                                                               Sony Music
750.     Future    Too Comfortable                     SR0000879371
                                                                              Entertainment
                   The Percocet & Stripper                                     Sony Music
751.     Future                                        SR0000769842
                   Joint                                                      Entertainment
                                                                               Sony Music
752.     Future    I'M DAT N****                       SR0000949131
                                                                              Entertainment
                                                                               Sony Music
753.     Future    WORST DAY                           SR0000927264
                                                                              Entertainment
                                                                               Sony Music
754.     Future    Wicked                              SR0000793595
                                                                              Entertainment
                                                                               Sony Music
755.     Future    MASSAGING ME                        SR0000949131
                                                                              Entertainment
                                                                               Sony Music
756.     Future    Turn On The Lights                  SR0000701457
                                                                              Entertainment
                                                                               Sony Music
757.     Future    LIKE ME                             SR0000949140
                                                                              Entertainment
                                                                               Sony Music
758.     Future    Hard To Choose One                  SR0000879371
                                                                              Entertainment
                                                                               Sony Music
759.     Future    Used to This                        SR0000800092
                                                                              Entertainment
                                                                               Sony Music
760.     Future    CHICKENS                            SR0000949131
                                                                              Entertainment
                                                                               Sony Music
761.     Future    Solitaires                          SR0000879371
                                                                              Entertainment
                                                                               Sony Music
762.     Future    My Collection                       SR0000804403
                                                                              Entertainment
                                                                               Sony Music
763.     Future    Trillionaire                        SR0000879371
                                                                              Entertainment
                                                                               Sony Music
764.     Future    I Serve the Base                    SR0000769842
                                                                              Entertainment
                                                                               Sony Music
765.     Future    Accepting My Flaws                  SR0000879371
                                                                              Entertainment
                                                                               Sony Music
766.     Future    Thought It Was a Drought            SR0000769842
                                                                              Entertainment

                                              - 38 -
       Case 1:24-cv-04777-AKH            Document 9-1       Filed 06/25/24     Page 39 of 78




                                                                                      Sony Music
767.     Future      KEEP IT BURNIN                        SR0000949131
                                                                                     Entertainment
                                                                                      Sony Music
768.     Future      Comin Out Strong                      SR0000804403
                                                                                     Entertainment
                                                                                      Sony Music
769.     Future      HOLY GHOST                            SR0000949131
                                                                                     Entertainment
                                                                                      Sony Music
770.     Future      GOLD STACKS                           SR0000949131
                                                                                     Entertainment
                                                                                      Sony Music
771.     Future      Rich $ex                              SR0000769842
                                                                                     Entertainment
                                                                                      Sony Music
772.     Future      VOODOO                                SR0000949131
                                                                                     Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
773.   Johnny Cash   Ring Of Fire
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
774.   Johnny Cash   Folsom Prison Blues
                                                               2019)                 Entertainment
                                                                                      Sony Music
775.   Johnny Cash   (Ghost) Riders In the Sky             SR0000010496
                                                                                     Entertainment
                                                                                      Sony Music
776.   Johnny Cash   One Piece at a Time                      N33958
                                                                                     Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
777.   Johnny Cash   Jackson
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
778.   Johnny Cash   A Boy Named Sue
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
779.   Johnny Cash   Cocaine Blues
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
780.   Johnny Cash   Man in Black
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
781.   Johnny Cash   Daddy Sang Bass
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
782.   Johnny Cash   I Walk the Line
                                                               2019)                 Entertainment
                     Don't Take Your Guns to         Pre-1972 Recording (Indexed      Sony Music
783.   Johnny Cash
                     Town                                      2019)                 Entertainment
                                                                                      Sony Music
784.   Johnny Cash   Ragged Old Flag                          N14683
                                                                                     Entertainment
                     There Ain't No Good                                              Sony Music
785.   Johnny Cash                                         SR0000001597
                     Chain Gang                                                      Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
786.   Johnny Cash   Orange Blossom Special
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
787.   Johnny Cash   Five Feet High and Rising
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
788.   Johnny Cash   Tennessee Flat-Top Box
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
789.   Johnny Cash   It Ain't Me, Babe
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
790.   Johnny Cash   The Ballad of Ira Hayes
                                                               2019)                 Entertainment
                                                     Pre-1972 Recording (Indexed      Sony Music
791.   Johnny Cash   I Still Miss Someone
                                                               2019)                 Entertainment

                                                 - 39 -
       Case 1:24-cv-04777-AKH              Document 9-1      Filed 06/25/24     Page 40 of 78




                                                                                       Sony Music
792.    Johnny Cash    The General Lee                      SR0000035327
                                                                                      Entertainment
                       I Heard the Bells On           Pre-1972 Recording (Indexed      Sony Music
793.    Johnny Cash
                       Christmas Day                            2019)                 Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
794.    Johnny Cash    The Little Drummer Boy
                                                                2019)                 Entertainment
                       Were You There (When           Pre-1972 Recording (Indexed      Sony Music
795.    Johnny Cash
                       They Crucified My Lord)                  2019)                 Entertainment
                                                                                       Sony Music
796.    Johnny Cash    Oney                                     N1735
                                                                                      Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
797.    Johnny Cash    Big River
                                                                2019)                 Entertainment
                       The One on the Right Is on     Pre-1972 Recording (Indexed      Sony Music
798.    Johnny Cash
                       the Left                                 2019)                 Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
799.    Johnny Cash    Understand Your Man
                                                                2019)                 Entertainment
                                                                                       Sony Music
800.    Johnny Cash    All I Do Is Drive                       N15447
                                                                                      Entertainment
                       The Legend of John             Pre-1972 Recording (Indexed      Sony Music
801.    Johnny Cash
                       Henry's Hammer                           2019)                 Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
802.    Johnny Cash    All Over Again
                                                                2019)                 Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
803.    Johnny Cash    Flesh And Blood
                                                                2019)                 Entertainment
                                                                                       Sony Music
804.    Johnny Cash    Song of the Patriot                  SR0000020966
                                                                                      Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
805.    Johnny Cash    25 Minutes to Go
                                                                2019)                 Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
806.    Johnny Cash    I Got Stripes
                                                                2019)                 Entertainment
                       She Used to Love Me a                                           Sony Music
807.    Johnny Cash                                         SR0000745759
                       Lot                                                            Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
808.    Johnny Cash    The Rebel-Johnny Yuma
                                                                2019)                 Entertainment
                                                      Pre-1972 Recording (Indexed      Sony Music
809.    Johnny Cash    Hey Porter
                                                                2019)                 Entertainment
                       Are The Good Times
                                                                                       Sony Music
810.   Merle Haggard   Really Over (I Wish A                SR0000031647
                                                                                      Entertainment
                       Buck Was Still Silver)
                                                                                       Sony Music
811.   Merle Haggard   Big City                             SR0000031647
                                                                                      Entertainment
                                                                                       Sony Music
812.   Merle Haggard   My Favorite Memory                   SR0000031756
                                                                                      Entertainment
                                                                                       Sony Music
813.   Merle Haggard   That's the Way Love Goes             SR0000050589
                                                                                      Entertainment
                       Going Where The Lonely                                          Sony Music
814.   Merle Haggard                                        SR0000040279
                       Go                                                             Entertainment
                       Are the Good Times                                              Sony Music
815.   Merle Haggard                                        SR0000031647
                       Really Over                                                    Entertainment


                                                  - 40 -
       Case 1:24-cv-04777-AKH              Document 9-1    Filed 06/25/24   Page 41 of 78




                       Someday When Things                                         Sony Music
816.   Merle Haggard                                       SR0000050589
                       Are Good                                                   Entertainment
                                                                                   Sony Music
817.   Merle Haggard   A Place to Fall Apart               SR0000055871
                                                                                  Entertainment
                       Let's Chase Each Other                                      Sony Music
818.   Merle Haggard                                       SR0000055871
                       Around the Room                                            Entertainment
                                                                                   Sony Music
819.   Merle Haggard   Natural High                        SR0000055871
                                                                                  Entertainment
                                                                                   Sony Music
820.   Merle Haggard   Kern River                          SR0000062716
                                                                                  Entertainment
                       Nobody's Darling But                                        Sony Music
821.   Merle Haggard                                       SR0000041701
                       Mine                                                       Entertainment
                                                                                   Sony Music
822.   Merle Haggard   You Take Me For Granted             SR0000041701
                                                                                  Entertainment
                       I Always Get Lucky with                                     Sony Music
823.   Merle Haggard                                       SR0000031647
                       You                                                        Entertainment
                                                                                   Sony Music
824.   Merle Haggard   We Never Touch At All               SR0000089007
                                                                                  Entertainment
                       The Okie From                                               Sony Music
825.   Merle Haggard                                       SR0000069797
                       Muskogee's Comin' Home                                     Entertainment
                                                                                   Sony Music
826.   Merle Haggard   I Think I'll Stay                   SR0000050589
                                                                                  Entertainment
                       What Am I Gonna Do
                                                                                   Sony Music
827.   Merle Haggard   (With The Rest OF My                SR0000050589
                                                                                  Entertainment
                       Life)
                       Santa Claus Is Comin' to                                    Sony Music
828.   Merle Haggard                                       SR0000043562
                       Town                                                       Entertainment
                                                                                   Sony Music
829.   Merle Haggard   Why Am I Drinkin'                   SR0000041701
                                                                                  Entertainment
                                                                                   Sony Music
830.   Merle Haggard   For All I Know                      SR0000041701
                                                                                  Entertainment
                       You Don't Have Very Far                                     Sony Music
831.   Merle Haggard                                       SR0000031647
                       To Go                                                      Entertainment
                       Stop The World And Let                                      Sony Music
832.   Merle Haggard                                       SR0000031647
                       Me Off                                                     Entertainment
                                                                                   Sony Music
833.   Merle Haggard   The Show's Almost Over              SR0000076888
                                                                                  Entertainment
                                                                                   Sony Music
834.   Merle Haggard   Texas Fiddle Song                   SR0000031756
                                                                                  Entertainment
                       Rudolph The Red-Nosed                                       Sony Music
835.   Merle Haggard                                       SR0000043562
                       Reindeer                                                   Entertainment
                                                                                   Sony Music
836.   Merle Haggard   Goin' Home for Christmas            SR0000043562
                                                                                  Entertainment
                                                                                   Sony Music
837.   Merle Haggard   Chill Factor                        SR0000089007
                                                                                  Entertainment
                                                                                   Sony Music
838.   Merle Haggard   I Won't Give up My Train            SR0000041701
                                                                                  Entertainment
         Michael                                                                   Sony Music
839.                   Billie Jean                         SR0000041965
         Jackson                                                                  Entertainment


                                                  - 41 -
       Case 1:24-cv-04777-AKH         Document 9-1     Filed 06/25/24   Page 42 of 78




        Michael                                                                Sony Music
840.               Beat It                             SR0000041965
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
841.               Thriller                            SR0000041965
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
842.               Rock With You                       SR0000011120
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
843.               Smooth Criminal                     SR0000084256
        Jackson                                                               Entertainment
        Michael    Don't Stop 'Til You Get                                     Sony Music
844.                                                   SR0000011105
        Jackson    Enough                                                     Entertainment
        Michael    P.Y.T. (Pretty Young                                        Sony Music
845.                                                   SR0000041965
        Jackson    Thing)                                                     Entertainment
        Michael    The Way You Make Me                                         Sony Music
846.                                                   SR0000084256
        Jackson    Feel                                                       Entertainment
        Michael                                                                Sony Music
847.               Man in the Mirror                   SR0000084256
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
848.               Remember the Time                   SR0000178165
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
849.               Bad                                 SR0000084256
        Jackson                                                               Entertainment
        Michael    Wanna Be Startin'                                           Sony Music
850.                                                   SR0000041965
        Jackson    Somethin'                                                  Entertainment
        Michael                                                                Sony Music
851.               You Rock My World                   SR0000791010
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
852.               Chicago                             SR0000754292
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
853.               Black or White                      SR0000178165
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
854.               Human Nature                        SR0000041965
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
855.               Dirty Diana                         SR0000084256
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
856.               You Are Not Alone                   SR0000212660
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
857.               Off The Wall                        SR0000011120
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
858.               Heaven Can Wait                     SR0000304780
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
859.               They Don't Care About Us            SR0000212660
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
860.               The Lady In My Life                 SR0000041965
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
861.               The Girl Is Mine              SR0000041013/SR0000042782
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
862.               Butterflies                         SR0000304780
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
863.               Baby Be Mine                        SR0000041965
        Jackson                                                               Entertainment
        Michael                                                                Sony Music
864.               Heal the World                      SR0000178165
        Jackson                                                               Entertainment

                                              - 42 -
       Case 1:24-cv-04777-AKH          Document 9-1     Filed 06/25/24   Page 43 of 78




        Michael                                                                 Sony Music
865.               Earth Song                           SR0000212660
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
866.               I Can't Help It                      SR0000011120
        Jackson                                                                Entertainment
        Michael    I Just Can't Stop Loving                                     Sony Music
867.                                                    SR0000822650
        Jackson    You                                                         Entertainment
        Michael                                                                 Sony Music
868.               Workin' Day and Night                SR0000011120
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
869.               Leave Me Alone                       SR0000084255
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
870.               Will You Be There                    SR0000178165
        Jackson                                                                Entertainment
        Michael    Beat It (2008 with Fergie                                    Sony Music
871.                                                    SR0000613501
        Jackson    Remix)                                                      Entertainment
        Michael                                                                 Sony Music
872.               Dangerous                            SR0000178165
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
873.               Jam                                  SR0000178165
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
874.               Liberian Girl                        SR0000084256
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
875.               She's Out Of My Life                 SR0000011120
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
876.               In the Closet                        SR0000178165
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
877.               Another Part Of Me                   SR0000084256
        Jackson                                                                Entertainment
        Michael                                                                 Sony Music
878.               Love Never Felt So Good              SR0000754292
        Jackson                                                                Entertainment
         Yes/Jon                                                                Sony Music
879.               Cut from the Stars                   SR0000971730
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
880.               All Connected                        SR0000969885
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
881.               Luminosity                           SR0000971730
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
882.               Hold On to Love                      SR0000088222
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
883.               Mirror to the Sky                    SR0000971730
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
884.               Living Out Their Dream               SR0000971730
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
885.               Circles of Time                      SR0000971730
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
886.               Unknown Place                        SR0000971730
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
887.               One Second Is Enough                 SR0000971730
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
888.               Magic Potion                         SR0000971730
        Anderson                                                               Entertainment
         Yes/Jon                                                                Sony Music
889.               Is It Me                             SR0000088222
        Anderson                                                               Entertainment

                                               - 43 -
       Case 1:24-cv-04777-AKH            Document 9-1           Filed 06/25/24     Page 44 of 78




          Yes/Jon      Hurry Home (Song From                                             Sony Music
890.                                                           SR0000088222
         Anderson      The Pleiades)                                                    Entertainment
          Yes/Jon      Top Of The World (The                                             Sony Music
891.                                                           SR0000088222
         Anderson      Glass Bead Game)                                                 Entertainment
                       It’s the Most Wonderful           Pre-1972 Recording (Indexed     Sony Music
892.   Andy Williams
                       Time of the Year                            2019)                Entertainment
                                                                                         Sony Music
893.      Wham!        Last Christmas                          SR0000829451
                                                                                        Entertainment
                       All I Want for Christmas Is                                       Sony Music
894.   Mariah Carey                                            SR0000207178
                       You                                                              Entertainment
                                                                                       UMG Recordings,
895.      ABBA         Andante, Andante                        SR0000024153
                                                                                             Inc.
                                                                                       UMG Recordings,
896.      ABBA         Angel Eyes                              SR0000010318
                                                                                             Inc.
                                                                                       UMG Recordings,
897.      ABBA         Chiquitita                              SR0000010318
                                                                                             Inc.
                                                                                       UMG Recordings,
898.      ABBA         Dame! Dame! Dame!                       SR0000025354
                                                                                             Inc.
                                                                                       UMG Recordings,
899.      ABBA         Dancing Queen                           SR0000303039
                                                                                             Inc.
                                                                                       UMG Recordings,
900.      ABBA         Does Your Mother Know                   SR0000009415
                                                                                             Inc.
                                                                                       UMG Recordings,
901.      ABBA         Eagle                                   SR0000000071
                                                                                             Inc.
                                                                                       UMG Recordings,
902.      ABBA         Estoy Sonando                           SR0000025354
                                                                                             Inc.
                                                                                       UMG Recordings,
903.      ABBA         Fernando                                SR0000025354
                                                                                             Inc.
                       Gimme! Gimme! Gimme!                                            UMG Recordings,
904.      ABBA                                                 SR0000015044
                       (A Man After Midnight)                                                Inc.
                                                                                       UMG Recordings,
905.      ABBA         Happy New Year                          SR0000024153
                                                                                             Inc.
                                                                                       UMG Recordings,
906.      ABBA         Head Over Heels                         SR0000031826
                                                                                             Inc.
                                                              N00000016810 /           UMG Recordings,
907.      ABBA         Honey, Honey
                                                              RE0000867304                   Inc.
                       I Do, I Do, I Do, I Do, I                                       UMG Recordings,
908.      ABBA                                                 SR0000040286
                       Do                                                                    Inc.
                                                                                       UMG Recordings,
909.      ABBA         I Have A Dream                          SR0000010318
                                                                                             Inc.
                                                                                       UMG Recordings,
910.      ABBA         If It Wasn't For The Nights             SR0000010318
                                                                                             Inc.
                                                                                       UMG Recordings,
911.      ABBA         I've Been Waiting For You               SR0000303039
                                                                                             Inc.
                       Knowing Me, Knowing                                             UMG Recordings,
912.      ABBA                                           N000038737; SR0000814798
                       You                                                                   Inc.
                                                                                       UMG Recordings,
913.      ABBA         Lay All Your Love On Me                 SR0000024153
                                                                                             Inc.
                                                                                       UMG Recordings,
914.      ABBA         Mamma Mia                               N00000026084
                                                                                             Inc.

                                                     - 44 -
       Case 1:24-cv-04777-AKH            Document 9-1          Filed 06/25/24   Page 45 of 78




                                                                                     UMG Recordings,
915.      ABBA          Money, Money, Money             N000038737 / SR0000814798
                                                                                          Inc.
                                                                                     UMG Recordings,
916.      ABBA          My Love, My Life                N000038737 / SR0000814798
                                                                                          Inc.
                                                                                     UMG Recordings,
917.      ABBA          On And On And On                      SR0000024153
                                                                                          Inc.
                                                                                     UMG Recordings,
918.      ABBA          One Of Us                             SR0000031826
                                                                                          Inc.
                                                                                     UMG Recordings,
919.      ABBA          Our Last Summer                       SR0000024153
                                                                                          Inc.
                                                              SR0000040286 /         UMG Recordings,
920.      ABBA          Ring Ring
                                                              SR0000303049                Inc.
                                                                                     UMG Recordings,
921.      ABBA          S.O.S.                                N00000024436
                                                                                          Inc.
                        Slipping Through My                                          UMG Recordings,
922.      ABBA                                                SR0000031826
                        Fingers                                                           Inc.
                                                                                     UMG Recordings,
923.      ABBA          So Long                               SR0000040286
                                                                                          Inc.
                                                                                     UMG Recordings,
924.      ABBA          Summer Night City                     SR0000010318
                                                                                          Inc.
                                                                                     UMG Recordings,
925.      ABBA          Super Trouper                         SR0000024153
                                                                                          Inc.
                                                                                     UMG Recordings,
926.      ABBA          Take A Chance On Me                   SR0000000071
                                                                                          Inc.
                                                                                     UMG Recordings,
927.      ABBA          Thank You For The Music               SR0000000071
                                                                                          Inc.
                                                                                     UMG Recordings,
928.      ABBA          The Day Before You Came               SR0000039662
                                                                                          Inc.
                                                                                     UMG Recordings,
929.      ABBA          The Name Of The Game                  SR0000000071
                                                                                          Inc.
                                                                                     UMG Recordings,
930.      ABBA          The Winner Takes It All               SR0000054688
                                                                                          Inc.
                                                                                     UMG Recordings,
931.      ABBA          Voulez-Vous                           SR0000010318
                                                                                          Inc.
                                                              N00000016810 /         UMG Recordings,
932.      ABBA          Waterloo
                                                              RE0000867304                Inc.
                        When All Is Said And                                         UMG Recordings,
933.      ABBA                                                SR0000031826
                        Done                                                              Inc.
                        When I Kissed The                                            UMG Recordings,
934.      ABBA                                           N000038737/ SR0000814798
                        Teacher                                                           Inc.
                        Why Did It Have To Be                                        UMG Recordings,
935.      ABBA                                                N00000038737
                        Me?                                                               Inc.
                        Ain't Nobody's Business If      2020-07-01 - USMC14975147;   UMG Recordings,
936.   Billie Holiday
                        I Do                                 USWWW0123910                 Inc.
                                                                                     UMG Recordings,
937.   Billie Holiday   All Of You                       2020-07-01- USF095925500
                                                                                          Inc.
                                                        2020-07-01 -USPR35600073;
                                                                                     UMG Recordings,
938.   Billie Holiday   April In Paris                      USWWW0128671;
                                                                                          Inc.
                                                             USWWW0135044


                                                     - 45 -
       Case 1:24-cv-04777-AKH           Document 9-1         Filed 06/25/24    Page 46 of 78




                                                      2020-07-01 -USMC14448359;
                                                                                    UMG Recordings,
939.   Billie Holiday   As Time Goes By                    USWWW0140616;
                                                                                         Inc.
                                                           USWWW0202935
                                                        UMG filed 2020-07-01 -
                                                            USPR35200080;
                                                            USPR39400706;           UMG Recordings,
940.   Billie Holiday   Autumn In New York
                                                           USWWW0128658;                 Inc.
                                                           USWWW0136224;
                                                           USWWW0136225
                        Baby Won't You Please                                       UMG Recordings,
941.   Billie Holiday                                  2020-07-01- USF095925610
                        Come Home                                                        Inc.
                                                         UMG filed 6.29.2020 -
                                                            USPR35200069;           UMG Recordings,
942.   Billie Holiday   Blue Moon
                                                            USPR39400697;                Inc.
                                                            USPR39401306
                                                      2020-07-01 - USPR35700159;
                                                            USPR34600110;           UMG Recordings,
943.   Billie Holiday   Body And Soul
                                                           USWWW0128640;                 Inc.
                                                           USWWW0136364
                                                      2020-07-01 - USPR35500084;
                                                            USPR39401317;
                        Come Rain Or Come                  USWWW0128667;            UMG Recordings,
944.   Billie Holiday
                        Shine                              USWWW0135049;                 Inc.
                                                           USWWW0136361;
                                                           USWWW0136549
                                                      2020-07-01 - USMC14975422;
                                                                                    UMG Recordings,
945.   Billie Holiday   Crazy He Calls Me                  USWWW0123917;
                                                                                         Inc.
                                                           USWWW0140524
                        Do Nothin' Till You Hear                                    UMG Recordings,
946.   Billie Holiday                                  2020-07-01 - USPR35500087
                        From Me                                                          Inc.
                                                      2020-07-01 - USMC14773794;
                                                                                    UMG Recordings,
947.   Billie Holiday   Easy Living                        USWWW0123908;
                                                                                         Inc.
                                                            USWWW0140523
                                                       2020-07-01 - USF095225380;
                                                             USPR39401309;          UMG Recordings,
948.   Billie Holiday   Easy To Love
                                                           USWWW0136229;                 Inc.
                                                            USWWW0136557
                                                      2020-07-01 - USPR35600064;
                                                             USFO95800870;
                                                                                    UMG Recordings,
949.   Billie Holiday   God Bless The Child                USWWW0128669;
                                                                                         Inc.
                                                           USWWW0136330;
                                                            USWWW0142020
                                                      2020-07-01 - USMC14673300;
                                                            USUM70735918;           UMG Recordings,
950.   Billie Holiday   Good Morning Heartache
                                                           USWWW0136331;                 Inc.
                                                            USWWW0142023
                                                      2020-07-01 - USGR10110228;    UMG Recordings,
951.   Billie Holiday   I Only Have Eyes For You
                                                            USWWW0136231                 Inc.




                                                   - 46 -
       Case 1:24-cv-04777-AKH              Document 9-1      Filed 06/25/24   Page 47 of 78




                                                              2020-07-01 -
                                                                                   UMG Recordings,
952.   Billie Holiday   If The Moon Turns Green             USUMG0000725;
                                                                                        Inc.
                                                           USWWW0136222
                                                      2020-07-01 - USMC14448351;   UMG Recordings,
953.   Billie Holiday   I'll Be Seeing You
                                                           USWWW0140628                 Inc.
                                                      2020-07-01 - USMC14673498;   UMG Recordings,
954.   Billie Holiday   I'll Look Around
                                                           USWWW0140520                 Inc.
                                                      2020-07-01 - USPR35500125;   UMG Recordings,
955.   Billie Holiday   It Had To Be You
                                                           USWWW0136356                 Inc.
                                                      2020-07-01 - USPG19190088;
                                                             USF066025030;
                                                            USPR35500083;
                        I've Got My Love To Keep            USPR39401312;          UMG Recordings,
956.   Billie Holiday
                        Me Warm                             USUMG0000666;               Inc.
                                                           USWWW0135045;
                                                           USWWW0136334;
                                                           USWWW0136560
                                                      2020-07-01 - USPR35600083;
                                                            USPR39400332;          UMG Recordings,
957.   Billie Holiday   Lady Sings The Blues
                                                            USUM70758199;               Inc.
                                                           USWWW0136328
                                                                                    (P) 1957 UMG
958.   Billie Holiday   Love Is Here To Stay          2020-07-01 - USPR35700087
                                                                                    Recordings, Inc.
                                                      2020-07-01 - USPR35400038;   UMG Recordings,
959.   Billie Holiday   Love Me Or Leave Me
                                                             USF095425080                 Inc.
                                                      2020-07-01 - USMC14450716;
                                                             USF097325120;
                                                            USMC14472404;          UMG Recordings,
960.   Billie Holiday   Lover Man
                                                           USWWW0123916;                Inc.
                                                           USWWW0128664;
                                                           USWWW0140530
                                                      2020-07-01 - USGR10201147;
                                                                                   UMG Recordings,
961.   Billie Holiday   Lover, Come Back To Me              USPR35200017;
                                                                                        Inc.
                                                           USWWW0136346
                                                              2020-07-01 -
                                                            USUMG9900551;          UMG Recordings,
962.   Billie Holiday   Moonglow
                                                            USGR10200813;               Inc.
                                                           USWWW0136220
                                                      2020-07-01 - USPR35200016;   UMG Recordings,
963.   Billie Holiday   My Man
                                                           USWWW0128641                 Inc.
                                                      2020-07-01 - USMC14401472;
                        On The Sunny Side Of The                                   UMG Recordings,
964.   Billie Holiday                                       USMC14448370;
                        Street                                                          Inc.
                                                           USWWW0140620
                                                      2020-07-01 - USPR35700090;
                                                             USF095700040;
                        One For My Baby (And                                       UMG Recordings,
965.   Billie Holiday                                       USPR39401330;
                        One More For The Road)                                          Inc.
                                                           USWWW0128662;
                                                           USWWW0136578




                                                   - 47 -
       Case 1:24-cv-04777-AKH             Document 9-1       Filed 06/25/24   Page 48 of 78




                                                      2020-07-01 - USPR35400039;
                                                             USF095425110;
                                                                                   UMG Recordings,
966.   Billie Holiday   P.S. I Love You                     USGR10110859;
                                                                                        Inc.
                                                            USPR39401321;
                                                           USWWW0136553
                                                      2020-07-01 - USMC14874652;
                                                                                   UMG Recordings,
967.   Billie Holiday   Porgy                               USUMG9900653;
                                                                                        Inc.
                                                           USWWW0123914
                                                         UMG filed 6.29.2020 -
                                                                                   UMG Recordings,
968.   Billie Holiday   Solitude                            USPR35200072;
                                                                                        Inc.
                                                             USPR39401332
                                                      2020-07-01 - USPR35600068;   UMG Recordings,
969.   Billie Holiday   Speak Low
                                                           USWWW0135043                 Inc.
                                                      2020-07-01 - USPR35200018;
                                                             USF095225080;
                                                                                   UMG Recordings,
970.   Billie Holiday   Stormy Weather                      USPR39401329;
                                                                                        Inc.
                                                           USWWW0128642;
                                                           USWWW0136577
                                                      2020-07-01 - USPR35602457;
                                                             USF095800880;
                                                            USPR35689316;          UMG Recordings,
971.   Billie Holiday   Strange Fruit
                                                           USWWW0128651;                Inc.
                                                           USWWW0136329;
                                                           USWWW0142021
                                                      2020-07-01 - USPR35200139;
                                                                                   UMG Recordings,
972.   Billie Holiday   Tenderly                           USWWW0128657;
                                                                                        Inc.
                                                           USWWW0136221
                        That Ole Devil Called         2020-07-01 - USMC14472497;   UMG Recordings,
973.   Billie Holiday
                        Love                               USWWW0123918                 Inc.
                                                      2020-07-01 - USMC14975204;   UMG Recordings,
974.   Billie Holiday   Them There Eyes
                                                           USWWW0123922                 Inc.
                                                      2020-07-01 - USMC14773793;
                                                                                   UMG Recordings,
975.   Billie Holiday   There Is No Greater Love           USWWW0123909;
                                                                                        Inc.
                                                           USWWW0140532
                                                      2020-07-01 - USPR35200096;
                        These Foolish Things               USWWW0128656;           UMG Recordings,
976.   Billie Holiday
                        (Remind Me Of You)                 USWWW0136230;                Inc.
                                                           USWWW0136353
                                                      2020-07-01 - USPR35400040;
                                                             USF095425090;
                                                                                   UMG Recordings,
977.   Billie Holiday   Too Marvelous For Words             USPR39401315;
                                                                                        Inc.
                                                           USWWW0128647;
                                                           USWWW0136547
                                                      2020-07-01 - USPR35400043;   UMG Recordings,
978.   Billie Holiday   Willow Weep For Me
                                                             USPR39400704               Inc.




                                                   - 48 -
       Case 1:24-cv-04777-AKH              Document 9-1       Filed 06/25/24        Page 49 of 78




                                                       2020-07-01 - USPR35200019;
                                                             USPR39400700;
                                                             USPR39401308;              UMG Recordings,
979.   Billie Holiday   Yesterdays
                                                            USWWW0128643;                    Inc.
                                                            USWWW0136556;
                                                            USWWW0140621
                                                       2020-07-01 - USMC14573008;       UMG Recordings,
980.   Billie Holiday   You Better Go Now
                                                            USWWW0123911                     Inc.
                                                       2020-07-01 - USPR35200097;
                                                                                        UMG Recordings,
981.   Billie Holiday   You Go To My Head                   USWWW0136227;
                                                                                             Inc.
                                                            USWWW0136365
                                                       2020-07-01 - USPR35200098;
                        You Turned The Tables On                                        UMG Recordings,
982.   Billie Holiday                                       USWWW0136228;
                        Me                                                                   Inc.
                                                            USWWW0136358
                                                       2020-07-01 - USMC14975421;       UMG Recordings,
983.   Billie Holiday   You're My Thrill
                                                            USWWW0123921                     Inc.
                                                                                        UMG Recordings,
984.   Bobby Helms      Jingle Bell Rock                 Pre-1972 Sound Recording
                                                                                             Inc.
       Bobby Taylor,    You've Really Got A Hold                                        UMG Recordings,
985.                                                   2020-01-21 - USUM71915096
        Jackson 5       On Me                                                                Inc.
                                                           UMG filed 6.9.2021 -
                        Rockin' Around The                                              UMG Recordings,
986.    Brenda Lee                                           USMC15805877;
                        Christmas Tree                                                       Inc.
                                                             USMC15848998
                                                          UMG filed 6.15.2021 -         UMG Recordings,
987.     Edith Piaf     Amour Du Mois De Mai
                                                             FRUM71202494                    Inc.
                                                         UMG filed 6.15.2021 - no       UMG Recordings,
988.     Edith Piaf     Le Geste
                                                                   ISRC                      Inc.
                                                         UMG filed 6.15.2021 - no       UMG Recordings,
989.     Edith Piaf     Les Cloches Sonnet
                                                                   ISRC                      Inc.
                                                         UMG filed 6.15.2021 - no       UMG Recordings,
990.     Edith Piaf     Monsieur Ernest A Refussi
                                                                   ISRC                      Inc.
                                                         UMG filed 6.15.2021 - no       UMG Recordings,
991.     Edith Piaf     Monsieur X
                                                                   ISRC                      Inc.
                                                         UMG filed 6.15.2021 - no       UMG Recordings,
992.     Edith Piaf     Si Tu Partais
                                                                   ISRC                      Inc.
                                                         UMG filed 6.15.2021 - no       UMG Recordings,
993.     Edith Piaf     Sophie
                                                                   ISRC                      Inc.
                        Une Chanson A Trois              UMG filed 6.15.2021 - no       UMG Recordings,
994.     Edith Piaf
                        Temps                                      ISRC                      Inc.
                                                       2020-03-26 - USRH10800921;
                                                             USRE16400005;              UMG Recordings,
995.   Frank Sinatra    Fly Me To The Moon
                                                             USRH10723029;                   Inc.
                                                             USRH11102494
                        Fly Me To The Moon (In                                          UMG Recordings,
996.   Frank Sinatra                                   2020-03-26 - USRH10800836
                        Other Words)                                                         Inc.
                                                                                        UMG Recordings,
997.   Frank Sinatra    I Only Have Eyes For You       2020-03-26 - USRE10102132
                                                                                             Inc.




                                                    - 49 -
        Case 1:24-cv-04777-AKH             Document 9-1        Filed 06/25/24      Page 50 of 78




                                                      2020-03-26- USRH10800876;
                                                            USRE19800109;              UMG Recordings,
998.    Frank Sinatra   It Was A Very Good Year
                                                            USRH10723035;                   Inc.
                                                            USRE16500005
                        I've Got My Love To Keep                                       UMG Recordings,
999.    Frank Sinatra                                  2020-03-26- USRH10800703
                        Me Warm                                                             Inc.
                                                      2020-03-26- USRH10800884;
                                                            USRE16300008;              UMG Recordings,
1000.   Frank Sinatra   Luck Be A Lady
                                                            USRH10800868;                   Inc.
                                                            USRH10723025
                                                      2020-03-26- USRH10723034;
                                                            USRE16400006;              UMG Recordings,
1001.   Frank Sinatra   My Kind Of Town
                                                            USRH10800863;                   Inc.
                                                            USRH11102498
                                                      2020-03-26- USRH10902101;
                                                            USRE16800008;
                                                                                       UMG Recordings,
1002.   Frank Sinatra   My Way                              USC4R0919135;
                                                                                            Inc.
                                                            USRH10723041;
                                                            USRH10801034
                                                                                       UMG Recordings,
1003.   Frank Sinatra   My Way Of Life                 2020-03-26- USRH10801027
                                                                                            Inc.
                                                      2020-03-26- USRH10800988;
                                                                                       UMG Recordings,
1004.   Frank Sinatra   Somethin' Stupid                    USRE16700004;
                                                                                            Inc.
                                                            USRE10100654
                                                      2020-03-26- USRH10800935;
                                                            USRE16600003;
                                                                                       UMG Recordings,
1005.   Frank Sinatra   Strangers In The Night              USRE19900436;
                                                                                            Inc.
                                                            USRH10723031;
                                                            USRH11102496
                                                      2020-03-26- USRH10800936;
                                                            USRE16600001;              UMG Recordings,
1006.   Frank Sinatra   Summer Wind
                                                            USRH10723030;                   Inc.
                                                            USRH11102495
                                                                                       UMG Recordings,
1007.   Frank Sinatra   That's Life                    2020-03-26- USRH10723036
                                                                                            Inc.
                                                                                       UMG Recordings,
1008.   Frank Sinatra   The Best Is Yet To Come        2020-03-26- USRH10723023
                                                                                            Inc.
                                                                                       UMG Recordings,
1009.   Frank Sinatra   The Girl From Ipanema          2020-03-26- USRH10723028
                                                                                            Inc.
                        The Way You Look                                               UMG Recordings,
1010.   Frank Sinatra                                  2020-03-26- USRH10723024
                        Tonight                                                             Inc.
                        The World We Knew                                              UMG Recordings,
1011.   Frank Sinatra                                  2020-03-26- USRH10800987
                        (Over And Over)                                                     Inc.
                                                                                       UMG Recordings,
1012.   Frank Sinatra   We Wish You The Merriest       2020-03-26 -USRE16400042
                                                                                            Inc.
                                                                                       UMG Recordings,
1013.    Jackson 5      2-4-6-8                       2019-08-26 - USMO17000385
                                                                                            Inc.
                                                            UMG filed 6.7.2019 -       UMG Recordings,
1014.    Jackson 5      ABC
                                                             USUM71014736                   Inc.


                                                   - 50 -
        Case 1:24-cv-04777-AKH           Document 9-1         Filed 06/25/24       Page 51 of 78




                                                            RE0000888494 /             UMG Recordings,
1015.    Jackson 5   All I Do Is Think Of You
                                                            N00000024035                    Inc.
                                                                                       UMG Recordings,
1016.    Jackson 5   Can You Remember              2019-08-26 - USMO16982627
                                                                                            Inc.
                     Christmas Won't Be The                                            UMG Recordings,
1017.    Jackson 5                                 2019-08-26 - USMO17082640
                     Same This Year                                                         Inc.
                                                            RE0000867366 /             UMG Recordings,
1018.    Jackson 5   Dancing Machine
                                                            N00000018206                    Inc.
                                                                                       UMG Recordings,
1019.    Jackson 5   Darling Dear                  2019-08-26 - USMO19883516
                                                                                            Inc.
                                                            RE0000852796 /             UMG Recordings,
1020.    Jackson 5   Doctor My Eyes
                                                            N00000003430                    Inc.
                     Don't Know Why I Love                                             UMG Recordings,
1021.    Jackson 5                                 2019-08-26 - USMO17084722
                     You                                                                    Inc.
                                                                                       UMG Recordings,
1022.    Jackson 5   Feelin' Alright               2019-08-26 - USUM70835399
                                                                                            Inc.
                                                            RE0000888494 /             UMG Recordings,
1023.    Jackson 5   Forever Came Today
                                                            N00000024035                    Inc.
                                                                                       UMG Recordings,
1024.    Jackson 5   Frosty The Snowman            2019-08-26 - USMO17082671
                                                                                            Inc.
                                                            RE0000860655 /             UMG Recordings,
1025.    Jackson 5   Get It Together
                                                            N00000011863                    Inc.
                     Give Love On Christmas                                            UMG Recordings,
1026.    Jackson 5                                 2019-08-26 - USUMG9900303
                     Day                                                                    Inc.
                                                                                       UMG Recordings,
1027.    Jackson 5   Goin' Back To Indiana         2019-08-26 - USMO17000469
                                                                                            Inc.
                     Have Yourself A Merry                                             UMG Recordings,
1028.    Jackson 5                                 2019-08-26 - USMO17082673
                     Little Christmas                                                       Inc.
                                                            RE0000873562 /             UMG Recordings,
1029.    Jackson 5   I Am Love
                                                            N00000020776                    Inc.
                                                                                       UMG Recordings,
1030.    Jackson 5   I Found That Girl             2019-08-26 - USMO17082630
                                                                                            Inc.
                     I Saw Mommy Kissing                  UMG filed 6.7.2019 -         UMG Recordings,
1031.    Jackson 5
                     Santa Claus                           USMO17082669                     Inc.
                     I Want To Take You                                                UMG Recordings,
1032.    Jackson 5                                 2019-08-26 - USMO10110797
                     Higher                                                                 Inc.
                                                         UMG filed on 6.7.2019 -
                                                                                       UMG Recordings,
1033.    Jackson 5   I Want You Back                       USMO19400306;
                                                                                            Inc.
                                                           USMO19400306
                                                                                       UMG Recordings,
1034.    Jackson 5   It's Great To Be Here         2019-08-26 - USMO10000929
                                                                                            Inc.
                     It's Too Late To Change                RE0000867013 /             UMG Recordings,
1035.    Jackson 5
                     The Time                               N00000013244                    Inc.
                                                                                       UMG Recordings,
1036.    Jackson 5   It's Your Thing               2019-08-26- USUM71014739
                                                                                            Inc.
                                                                                       UMG Recordings,
1037.    Jackson 5   La-La Means I Love You        2019-08-26 - USMO17082631
                                                                                            Inc.
                                                            RE0000852122 /             UMG Recordings,
1038.    Jackson 5   Little Bitty Pretty One
                                                            N00000000214                    Inc.


                                                - 51 -
        Case 1:24-cv-04777-AKH           Document 9-1             Filed 06/25/24       Page 52 of 78




                                                                                           UMG Recordings,
1039.     Jackson 5     Little Drummer Boy             2019-08-26 -USMO17084750
                                                                                                Inc.
                        Lookin' Through The                     RE0000852701 /             UMG Recordings,
1040.     Jackson 5
                        Windows                                 N00000002082                    Inc.
                                                                                           UMG Recordings,
1041.     Jackson 5     Mama's Pearl                   2019-08-26 - USMO17082638
                                                                                                Inc.
                                                                                           UMG Recordings,
1042.     Jackson 5     Maybe Tomorrow                 2019-08-26 - USMO17100002
                                                                                                Inc.
                        Medley: Walk On-The                                                UMG Recordings,
1043.     Jackson 5                                    2019-08-26 - USMO10110799
                        Love You Save                                                           Inc.
                                                                                           UMG Recordings,
1044.     Jackson 5     Never Can Say Goodbye          2019-08-26 - USMO17182631
                                                                                                Inc.
                                                                                           UMG Recordings,
1045.     Jackson 5     One More Chance                2019-08-26 - USMO17000467
                                                                                                Inc.
                        Ready Or Not (Here I                                               UMG Recordings,
1046.     Jackson 5                                    2019-08-26 - USMO19883517
                        Come)                                                                   Inc.
                        Rudolph The Red-Nosed                                              UMG Recordings,
1047.     Jackson 5                                    2019-08-26 - USMO10110030
                        Reindeer                                                                Inc.
                                                             UMG filed on 6.7.2019 -
                        Santa Claus Is Coming to                                           UMG Recordings,
1048.     Jackson 5                                            USMO17082656;
                        Town                                                                    Inc.
                                                                USMO17082641
                                                              UMG filed 8.26.2019 -        UMG Recordings,
1049.     Jackson 5     Someday At Christmas
                                                                USMO10000863                    Inc.
                                                                                           UMG Recordings,
1050.     Jackson 5     Stand                          2019-08-26 - USMO16982626
                                                                                                Inc.
                                                                                           UMG Recordings,
1051.     Jackson 5     Sugar Daddy                    2019-08-26 - USMO17100472
                                                                                                Inc.
                                                                N00000006010 /             UMG Recordings,
1052.     Jackson 5     The Boogie Man
                                                                RE0000860512                    Inc.
                                                                                           UMG Recordings,
1053.     Jackson 5     The Christmas Song             2019-08-26 - USMO10110185
                                                                                                Inc.
                                                               RE0000867366 /              UMG Recordings,
1054.     Jackson 5     The Life Of The Party
                                                               N00000018206                     Inc.
                                                             UMG filed 2019-08-26 -        UMG Recordings,
1055.     Jackson 5     The Love You Save
                                                               USMO17082629                     Inc.
                                                                                           UMG Recordings,
1056.     Jackson 5     Up On The Housetop             2019-08-26 - USMO10000864
                                                                                                Inc.
                                                              UMG filed 6.7.2019 -         UMG Recordings,
1057.     Jackson 5     Who's Loving You
                                                               USMO16982624                     Inc.
                                                                                           UMG Recordings,
1058.   John Lennon     (Just Like) Starting Over                SR0000021986
                                                                                                Inc.
                        (I Don't Have) Anymore                                             UMG Recordings,
1059.   Merle Haggard                                            SR0000022659
                        Love Songs                                                              Inc.
                        Back To The Barrooms                                               UMG Recordings,
1060.   Merle Haggard                                            SR0000022614
                        Again                                                                   Inc.
                                                                                           UMG Recordings,
1061.   Merle Haggard   Footlights                               SR0000009350
                                                                                                Inc.
                                                                                           UMG Recordings,
1062.   Merle Haggard   He Walks With Me                         SR0000032465
                                                                                                Inc.


                                                    - 52 -
        Case 1:24-cv-04777-AKH            Document 9-1          Filed 06/25/24   Page 53 of 78




                        Heaven Was A Drink Of                                        UMG Recordings,
1063.   Merle Haggard                                          SR0000011242
                        Wine                                                              Inc.
                        I Don't Want To Sober Up                                     UMG Recordings,
1064.   Merle Haggard                                          SR0000022659
                        Tonight                                                           Inc.
                        I Think I'll Just Stay Here                                  UMG Recordings,
1065.   Merle Haggard                                          SR0000022614
                        & Drink                                                           Inc.
                        If We're Not Back In Love                                    UMG Recordings,
1066.   Merle Haggard                                          RE0000925979
                        By Monday                                                         Inc.
                        It's Been A Great                                            UMG Recordings,
1067.   Merle Haggard                                          SR0000001691
                        Afternoon                                                         Inc.
                        Make-Up And Faded Blue                                       UMG Recordings,
1068.   Merle Haggard                                          SR0000022659
                        Jeans                                                             Inc.
                                                                                     UMG Recordings,
1069.   Merle Haggard   Misery And Gin                         SR0000023000
                                                                                          Inc.
                                                                                     UMG Recordings,
1070.   Merle Haggard   One Day At A Time                      SR0000032465
                                                                                          Inc.
                                                                                     UMG Recordings,
1071.   Merle Haggard   Rainbow Stew                           SR0000029893
                                                                                          Inc.
                                                                                     UMG Recordings,
1072.   Merle Haggard   Ramblin' Fever                         RE0000925979
                                                                                          Inc.
                                                                                     UMG Recordings,
1073.   Merle Haggard   Red Bandana                            SR0000008772
                                                                                          Inc.
                                                                                     UMG Recordings,
1074.   Merle Haggard   The Way I Am                           SR0000017581
                                                                                          Inc.
                                                                                     UMG Recordings,
1075.   Merle Haggard   Why Me                                 SR0000032465
                                                                                          Inc.
          Michael                                                                    UMG Recordings,
1076.                   All I Do                        N00000024035/RE0000888494
          Jackson                                                                         Inc.
          Michael                                                                    UMG Recordings,
1077.                   All The Things You Are          N00000006013/RE0000860514
          Jackson                                                                         Inc.
          Michael                                              N00000003352 /        UMG Recordings,
1078.                   Ben
          Jackson                                              RE0000852781               Inc.
          Michael                                                                    UMG Recordings,
1079.                   Call On Me                             SR0000053830
          Jackson                                                                         Inc.
          Michael                                               N00000021482         UMG Recordings,
1080.                   Cinderella Stay Awhile
          Jackson                                              /RE0000887697              Inc.
          Michael                                               N00000021482         UMG Recordings,
1081.                   Dapper Dan
          Jackson                                              /RE0000887697              Inc.
          Michael                                               N00000021482         UMG Recordings,
1082.                   Dear Michael
          Jackson                                              /RE0000887697              Inc.
          Michael                                                                    UMG Recordings,
1083.                   Doggin' Around                  N00000006013/RE0000860514
          Jackson                                                                         Inc.
          Michael                                                                    UMG Recordings,
1084.                   Don't Let It Get You Down              SR0000053830
          Jackson                                                                         Inc.
          Michael                                                                    UMG Recordings,
1085.                   Euphoria                        N00000006013/RE0000860514
          Jackson                                                                         Inc.
          Michael       Everybody's Somebody's                                       UMG Recordings,
1086.                                                   N00000003352/RE0000852781
          Jackson       Fool                                                              Inc.
          Michael       Farewell My Summer                                           UMG Recordings,
1087.                                                          SR0000053830
          Jackson       Love                                                              Inc.

                                                      - 53 -
        Case 1:24-cv-04777-AKH        Document 9-1         Filed 06/25/24      Page 54 of 78




         Michael                                                                   UMG Recordings,
1088.               Girl You're So Together                SR0000053830
         Jackson                                                                        Inc.
         Michael                                                                   UMG Recordings,
1089.               Greatest Show On Earth       N00000003352/RE0000852781
         Jackson                                                                        Inc.
         Michael    Happy (Love Theme From                                         UMG Recordings,
1090.                                            N00000006013/RE0000860514
         Jackson    "Lady Sings The Blues")                                             Inc.
         Michael    I Wanna Be Where You                                           UMG Recordings,
1091.                                             SR0000656071/SR0000656084
         Jackson    Are                                                                 Inc.
         Michael                                        UMG filed 8/26/2019-       UMG Recordings,
1092.               I Want You Back
         Jackson                                         USMO10400510                   Inc.
         Michael                                           N00000021482            UMG Recordings,
1093.               I'll Come Home To You
         Jackson                                          /RE0000887697                 Inc.
         Michael                                                                   UMG Recordings,
1094.               In Our Small Way             N00000003352/RE0000852781
         Jackson                                                                        Inc.
         Michael                                           N00000021482            UMG Recordings,
1095.               Just A Little Bit Of You
         Jackson                                          /RE0000887697                 Inc.
         Michael                                                                   UMG Recordings,
1096.               Melodie                                SR0000053830
         Jackson                                                                        Inc.
         Michael                                                                   UMG Recordings,
1097.               Morning Glow                 N00000006013/RE0000860514
         Jackson                                                                        Inc.
         Michael                                                                   UMG Recordings,
1098.               Music And Me                 N00000006013/RE0000860514
         Jackson                                                                        Inc.
         Michael                                                                   UMG Recordings,
1099.               My Girl                      N00000003352/RE0000852781
         Jackson                                                                        Inc.
         Michael                                           N00000021482            UMG Recordings,
1100.               One Day In Your Life
         Jackson                                          /RE0000887697                 Inc.
         Michael    People Make The World                                          UMG Recordings,
1101.                                            N00000003352/RE0000852781
         Jackson    Go 'Round                                                           Inc.
         Michael    Shoo-Be-Doo-Be-Doo-Da-                                         UMG Recordings,
1102.                                            N00000003352/RE0000852781
         Jackson    Day                                                                 Inc.
         Michael                                           N00000021482            UMG Recordings,
1103.               Take Me Back
         Jackson                                          /RE0000887697                 Inc.
         Michael                                                                   UMG Recordings,
1104.               Too Young                    N00000006013/RE0000860514
         Jackson                                                                        Inc.
         Michael                                                                   UMG Recordings,
1105.               Up Again                     N00000006013/RE0000860514
         Jackson                                                                        Inc.
         Michael                                           N00000021482            UMG Recordings,
1106.               We're Almost There
         Jackson                                          /RE0000887697                 Inc.
         Michael    We've Got A Good Thing                                         UMG Recordings,
1107.                                            N00000003352/RE0000852781
         Jackson    Going                                                               Inc.
         Michael                                           N00000021482            UMG Recordings,
1108.               We've Got Forever
         Jackson                                          /RE0000887697                 Inc.
         Michael    What Goes Around Comes                                         UMG Recordings,
1109.                                            N00000003352/RE0000852781
         Jackson    Around                                                              Inc.
         Michael                                                                   UMG Recordings,
1110.               With A Child's Heart         N00000006013/RE0000860514
         Jackson                                                                        Inc.
         Michael                                           N00000021482            UMG Recordings,
1111.               You Are There
         Jackson                                          /RE0000887697                 Inc.
         Michael    You Can Cry On My                                              UMG Recordings,
1112.                                            N00000005102/RE0000872441
         Jackson    Shoulder                                                            Inc.

                                               - 54 -
        Case 1:24-cv-04777-AKH        Document 9-1       Filed 06/25/24   Page 55 of 78




         Michael                                                              UMG Recordings,
1113.               You Can't Win                        SR0000006924
         Jackson                                                                   Inc.
                                                                              UMG Recordings,
1114.    Nirvana    About a Girl - Live                  SR0000178690
                                                                                   Inc.
                                                                              UMG Recordings,
1115.    Nirvana    Aero Zeppelin                        SR0000148333
                                                                                   Inc.
                                                                              UMG Recordings,
1116.    Nirvana    All Apologies                        SR0000172276
                                                                                   Inc.
                                                                              UMG Recordings,
1117.    Nirvana    Aneurysm                             SR0000134601
                                                                                   Inc.
                                                                              UMG Recordings,
1118.    Nirvana    Been A Son                           SR0000146536
                                                                                   Inc.
                                                                              UMG Recordings,
1119.    Nirvana    Beeswax                              SR0000148333
                                                                                   Inc.
                                                                              UMG Recordings,
1120.    Nirvana    Breed                                SR0000135335
                                                                                   Inc.
                                                                              UMG Recordings,
1121.    Nirvana    Come As You Are                      SR0000135335
                                                                                   Inc.
                                                                              UMG Recordings,
1122.    Nirvana    Curmudgeon                           SR0000146536
                                                                                   Inc.
                                                                              UMG Recordings,
1123.    Nirvana    Drain You                            SR0000135335
                                                                                   Inc.
                                                                              UMG Recordings,
1124.    Nirvana    Dumb                                 SR0000172276
                                                                                   Inc.
                                                                              UMG Recordings,
1125.    Nirvana    Even In His Youth                    SR0000134601
                                                                                   Inc.
                    Frances Farmer Will Have                                  UMG Recordings,
1126.    Nirvana                                         SR0000172276
                    Her Revenge on Seattle                                         Inc.
                    Gallons of Rubbing
                                                                              UMG Recordings,
1127.    Nirvana    Alcohol Flow Through the             SR0000753443
                                                                                   Inc.
                    Strip
                                                                              UMG Recordings,
1128.    Nirvana    Hairspray Queen                      SR0000148333
                                                                                   Inc.
                                                                              UMG Recordings,
1129.    Nirvana    Heart-Shaped Box                     SR0000172276
                                                                                   Inc.
                    I Hate Myself and Want to                                 UMG Recordings,
1130.    Nirvana                                         SR0000189597
                    Die                                                            Inc.
                                                                              UMG Recordings,
1131.    Nirvana    In Bloom                             SR0000135335
                                                                                   Inc.
                    Jesus Doesn't Want Me For                                 UMG Recordings,
1132.    Nirvana                                         SR0000178690
                    a Sunbeam - Live                                               Inc.
                                                                              UMG Recordings,
1133.    Nirvana    Lake of Fire                         SR0000178690
                                                                                   Inc.
                                                                              UMG Recordings,
1134.    Nirvana    Lithium                              SR0000135335
                                                                                   Inc.
                                                                              UMG Recordings,
1135.    Nirvana    Lounge Act                           SR0000135335
                                                                                   Inc.
                                                                              UMG Recordings,
1136.    Nirvana    Marigold                             SR0000753444
                                                                                   Inc.


                                                - 55 -
        Case 1:24-cv-04777-AKH          Document 9-1          Filed 06/25/24      Page 56 of 78




                                                                                      UMG Recordings,
1137.    Nirvana      Mexican Seafood                        SR0000148333
                                                                                           Inc.
                                                                                      UMG Recordings,
1138.    Nirvana      Milk It                                SR0000172276
                                                                                           Inc.
                                                                                      UMG Recordings,
1139.    Nirvana      Oh Me                                  SR0000178690
                                                                                           Inc.
                                                                                      UMG Recordings,
1140.    Nirvana      On a Plain                             SR0000135335
                                                                                           Inc.
                                                                                      UMG Recordings,
1141.    Nirvana      Pennyroyal Tea                         SR0000172276
                                                                                           Inc.
                                                                                      UMG Recordings,
1142.    Nirvana      Plateau                                SR0000178690
                                                                                           Inc.
                                                                                      UMG Recordings,
1143.    Nirvana      Polly                                  SR0000135335
                                                                                           Inc.
                      Radio Friendly Unit                                             UMG Recordings,
1144.    Nirvana                                             SR0000172276
                      Shifter                                                              Inc.
                                                                                      UMG Recordings,
1145.    Nirvana      Rape Me                                SR0000172276
                                                                                           Inc.
                                                                                      UMG Recordings,
1146.    Nirvana      Sappy                                  SR0000685523
                                                                                           Inc.
                                                                                      UMG Recordings,
1147.    Nirvana      Scentless Apprentice                   SR0000172276
                                                                                           Inc.
                                                                                      UMG Recordings,
1148.    Nirvana      Serve the Servants                     SR0000172276
                                                                                           Inc.
                                                                                      UMG Recordings,
1149.    Nirvana      Smells Like Teen Spirit                SR0000134601
                                                                                           Inc.
                                                                                      UMG Recordings,
1150.    Nirvana      Something In The Way                   SR0000135335
                                                                                           Inc.
                                                                                      UMG Recordings,
1151.    Nirvana      Stay Away                              SR0000135335
                                                                                           Inc.
                                                                                      UMG Recordings,
1152.    Nirvana      Territorial Pissings                   SR0000135335
                                                                                           Inc.
                      The Man Who Sold The                                            UMG Recordings,
1153.    Nirvana                                             SR0000178690
                      World                                                                Inc.
                                                                                      UMG Recordings,
1154.    Nirvana      Tourette's                             SR0000172276
                                                                                           Inc.
                                                                                      UMG Recordings,
1155.    Nirvana      Verse Chorus Verse                     SR0000685523
                                                                                           Inc.
                                                                                      UMG Recordings,
1156.    Nirvana      Very Ape                               SR0000172276
                                                                                           Inc.
                      Where Did You Sleep Last                                        UMG Recordings,
1157.    Nirvana                                             SR0000178690
                      Night - Live                                                         Inc.
                                                                                      UMG Recordings,
1158.    Nirvana      You Know You're Right                  SR0000320325
                                                                                           Inc.
                      Ain't No Wheels In This             UMG filed 10/5/2021-        UMG Recordings,
1159.   Patsy Cline
                      Ship                                  USUM71302718                   Inc.
                                                          UMG filed 10/5/2021-        UMG Recordings,
1160.   Patsy Cline   Always
                                                            USMC16348919                   Inc.
                                                          UMG filed 10/5/2021 -       UMG Recordings,
1161.   Patsy Cline   Anytime
                                                            USMC16249074                   Inc.

                                                 - 56 -
        Case 1:24-cv-04777-AKH           Document 9-1              Filed 06/25/24      Page 57 of 78




                                                               UMG filed 10/5/2021 -       UMG Recordings,
1162.   Patsy Cline   Back In Baby's Arms
                                                                 USMC16247475                   Inc.
                      Bill Bailey, Won't You                   UMG filed 10/5/2021-        UMG Recordings,
1163.   Patsy Cline
                      Please Come Home                           USMC16348921                   Inc.
                                                               UMG filed 10/5/2021 -       UMG Recordings,
1164.   Patsy Cline   Blue Moon Of Kentucky
                                                                 USMC16313134                   Inc.
                                                               UMG filed 8.27.2021 -       UMG Recordings,
1165.   Patsy Cline   Crazy
                                                                 USMC16747347                   Inc.
                                                               UMG filed 10/5/2021 -       UMG Recordings,
1166.   Patsy Cline   Crazy Arms
                                                                 USMC16348922                   Inc.
                      Does Your Heart Beat For                 UMG filed 10/5/2021 -       UMG Recordings,
1167.   Patsy Cline
                      Me                                         USMC16348920                   Inc.
                      Don't Ever Leave Me                      UMG filed 3/14/2019-        UMG Recordings,
1168.   Patsy Cline
                      Again                                      USUM70815234                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1169.   Patsy Cline   Faded Love
                                                                 USMC16348704                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1170.   Patsy Cline   Foolin' 'Round
                                                                 USMC16149075                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1171.   Patsy Cline   Half As Much
                                                                 USMC16248674                   Inc.
                      Have You Ever Been
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1172.   Patsy Cline   Lonely (Have You Ever
                                                                 USMC16111052                   Inc.
                      Been Blue)
                                                               UMG filed 7/12/2022 -       UMG Recordings,
1173.   Patsy Cline   He Called Me Baby
                                                                 USMC16348708                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1174.   Patsy Cline   Heartaches
                                                                 USMC16247473                   Inc.
                      I Can't Help It (If I'm Still            UMG filed 3/14/2019 -       UMG Recordings,
1175.   Patsy Cline
                      In Love With You)                          USMC16249076                   Inc.
                                                               UMG filed 8.27.2021 -       UMG Recordings,
1176.   Patsy Cline   I Fall To Pieces
                                                                 USMC16048707                   Inc.
                      I Love You So Much It                    UMG filed 3/14/2019 -       UMG Recordings,
1177.   Patsy Cline
                      Hurts                                      USMC16148709                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1178.   Patsy Cline   I'll Sail My Ship Alone
                                                                 USMC10110843                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1179.   Patsy Cline   Imagine That
                                                                 USMC16211891                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1180.   Patsy Cline   Leavin' On Your Mind
                                                                 USMC16212598                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1181.   Patsy Cline   Lonely Street
                                                                 USMC16249077                   Inc.
                                                               UMG filed 7/8/2021 -        UMG Recordings,
1182.   Patsy Cline   Love Letters In The Sand
                                                                 USMC16348917                   Inc.
                                                               UMG filed 10/5/2021 -       UMG Recordings,
1183.   Patsy Cline   San Antonio Rose
                                                                 USMC16149079                   Inc.
                                                               UMG filed 3/14/2019 -       UMG Recordings,
1184.   Patsy Cline   Seven Lonely Days
                                                                 USMC16148672                   Inc.
                                                               UMG filed 8.27.2021 -       UMG Recordings,
1185.   Patsy Cline   She's Got You
                                                                 USMC16146419                   Inc.


                                                      - 57 -
        Case 1:24-cv-04777-AKH           Document 9-1          Filed 06/25/24      Page 58 of 78




                                                           UMG filed 7/12/2022-        UMG Recordings,
1186.   Patsy Cline   Shoes
                                                             USMC16009888                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1187.   Patsy Cline   So Wrong
                                                             USMC16246426                   Inc.
                      Someday (You'll Want Me              UMG filed 7/8/2021 -        UMG Recordings,
1188.   Patsy Cline
                      To Want You)                           USMC16348706                   Inc.
                      South Of The Border                  UMG filed 3/14/2019 -       UMG Recordings,
1189.   Patsy Cline
                      (Down Mexico Way)                      USMC16149080                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1190.   Patsy Cline   Strange
                                                             USMC16147474                   Inc.
                                                           UMG filed 8.27.2021 -       UMG Recordings,
1191.   Patsy Cline   Sweet Dreams (Of You)
                                                             USMC16347346                   Inc.
                      That's How A Heartache               UMG filed 7/8/2021 -        UMG Recordings,
1192.   Patsy Cline
                      Begins                                 USMC16248677                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1193.   Patsy Cline   That's My Desire
                                                             USMC16211800                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1194.   Patsy Cline   The Wayward Wind
                                                             USMC16149082                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1195.   Patsy Cline   Tra Le La Le La Triangle
                                                             USMC16212629                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1196.   Patsy Cline   True Love
                                                             USMC16148705                   Inc.
                      When I Get Thru With You             UMG filed 3/14/2019 -       UMG Recordings,
1197.   Patsy Cline
                      (You'll Love Me Too)                   USMC16211890                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1198.   Patsy Cline   When You Need A Laugh
                                                             USMC16212597                   Inc.
                                                           UMG filed 7/8/2021 -        UMG Recordings,
1199.   Patsy Cline   Who Can I Count On
                                                             USMC16111048                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1200.   Patsy Cline   Why Can't He Be You
                                                             USMC16248673                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1201.   Patsy Cline   You Belong To Me
                                                             USMC16247476                   Inc.
                      You Made Me Love You (I              UMG filed 3/14/2019 -       UMG Recordings,
1202.   Patsy Cline
                      Didn't Want To Do It)                  USMC16248675                   Inc.
                      You Took Him Off My                  UMG filed 7/8/2021 -        UMG Recordings,
1203.   Patsy Cline
                      Hands                                  USMC16348923                   Inc.
                      You Were Only Fooling
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1204.   Patsy Cline   (While I Was Falling In
                                                             USMC16252631                   Inc.
                      Love)
                                                           UMG filed 8.27.2021 -       UMG Recordings,
1205.   Patsy Cline   Your Cheatin' Heart
                                                             USMC16211784                   Inc.
                                                           UMG filed 7/8/2021 -        UMG Recordings,
1206.   Patsy Cline   Your Kinda Love
                                                             USMC16248676                   Inc.
                                                           UMG filed 3/14/2019 -       UMG Recordings,
1207.   Patsy Cline   You're Stronger Than Me
                                                             USMC16211889                   Inc.
                                                                                       UMG Recordings,
1208.     Sting       A Thousand Years                        SR0000271015
                                                                                            Inc.
                                                                                       UMG Recordings,
1209.     Sting       After the Rain Has Fallen               SR0000271015
                                                                                            Inc.


                                                  - 58 -
        Case 1:24-cv-04777-AKH         Document 9-1       Filed 06/25/24   Page 59 of 78




                                                          SR0000139005/        UMG Recordings,
1210.     Sting     All This Time
                                                          SR0000128533              Inc.
                                                                               UMG Recordings,
1211.     Sting     Be Still My Beating Heart             SR0000085672
                                                                                    Inc.
                                                                               UMG Recordings,
1212.     Sting     Brand New Day                         SR0000271015
                                                                                    Inc.
                                                                               UMG Recordings,
1213.     Sting     Desert Rose                           SR0000271015
                                                                                    Inc.
                                                                               UMG Recordings,
1214.     Sting     Don't Make Me Wait                    SR0000816326
                                                                                    Inc.
                                                                               UMG Recordings,
1215.     Sting     Englishman In New York                SR0000085672
                                                                                    Inc.
                    Every Breath You Take                                      UMG Recordings,
1216.     Sting                                           SR0000852023
                    (My Songs Version)                                              Inc.
                                                                               UMG Recordings,
1217.     Sting     Fields Of Gold                        SR0000174453
                                                                                    Inc.
                                                                               UMG Recordings,
1218.     Sting     For Her Love                          SR0000930777
                                                                                    Inc.
                    Fortress Around Your                                       UMG Recordings,
1219.     Sting                                           SR0000065041
                    Heart                                                           Inc.
                                                                               UMG Recordings,
1220.     Sting     Fragile                               SR0000085672
                                                                                    Inc.
                                                                               UMG Recordings,
1221.     Sting     Gabriel's Message                     SR0000633473
                                                                                    Inc.
                                                                               UMG Recordings,
1222.     Sting     Heavy Cloud No Rain                   SR0000174453
                                                                                    Inc.
                    I Was Brought to My                                        UMG Recordings,
1223.     Sting                                           SR0000224238
                    Senses                                                          Inc.
                    If I Ever Lose My Faith In                                 UMG Recordings,
1224.     Sting                                           SR0000175546
                    You                                                             Inc.
                                                                               UMG Recordings,
1225.     Sting     If It's Love                          SR0000930779
                                                                                    Inc.
                    If You Love Somebody Set                                   UMG Recordings,
1226.     Sting                                           SR0000065041
                    Them Free                                                       Inc.
                    I'm So Happy I Can't Stop                                  UMG Recordings,
1227.     Sting                                           SR0000224238
                    Crying                                                          Inc.
                                                                               UMG Recordings,
1228.     Sting     It's Probably Me                      SR0000145702
                                                                                    Inc.
                                                                               UMG Recordings,
1229.     Sting     Just One Lifetime                     SR0000823473
                                                                                    Inc.
                    Let Your Soul Be Your                                      UMG Recordings,
1230.     Sting                                           SR0000224236
                    Pilot                                                           Inc.
                                                                               UMG Recordings,
1231.     Sting     Little Wing                           SR0000085672
                                                                                    Inc.
                    Love Is Stronger Than
                                                                               UMG Recordings,
1232.     Sting     Justice (The Munificent               SR0000174453
                                                                                    Inc.
                    Seven)
                                                                               UMG Recordings,
1233.     Sting     Love Is The Seventh Wave              SR0000065041
                                                                                    Inc.


                                                 - 59 -
        Case 1:24-cv-04777-AKH        Document 9-1      Filed 06/25/24   Page 60 of 78




                                                                              UMG Recordings,
1234.     Sting      Mad About You                SR0000139005/SR0000128533
                                                                                   Inc.
                     Moon Over Bourbon                                        UMG Recordings,
1235.     Sting                                         SR0000065041
                     Street                                                        Inc.
                                                                              UMG Recordings,
1236.     Sting      Morning Is Coming                  SR0000823478
                                                                                   Inc.
                                                                              UMG Recordings,
1237.     Sting      Roxanne                            SR0000658285
                                                                                   Inc.
                                                                              UMG Recordings,
1238.     Sting      Rushing Water                      SR0000930781
                                                                                   Inc.
                                                                              UMG Recordings,
1239.     Sting      Russians                           SR0000065041
                                                                                   Inc.
                     Saint Agnes and the                                      UMG Recordings,
1240.     Sting                                   SR0000139005/SR0000128533
                     Burning Train                                                 Inc.
                                                                              UMG Recordings,
1241.     Sting      Seven Days                         SR0000174453
                                                                                   Inc.
                                                                              UMG Recordings,
1242.     Sting      Shadows in the Rain                SR0000065041
                                                                                   Inc.
                                                                              UMG Recordings,
1243.     Sting      Shape Of My Heart                  SR0000174453
                                                                                   Inc.
                                                                              UMG Recordings,
1244.     Sting      Sister Moon                        SR0000085672
                                                                                   Inc.
                                                                              UMG Recordings,
1245.     Sting      Something The Boy Said             SR0000174453
                                                                                   Inc.
                     Stolen Car (Take Me                                      UMG Recordings,
1246.     Sting                                         SR0000343462
                     Dancing)                                                      Inc.
                                                                              UMG Recordings,
1247.     Sting      The Hounds Of Winter               SR0000224238
                                                                                   Inc.
                                                                              UMG Recordings,
1248.     Sting      The Pirate's Bride                 SR0000658285
                                                                                   Inc.
                     They Dance Alone (Gueca                                  UMG Recordings,
1249.     Sting                                         SR0000085672
                     Solo)                                                         Inc.
                                                                              UMG Recordings,
1250.     Sting      This Cowboy Song                   SR0000214200
                                                                                   Inc.
                                                                              UMG Recordings,
1251.     Sting      We'll Be Together                  SR0000085672
                                                                                   Inc.
                                                                              UMG Recordings,
1252.     Sting      When We Dance                      SR0000220807
                                                                                   Inc.
                     Why Should I Cry For                                     UMG Recordings,
1253.     Sting                                   SR0000139005/SR0000128533
                     You?                                                          Inc.
                                                                              UMG Recordings,
1254.     Sting      You Still Touch Me                 SR0000224238
                                                                                   Inc.
                                                                              UMG Recordings,
1255.   The Police   A Sermon                           SR0000028383
                                                                                   Inc.
                                                                              UMG Recordings,
1256.   The Police   Be My Girl - Sally                 SR0000006942
                                                                                   Inc.
                                                                              UMG Recordings,
1257.   The Police   Behind My Camel                    SR0000021466
                                                                                   Inc.
                                                                              UMG Recordings,
1258.   The Police   Bombs Away                         SR0000021466
                                                                                   Inc.

                                               - 60 -
        Case 1:24-cv-04777-AKH          Document 9-1     Filed 06/25/24   Page 61 of 78




                                                                              UMG Recordings,
1259.   The Police   Born in the 50's                    SR0000006942
                                                                                   Inc.
                                                                              UMG Recordings,
1260.   The Police   Bring On The Night                  SR0000013166
                                                                                   Inc.
                                                                              UMG Recordings,
1261.   The Police   Canary in a Coalmine                SR0000021466
                                                                                   Inc.
                                                                              UMG Recordings,
1262.   The Police   Can't Stand Losing You              SR0000006942
                                                                                   Inc.
                                                                              UMG Recordings,
1263.   The Police   Contact                             SR0000013166
                                                                                   Inc.
                                                                              UMG Recordings,
1264.   The Police   Darkness                            SR0000030222
                                                                                   Inc.
                     De Do Do Do De Da Da                                     UMG Recordings,
1265.   The Police                                       SR0000021466
                     Da                                                            Inc.
                                                                              UMG Recordings,
1266.   The Police   Deathwish                           SR0000013166
                                                                                   Inc.
                                                                              UMG Recordings,
1267.   The Police   Demolition Man                      SR0000030222
                                                                                   Inc.
                                                                              UMG Recordings,
1268.   The Police   Does Everyone Stare                 SR0000013166
                                                                                   Inc.
                     Don't Stand So Close To                                  UMG Recordings,
1269.   The Police                                       SR0000021466
                     Me                                                            Inc.
                                                                              UMG Recordings,
1270.   The Police   Driven to Tears                     SR0000021466
                                                                                   Inc.
                                                                              UMG Recordings,
1271.   The Police   Every Breath You Take               SR0000047032
                                                                                   Inc.
                     Every Little Thing She                                   UMG Recordings,
1272.   The Police                                       SR0000030222
                     Does is Magic                                                 Inc.
                                                                              UMG Recordings,
1273.   The Police   Flexible Strategies                 SR0000032273
                                                                                   Inc.
                                                                              UMG Recordings,
1274.   The Police   Friends                             SR0000024233
                                                                                   Inc.
                                                                              UMG Recordings,
1275.   The Police   Hole in My Life                     SR0000006942
                                                                                   Inc.
                     Hungry For You (J'Aurais                                 UMG Recordings,
1276.   The Police                                       SR0000030222
                     Toujours Faim De Toi)                                         Inc.
                                                                              UMG Recordings,
1277.   The Police   Invisible Sun                       SR0000030222
                                                                                   Inc.
                                                                              UMG Recordings,
1278.   The Police   It's Alright For You                SR0000013166
                                                                                   Inc.
                                                                              UMG Recordings,
1279.   The Police   King of Pain                        SR0000044862
                                                                                   Inc.
                                                                              UMG Recordings,
1280.   The Police   Low Life                            SR0000192203
                                                                                   Inc.
                                                                              UMG Recordings,
1281.   The Police   Man In A Suitcase                   SR0000021466
                                                                                   Inc.
                                                                              UMG Recordings,
1282.   The Police   Masoko Tanga                        SR0000006942
                                                                                   Inc.
                                                                              UMG Recordings,
1283.   The Police   Message In A Bottle                 SR0000013166
                                                                                   Inc.

                                                - 61 -
        Case 1:24-cv-04777-AKH           Document 9-1   Filed 06/25/24   Page 62 of 78




                                                                             UMG Recordings,
1284.   The Police   Miss Gradenko                      SR0000044862
                                                                                  Inc.
                                                                             UMG Recordings,
1285.   The Police   Mother                             SR0000044862
                                                                                  Inc.
                                                                             UMG Recordings,
1286.   The Police   Murder By Numbers                  SR0000047032
                                                                                  Inc.
                                                                             UMG Recordings,
1287.   The Police   Next To You                        SR0000006942
                                                                                  Inc.
                                                                             UMG Recordings,
1288.   The Police   No Time This Time                  SR0000013166
                                                                                  Inc.
                                                                             UMG Recordings,
1289.   The Police   O My God                           SR0000044862
                                                                                  Inc.
                                                                             UMG Recordings,
1290.   The Police   Omegaman                           SR0000030222
                                                                                  Inc.
                                                                             UMG Recordings,
1291.   The Police   On Any Other Day                   SR0000013166
                                                                                  Inc.
                                                                             UMG Recordings,
1292.   The Police   Once Upon A Daydream               SR0000049491
                                                                                  Inc.
                                                                             UMG Recordings,
1293.   The Police   One World (Not Three)              SR0000030222
                                                                                  Inc.
                                                                             UMG Recordings,
1294.   The Police   Peanuts                            SR0000006942
                                                                                  Inc.
                                                                             UMG Recordings,
1295.   The Police   Regatta De Blanc                   SR0000013166
                                                                                  Inc.
                                                                             UMG Recordings,
1296.   The Police   Rehumanize Yourself                SR0000030222
                                                                                  Inc.
                                                                             UMG Recordings,
1297.   The Police   Roxanne                            SR0000004190
                                                                                  Inc.
                                                                             UMG Recordings,
1298.   The Police   Secret Journey                     SR0000030222
                                                                                  Inc.
                                                                             UMG Recordings,
1299.   The Police   Shadows In The Rain                SR0000021466
                                                                                  Inc.
                                                                             UMG Recordings,
1300.   The Police   Shambelle                          SR0000030592
                                                                                  Inc.
                                                                             UMG Recordings,
1301.   The Police   So Lonely                          SR0000006942
                                                                                  Inc.
                                                                             UMG Recordings,
1302.   The Police   Someone To Talk To                 SR0000048456
                                                                                  Inc.
                     Spirits In The Material                                 UMG Recordings,
1303.   The Police                                      SR0000030222
                     World                                                        Inc.
                                                                             UMG Recordings,
1304.   The Police   Synchronicity I                    SR0000044862
                                                                                  Inc.
                                                                             UMG Recordings,
1305.   The Police   Synchronicity II                   SR0000044862
                                                                                  Inc.
                                                                             UMG Recordings,
1306.   The Police   Tea in the Sahara                  SR0000044862
                                                                                  Inc.
                     The Bed's Too Big Without                               UMG Recordings,
1307.   The Police                                      SR0000013166
                     You                                                          Inc.
                     The Other Way of                                        UMG Recordings,
1308.   The Police                                      SR0000021466
                     Stopping                                                     Inc.

                                               - 62 -
        Case 1:24-cv-04777-AKH             Document 9-1          Filed 06/25/24      Page 63 of 78




                                                                                         UMG Recordings,
1309.    The Police     Too Much Information                    SR0000030222
                                                                                              Inc.
                                                                                         UMG Recordings,
1310.    The Police     Truth Hits Everybody                    SR0000006942
                                                                                              Inc.
                                                                                         UMG Recordings,
1311.    The Police     Voices Inside My Head                   SR0000021466
                                                                                              Inc.
                                                                                         UMG Recordings,
1312.    The Police     Walking In Your Footsteps               SR0000044862
                                                                                              Inc.
                                                                                         UMG Recordings,
1313.    The Police     Walking on the Moon                     SR0000013166
                                                                                              Inc.
                        When the World is
                        Running Down, You Make                                           UMG Recordings,
1314.    The Police                                             SR0000021466
                        the Best of What's Still                                              Inc.
                        Around
                        Wrapped Around Your                                              UMG Recordings,
1315.    The Police                                             SR0000044862
                        Finger                                                                Inc.
           The                                               UMG filed 6.10.2019 -       UMG Recordings,
1316.                   My Girl
        Temptations                                            USMO16490001                   Inc.
                                                                                         UMG Recordings,
1317.   Willie Nelson   By The Rivers Of Babylon                SR0000020509
                                                                                              Inc.
                                                                                         UMG Recordings,
1318.   Willie Nelson   Crazy                                   SR0000270089
                                                                                              Inc.
                        Darkness On The Face Of                                          UMG Recordings,
1319.   Willie Nelson                                           SR0000260306
                        The Earth                                                             Inc.
                        Darkness On The Face Of                                          UMG Recordings,
1320.   Willie Nelson                                           SR0000379834
                        The Earth                                                             Inc.
                                                                                         UMG Recordings,
1321.   Willie Nelson   Family Bible                            SR0000020509
                                                                                              Inc.
                        Funny (How Time Slips                                            UMG Recordings,
1322.   Willie Nelson                                           SR0000270089
                        Away)                                                                 Inc.
                                                                                         UMG Recordings,
1323.   Willie Nelson   Home Motel                              SR0000260306
                                                                                              Inc.
                                                                                         UMG Recordings,
1324.   Willie Nelson   How Long Is Forever                     SR0000379834
                                                                                              Inc.
                        It Is No Secret (What God                                        UMG Recordings,
1325.   Willie Nelson                                           SR0000020509
                        Can Do)                                                               Inc.
                        Kneel At The Feet Of                                             UMG Recordings,
1326.   Willie Nelson                                           SR0000020509
                        Jesus                                                                 Inc.
                                                                                         UMG Recordings,
1327.   Willie Nelson   Milk Cow Blues                          SR0000270089
                                                                                              Inc.
                                                                                         UMG Recordings,
1328.   Willie Nelson   Night Life                              SR0000270089
                                                                                              Inc.
                                                                                         UMG Recordings,
1329.   Willie Nelson   Rainy Day Blues                         SR0000270089
                                                                                              Inc.
                                                                                         UMG Recordings,
1330.   Willie Nelson   Revive Us Again                         SR0000020509
                                                                                              Inc.
                                                                                         UMG Recordings,
1331.   Willie Nelson   Tell It To Jesus                        SR0000020509
                                                                                              Inc.
                        There Shall Be Showers                                           UMG Recordings,
1332.   Willie Nelson                                           SR0000020509
                        Of Blessings                                                          Inc.

                                                    - 63 -
        Case 1:24-cv-04777-AKH            Document 9-1       Filed 06/25/24   Page 64 of 78




                                                                                  UMG Recordings,
1333.   Willie Nelson   Three Days                           SR0000260306
                                                                                        Inc.
                                                                                  UMG Recordings,
1334.   Willie Nelson   Undo The Right                       SR0000379834
                                                                                        Inc.
                                                                                  UMG Recordings,
1335.   Willie Nelson   Wake Me When It's Over               SR0000270089
                                                                                        Inc.
1336.    Carnivore      Carnivore (Demo)                     SR0000289001         Warner Music Inc.
1337.    Carnivore      S.M.D. (Demo)                        SR0000289002         Warner Music Inc.
1338.    Carnivore      Sex and Violence (Demo)              SR0000289002         Warner Music Inc.
1339.    Carnivore      The Subhuman (Demo)                  SR0000289001         Warner Music Inc.
1340.    Carnivore      U.S.A. for U.S.A. (Demo)             SR0000289002         Warner Music Inc.
                        World Wars III & IV
1341.    Carnivore                                           SR0000289001         Warner Music Inc.
                        (Demo)
                        (No Title) 'October Rust'
          Type O
1342.                   Track 15 [Spoken Word                SR0000301074         Warner Music Inc.
          Negative
                        Outro]
                        (No Title) 'October Rust'
          Type O
1343.                   Track 2 [Spoken Word                 SR0000301074         Warner Music Inc.
          Negative
                        Intro]
          Type O
1344.                   3.O.I.F.                             SR0000301069         Warner Music Inc.
          Negative
          Type O
1345.                   All Hallows Eve                      SR0000301071         Warner Music Inc.
          Negative
          Type O
1346.                   Are You Afraid                       SR0000301099         Warner Music Inc.
          Negative
          Type O
1347.                   Bad Ground                           SR0000301074         Warner Music Inc.
          Negative
          Type O
1348.                   Be My Druidess                       SR0000301074         Warner Music Inc.
          Negative
          Type O        Black No. 1 (Little Miss
1349.                                                        SR0000301069         Warner Music Inc.
          Negative      Scare -All)
          Type O        Bloody Kisses (A Death in
1350.                                                        SR0000301069         Warner Music Inc.
          Negative      the Family)
          Type O
1351.                   Burnt Flowers Fallen                 SR0000301074         Warner Music Inc.
          Negative
          Type O
1352.                   Christian Woman                      SR0000301069         Warner Music Inc.
          Negative
          Type O
1353.                   Cinnamon Girl                        SR0000301074         Warner Music Inc.
          Negative
          Type O
1354.                   Creepy Green Light                   SR0000301071         Warner Music Inc.
          Negative
          Type O
1355.                   Dark Side of the Womb                SR0000301069         Warner Music Inc.
          Negative
          Type O
1356.                   Day Tripper (Medley)                 SR0000301071         Warner Music Inc.
          Negative
          Type O
1357.                   Der Untermensch                      SR0000301088         Warner Music Inc.
          Negative
          Type O
1358.                   Die with Me                          SR0000301074         Warner Music Inc.
          Negative


                                                    - 64 -
        Case 1:24-cv-04777-AKH         Document 9-1       Filed 06/25/24   Page 65 of 78




         Type O
1359.               Everyone I Love Is Dead               SR0000301071         Warner Music Inc.
         Negative
         Type O
1360.               Everything Dies                       SR0000301071         Warner Music Inc.
         Negative
         Type O     Fay Wray Come out and
1361.                                                     SR0000301069         Warner Music Inc.
         Negative   Play
         Type O     Glass Walls of Limbo
1362.                                                     SR0000301088         Warner Music Inc.
         Negative   (Dance Mix)
                    Gravitational Constant: G
         Type O
1363.               = 6.67 x 10⁻⁸ cm⁻³ gm⁻¹               SR0000301088         Warner Music Inc.
         Negative
                    sec⁻²
         Type O
1364.               Gravity                               SR0000301099         Warner Music Inc.
         Negative
         Type O
1365.               Green Man                             SR0000301074         Warner Music Inc.
         Negative
         Type O
1366.               Haunted                               SR0000301074         Warner Music Inc.
         Negative
         Type O
1367.               Hey Pete                              SR0000301099         Warner Music Inc.
         Negative
         Type O     I Know You're Fucking
1368.                                                     SR0000301099         Warner Music Inc.
         Negative   Someone Else
         Type O
1369.               In Praise of Bacchus                  SR0000301074         Warner Music Inc.
         Negative
         Type O
1370.               Kill All the White People             SR0000301069         Warner Music Inc.
         Negative
         Type O
1371.               Kill You Tonight                      SR0000301099         Warner Music Inc.
         Negative
         Type O
1372.               Kill You Tonight (Reprise)            SR0000301099         Warner Music Inc.
         Negative
         Type O
1373.               Liver                                 SR0000301071         Warner Music Inc.
         Negative
         Type O
1374.               Love You to Death                     SR0000301074         Warner Music Inc.
         Negative
         Type O
1375.               Lung                                  SR0000301071         Warner Music Inc.
         Negative
         Type O
1376.               Machine Screw                         SR0000301069         Warner Music Inc.
         Negative
         Type O
1377.               My Girlfriend's Girlfriend            SR0000301074         Warner Music Inc.
         Negative
         Type O
1378.               Pain                                  SR0000301099         Warner Music Inc.
         Negative
         Type O
1379.               Prelude to Agony                      SR0000301088         Warner Music Inc.
         Negative
         Type O
1380.               Pyretta Blaze                         SR0000301071         Warner Music Inc.
         Negative
         Type O     Red Water (Christmas
1381.                                                     SR0000301074         Warner Music Inc.
         Negative   Mourning)
         Type O
1382.               Set Me on Fire                        SR0000301069         Warner Music Inc.
         Negative


                                                 - 65 -
        Case 1:24-cv-04777-AKH       Document 9-1          Filed 06/25/24   Page 66 of 78




         Type O
1383.               Sinus                                 SR0000301071          Warner Music Inc.
         Negative
         Type O
1384.               Skip It                               SR0000301071          Warner Music Inc.
         Negative
         Type O
1385.               Summer Breeze                         SR0000301069          Warner Music Inc.
         Negative
                    The Glorious Liberation of
                    the People's Technocratic
         Type O     Republic of Vinnland by
1386.                                                     SR0000301074          Warner Music Inc.
         Negative   the Combined Forces of
                    the United Territories of
                    Europa
                    The Misinterpretation of
         Type O
1387.               Silence and Its Disastrous            SR0000301088          Warner Music Inc.
         Negative
                    Consequences
                    Unsuccessfully Coping
         Type O
1388.               with the Natural Beauty of            SR0000301088          Warner Music Inc.
         Negative
                    Infidelity
         Type O
1389.               White Slavery                         SR0000301071          Warner Music Inc.
         Negative
         Type O
1390.               Who Will Save the Sane?               SR0000301071          Warner Music Inc.
         Negative
         Type O     Wolf Moon (Including
1391.                                                     SR0000301074          Warner Music Inc.
         Negative   Zoanthropic Paranoia)
         Type O
1392.               World Coming Down                     SR0000301071          Warner Music Inc.
         Negative
         Type O
1393.               Xero Tolerance                        SR0000301088          Warner Music Inc.
         Negative
                                                                                  Warner Music
1394.    Coldplay   A Head Full of Dreams                 SR0000898967             International
                                                                                 Services Limited
                                                                                  Warner Music
                                                          SRu000573811 /
1395.    Coldplay   A Message                                                      International
                                                          SR0000376828
                                                                                 Services Limited
                                                                                  Warner Music
1396.    Coldplay   A Sky Full of Stars                   SR0000766376             International
                                                                                 Services Limited
                                                                                  Warner Music
1397.    Coldplay   A Whisper                             SR0000322958             International
                                                                                 Services Limited
                                                                                  Warner Music
                    All I Can Think About Is
1398.    Coldplay                                         SR0000952006             International
                    You
                                                                                 Services Limited
                                                                                  Warner Music
1399.    Coldplay   Always in My Head                     SR0000766376             International
                                                                                 Services Limited
                                                                                  Warner Music
1400.    Coldplay   Arabesque                             SR0000865164             International
                                                                                 Services Limited


                                                 - 66 -
        Case 1:24-cv-04777-AKH       Document 9-1       Filed 06/25/24   Page 67 of 78




                                                                               Warner Music
1401.    Coldplay   Birds                              SR0000898967             International
                                                                              Services Limited
                                                                               Warner Music
1402.    Coldplay   Champion Of The World              SR0000865153             International
                                                                              Services Limited
                                                                               Warner Music
1403.    Coldplay   Charlie Brown                      SR0000686471             International
                                                                              Services Limited
                                                                               Warner Music
1404.    Coldplay   Clocks                             SR0000360775             International
                                                                              Services Limited
                                                                               Warner Music
1405.    Coldplay   Daddy                              SR0000865159             International
                                                                              Services Limited
                                                                               Warner Music
1406.    Coldplay   Don't Panic                        SR0000328762             International
                                                                              Services Limited
                                                                               Warner Music
                    Every Teardrop is a
1407.    Coldplay                                      SR0000675913             International
                    Waterfall
                                                                              Services Limited
                                                                               Warner Music
1408.    Coldplay   Everyday Life                      SR0000865157             International
                                                                              Services Limited
                                                                               Warner Music
                                                       SRu000573811 /
1409.    Coldplay   Fix You                                                     International
                                                       SR0000376828
                                                                              Services Limited
                                                                               Warner Music
                    Fix You (Live in Buenos
1410.    Coldplay                                      SR0000845377             International
                    Aires)
                                                                              Services Limited
                                                                               Warner Music
1411.    Coldplay   Flags                              SR0000892810             International
                                                                              Services Limited
                                                                               Warner Music
                    God Put a Smile upon
1412.    Coldplay                                      SR0000322958             International
                    Your Face
                                                                              Services Limited
                                                                               Warner Music
1413.    Coldplay   Hymn for the Weekend               SR0000898967             International
                                                                              Services Limited
                                                                               Warner Music
1414.    Coldplay   Hypnotised (EP Mix)                SR0000952187             International
                                                                              Services Limited
                                                                               Warner Music
1415.    Coldplay   In My Place                        SR0000322958             International
                                                                              Services Limited
                                                                               Warner Music
1416.    Coldplay   Magic                              SR0000766376             International
                                                                              Services Limited




                                              - 67 -
        Case 1:24-cv-04777-AKH          Document 9-1   Filed 06/25/24   Page 68 of 78




                                                                              Warner Music
1417.    Coldplay   Midnight                           SR0000766376            International
                                                                             Services Limited
                                                                              Warner Music
1418.    Coldplay   Old Friends                        SR0000886768            International
                                                                             Services Limited
                                                                              Warner Music
1419.    Coldplay   Orphans                            SR0000865155            International
                                                                             Services Limited
                                                                              Warner Music
1420.    Coldplay   Paradise                           SR0000686155            International
                                                                             Services Limited
                                                                              Warner Music
1421.    Coldplay   Politik                            SR0000322958            International
                                                                             Services Limited
                                                                              Warner Music
1422.    Coldplay   Princess of China                  SR0000686471            International
                                                                             Services Limited
                                                                              Warner Music
1423.    Coldplay   Shiver                             SR0000328762            International
                                                                             Services Limited
                                                                              Warner Music
1424.    Coldplay   Sparks                             SR0000328762            International
                                                                             Services Limited
                                                                              Warner Music
1425.    Coldplay   Speed of Sound                     SR0000376817            International
                                                                             Services Limited
                                                                              Warner Music
1426.    Coldplay   Sunrise                            SR0000886768            International
                                                                             Services Limited
                                                                              Warner Music
1427.    Coldplay   The Scientist                      SR0000322958            International
                                                                             Services Limited
                                                                              Warner Music
1428.    Coldplay   Trouble                            SR0000328762            International
                                                                             Services Limited
                                                                              Warner Music
1429.    Coldplay   Up&Up                              SR0000898967            International
                                                                             Services Limited
                                                                              Warner Music
1430.    Coldplay   Violet Hill                        SR0000652911            International
                                                                             Services Limited
                                                                              Warner Music
1431.    Coldplay   Viva La Vida                       SR0000652911            International
                                                                             Services Limited
                                                                              Warner Music
                    Viva La Vida (Live in
1432.    Coldplay                                      SR0000845376            International
                    Buenos Aires)
                                                                             Services Limited




                                              - 68 -
        Case 1:24-cv-04777-AKH          Document 9-1       Filed 06/25/24   Page 69 of 78




                                                                                  Warner Music
1433.     Coldplay      Yellow                             SR0000328762            International
                                                                                 Services Limited
                                                                                  Warner Music
1434.    Ed Sheeran     Shape of You                       SR0000804886            International
                                                                                 Services Limited
                        A quoi ça sert l'amour ?
        Edith Piaf &                                                              Warner Music
                        (En duo avec Théo Sarapo)
1435.    Legendis                                          SR0000991620            International
                        [Symphonique, orch.
         Orchestra                                                               Services Limited
                        Martin Batchelar]
        Edith Piaf &    Hymne à l'amour                                           Warner Music
1436.    Legendis       (Symphonique, orch.                SR0000991620            International
         Orchestra      Samuel Pegg)                                             Services Limited
        Edith Piaf &                                                              Warner Music
                        La foule (Symphonique,
1437.    Legendis                                          SR0000991627            International
                        orch. Nathan Stornetta)
         Orchestra                                                               Services Limited
        Edith Piaf &    La vie en rose                                            Warner Music
1438.    Legendis       (Symphonique, orch.                SR0000991620            International
         Orchestra      Nathan Stornetta)                                        Services Limited
        Edith Piaf &    L'homme à la moto                                         Warner Music
1439.    Legendis       (Symphonique, orch.                SR0000991620            International
         Orchestra      Martin Batchelar)                                        Services Limited
        Edith Piaf &                                                              Warner Music
                        Milord (Symphonique,
1440.    Legendis                                          SR0000991620            International
                        orch. Samuel Pegg)
         Orchestra                                                               Services Limited
        Edith Piaf &                                                              Warner Music
                        Mon dieu (Symphonique,
1441.    Legendis                                          SR0000991620            International
                        orch. Nathan Stornetta)
         Orchestra                                                               Services Limited
                        Mon manège à moi (Tu me
        Edith Piaf &                                                              Warner Music
                        fais tourner la tête)
1442.    Legendis                                          SR0000991620            International
                        [Symphonique, orch.
         Orchestra                                                               Services Limited
                        Nathan Stornetta]
        Edith Piaf &    Non, je ne regrette rien                                 Warner Music
1443.    Legendis       (Symphonique, orch.                SR0000991628           International
         Orchestra      Martin Batchelar)                                       Services Limited
        Edith Piaf &    Notre dame de Paris                                      Warner Music
1444.    Legendis       (Symphonique, orch.                SR0000991620           International
         Orchestra      Samuel Pegg)                                            Services Limited
        Edith Piaf &    Padam, Padam                                             Warner Music
1445.    Legendis       (Symphonique, orch.                SR0000991620           International
         Orchestra      Samuel Pegg)                                            Services Limited
        Edith Piaf &    Sous le ciel de Paris                                    Warner Music
1446.    Legendis       (Symphonique, orch.                SR0000991620           International
         Orchestra      Martin Batchelar)                                       Services Limited
1447.   David Byrne     A Soft Seduction                   SR0000234380        Warner Records Inc.
1448.   David Byrne     Miss America                       SR0000234380        Warner Records Inc.
         Emmylou
1449.    Harris w/      Gulf Coast Highway                 SR0000122732        Warner Records Inc.
        Willie Nelson


                                                  - 69 -
        Case 1:24-cv-04777-AKH            Document 9-1      Filed 06/25/24   Page 70 of 78




        George Clinton
1450.                    We Can Funk                        SR0000122575        Warner Records Inc.
          and Prince
1451.    Green Day       American Idiot                     SR0000362125        Warner Records Inc.
                         Good Riddance (Time of
1452.     Green Day                                         SR0000244558        Warner Records Inc.
                         Your Life)
                         A Foggy Day (In London
1453.   Michael Bublé                                       SR0000370205        Warner Records Inc.
                         Town)
1454.   Michael Bublé    All I Do Is Dream of You           SR0000672366        Warner Records Inc.
                         All I Want for Christmas Is
1455.   Michael Bublé                                       SR0000704271        Warner Records Inc.
                         You
1456.   Michael Bublé    All of Me                          SR0000672366        Warner Records Inc.
1457.   Michael Bublé    At This Moment                     SR0000672366        Warner Records Inc.
1458.   Michael Bublé    At This Moment (Live)              SR0000672366        Warner Records Inc.
1459.   Michael Bublé    Ave Maria                          SR0000704271        Warner Records Inc.
                         Baby (You've Got What It
1460.   Michael Bublé    Takes) [with Sharon Jones          SR0000672366        Warner Records Inc.
                         & The Dap-Kings]
1461.   Michael Bublé    Best of Me                         SR0000672366        Warner Records Inc.
1462.   Michael Bublé    Blue Christmas                     SR0000704271        Warner Records Inc.
                         Christmas (Baby Please
1463.   Michael Bublé                                       SR0000704271        Warner Records Inc.
                         Come Home)
1464.   Michael Bublé    Cold December Night                SR0000704271        Warner Records Inc.
1465.   Michael Bublé    Come Fly with Me                   SR0000330696        Warner Records Inc.
1466.   Michael Bublé    Crazy Love                         SR0000672366        Warner Records Inc.
1467.   Michael Bublé    Cry Me a River                     SR0000672366        Warner Records Inc.
1468.   Michael Bublé    End of May                         SR0000672366        Warner Records Inc.
1469.   Michael Bublé    Feeling Good                       SR0000370205        Warner Records Inc.
1470.   Michael Bublé    Fever                              SR0000330696        Warner Records Inc.
1471.   Michael Bublé    For Once in My Life                SR0000330696        Warner Records Inc.
1472.   Michael Bublé    Forever Now                        SR0000846021        Warner Records Inc.
                         Frosty the Snowman (feat.
1473.   Michael Bublé                                       SR0000948239        Warner Records Inc.
                         The Puppini Sisters)
1474.   Michael Bublé    Georgia on My Mind                 SR0000672366        Warner Records Inc.
                         Have Yourself a Merry
1475.   Michael Bublé                                       SR0000704271        Warner Records Inc.
                         Little Christmas
1476.   Michael Bublé    Haven't Met You Yet                SR0000672366        Warner Records Inc.
                         Haven't Met You Yet
1477.   Michael Bublé                                       SR0000672366        Warner Records Inc.
                         (Live)
1478.   Michael Bublé    Heartache Tonight                  SR0000672366        Warner Records Inc.
1479.   Michael Bublé    Heartache Tonight (Live)           SR0000672366        Warner Records Inc.
                         Help Me Make It Through
1480.   Michael Bublé    the Night (feat. Loren             SR0000846021        Warner Records Inc.
                         Allred)
1481.   Michael Bublé    Hold On                            SR0000672366        Warner Records Inc.
1482.   Michael Bublé    Holly Jolly Christmas              SR0000704271        Warner Records Inc.
1483.   Michael Bublé    Hollywood                          SR0000672366        Warner Records Inc.
                         How Can You Mend a
1484.   Michael Bublé                                       SR0000330696        Warner Records Inc.
                         Broken Heart
1485.   Michael Bublé    How Sweet It Is                    SR0000370205        Warner Records Inc.

                                                   - 70 -
        Case 1:24-cv-04777-AKH            Document 9-1          Filed 06/25/24   Page 71 of 78




1486.   Michael Bublé   I Get a Kick out of You                 SR0000846021        Warner Records Inc.
1487.   Michael Bublé   I Only Have Eyes for You                SR0000846021        Warner Records Inc.
1488.   Michael Bublé   I'll Be Home for Christmas              SR0000704271        Warner Records Inc.
                        It's Beginning to Look a
1489.   Michael Bublé                                           SR0000704271        Warner Records Inc.
                        Lot like Christmas
                        Jingle Bells (feat. The
1490.   Michael Bublé                                           SR0000704271        Warner Records Inc.
                        Puppini Sisters)
1491.   Michael Bublé   LOVE                                    SR0000944344        Warner Records Inc.
                        La vie en rose (feat. Cécile
1492.   Michael Bublé                                           SR0000846021        Warner Records Inc.
                        McLorin Salvant)
                        Let It Snow! (10th
1493.   Michael Bublé                                           SR0000945691        Warner Records Inc.
                        Anniversary)
                        Let It Snow, Let It Snow,
1494.   Michael Bublé                                           SR0000347805        Warner Records Inc.
                        Let It Snow
1495.   Michael Bublé   Love You Anymore                        SR0000846021        Warner Records Inc.
1496.   Michael Bublé   Me and Mrs. Jones (Live)                SR0000672366        Warner Records Inc.
                        Mis Deseos / Feliz
1497.   Michael Bublé                                           SR0000704271        Warner Records Inc.
                        Navidad (with Thalia)
1498.   Michael Bublé   My Funny Valentine                      SR0000846021        Warner Records Inc.
                        Put Your Head on My
1499.   Michael Bublé                                           SR0000330696        Warner Records Inc.
                        Shoulder
                        Quando, Quando, Quando
1500.   Michael Bublé                                           SR0000370205        Warner Records Inc.
                        (with Nelly Furtado)
1501.   Michael Bublé   Santa Baby                              SR0000704271        Warner Records Inc.
                        Santa Claus Is Coming to
1502.   Michael Bublé                                           SR0000704271        Warner Records Inc.
                        Town
                        Save the Last Dance for
1503.   Michael Bublé                                           SR0000370205        Warner Records Inc.
                        Me
1504.   Michael Bublé   Silent Night                            SR0000704271        Warner Records Inc.
                        Silver Bells (feat.
1505.   Michael Bublé                                           SR0000948239        Warner Records Inc.
                        Naturally 7)
1506.   Michael Bublé   Some Kind of Wonderful                  SR0000672366        Warner Records Inc.
1507.   Michael Bublé   Stardust (with Naturally 7)             SR0000672366        Warner Records Inc.
1508.   Michael Bublé   Such a Night                            SR0000846021        Warner Records Inc.
1509.   Michael Bublé   Sway                                    SR0000330696        Warner Records Inc.
1510.   Michael Bublé   The Christmas Sweater                   SR0000948239        Warner Records Inc.
1511.   Michael Bublé   The More I See You                      SR0000370205        Warner Records Inc.
                        The More You Give (The
1512.   Michael Bublé                                           SR0000944966        Warner Records Inc.
                        More You'll Have)
                        The Way You Look
1513.   Michael Bublé                                           SR0000330696        Warner Records Inc.
                        Tonight
1514.   Michael Bublé   Unforgettable                           SR0000846021        Warner Records Inc.
                        Whatever It Takes (with
1515.   Michael Bublé                                           SR0000672366        Warner Records Inc.
                        Ron Sexsmith)
1516.   Michael Bublé   When I Fall in Love                     SR0000846021        Warner Records Inc.
1517.   Michael Bublé   When You're Not Here                    SR0000846021        Warner Records Inc.
1518.   Michael Bublé   When You're Smiling                     SR0000846021        Warner Records Inc.
1519.   Michael Bublé   Where or When                           SR0000846021        Warner Records Inc.
1520.   Michael Bublé   White Christmas                         SR0000944170        Warner Records Inc.


                                                       - 71 -
        Case 1:24-cv-04777-AKH            Document 9-1         Filed 06/25/24   Page 72 of 78




                        White Christmas (with
1521.   Michael Bublé                                         SR0000704271         Warner Records Inc.
                        Shania Twain)
                        Winter Wonderland (feat.
1522.   Michael Bublé                                         SR0000948239         Warner Records Inc.
                        Rod Stewart)
                        You're Nobody till
1523.   Michael Bublé                                         SR0000672366         Warner Records Inc.
                        Somebody Loves You
1524.      Prince       Anotherloverholenyohead               SR0000070734         Warner Records Inc.
                                                              SR0000054679 /
1525.      Prince       Baby I'm a Star                                            Warner Records Inc.
                                                              SR0000055615
1526.      Prince       Batdance                               SR0000112253        Warner Records Inc.
                        Can't Stop This Feeling I
1527.      Prince                                             SR0000122575         Warner Records Inc.
                        Got
1528.      Prince       Christopher Tracy's Parade            SR0000070734         Warner Records Inc.
                                                              SR0000054679 /
1529.      Prince       Computer Blue                                              Warner Records Inc.
                                                              SR0000055615
                                                              SR0000054679 /
1530.      Prince       Darling Nikki                                              Warner Records Inc.
                                                              SR0000055615
1531.      Prince       Do U Lie?                             SR0000070734         Warner Records Inc.
1532.      Prince       Electric Chair                        SR0000108053         Warner Records Inc.
1533.      Prince       Elephants & Flowers                   SR0000122575         Warner Records Inc.
1534.      Prince       Graffiti Bridge                       SR0000122575         Warner Records Inc.
1535.      Prince       I Wonder U                            SR0000070734         Warner Records Inc.
1536.      Prince       Joy in Repetition                     SR0000122575         Warner Records Inc.
1537.      Prince       Lemon Crush                           SR0000108053         Warner Records Inc.
1538.      Prince       Life Can Be so Nice                   SR0000070734         Warner Records Inc.
1539.      Prince       Mountains                             SR0000070734         Warner Records Inc.
1540.      Prince       New Position                          SR0000070734         Warner Records Inc.
1541.      Prince       New Power Generation                  SR0000122575         Warner Records Inc.
                        New Power Generation
1542.      Prince                                             SR0000122575         Warner Records Inc.
                        (Pt.II)
1543.      Prince       Partyman                              SR0000108053         Warner Records Inc.
                                                              SR0000054679 /
1544.      Prince       Purple Rain                                                Warner Records Inc.
                                                              SR0000055615
1545.      Prince       Scandalous                            SR0000108053         Warner Records Inc.
                        Sometimes It Snows in
1546.      Prince                                             SR0000070734         Warner Records Inc.
                        April
1547.      Prince       Still Would Stand All Time            SR0000122575         Warner Records Inc.
                                                              SR0000054679 /
1548.      Prince       Take Me with U                                             Warner Records Inc.
                                                              SR0000055615
1549.      Prince       The Arms of Orion                     SR0000108053         Warner Records Inc.
                                                              SR0000054679 /
1550.      Prince       The Beautiful Ones                                         Warner Records Inc.
                                                              SR0000055615
1551.      Prince       The Future                            SR0000108053         Warner Records Inc.
1552.      Prince       The Question of U                     SR0000122575         Warner Records Inc.
1553.      Prince       Thieves in the Temple                 SR0000139907         Warner Records Inc.
1554.      Prince       Tick, Tick, Bang                      SR0000122575         Warner Records Inc.
1555.      Prince       Trust                                 SR0000108053         Warner Records Inc.
1556.      Prince       Under The Cherry Moon                 SR0000070734         Warner Records Inc.
1557.      Prince       Venus De Milo                         SR0000070734         Warner Records Inc.

                                                     - 72 -
        Case 1:24-cv-04777-AKH           Document 9-1      Filed 06/25/24   Page 73 of 78




1558.      Prince      Vicki Waiting                      SR0000108053         Warner Records Inc.
        Prince & The
1559.                  Girls & Boys                       SR0000070734         Warner Records Inc.
         Revolution
        Prince & The                                      SR0000054679 /
1560.                  I Would Die 4 U                                         Warner Records Inc.
         Revolution                                       SR0000055615
        Prince & The
1561.                  Kiss                               SR0000069888         Warner Records Inc.
         Revolution
        Prince & The                                      SR0000054679 /
1562.                  Let's Go Crazy                                          Warner Records Inc.
         Revolution                                       SR0000055615
        Prince & The
1563.                  When Doves Cry                     SR0000054684         Warner Records Inc.
         Revolution
                       4 Minutes (feat. Justin
1564.    Madonna                                          SR0000761202         Warner Records LLC
                       Timberlake & Timbaland)
1565.    Madonna       Bad Girl                           SR0000149428         Warner Records LLC
1566.    Madonna       Borderline                         SR0000046877         Warner Records LLC
1567.    Madonna       Burning Up                         SR0000045780         Warner Records LLC
1568.    Madonna       Cherish                            SR0000106808         Warner Records LLC
1569.    Madonna       Crazy For You                      SR0000149428         Warner Records LLC
1570.    Madonna       Die Another Day                    SR0000314662         Warner Records LLC
                       Don't Cry for Me
1571.    Madonna                                          SR0000229813         Warner Records LLC
                       Argentina
1572.    Madonna       Don't Tell Me                      SR0000285828         Warner Records LLC
1573.    Madonna       Dress You Up                       SR0000059442         Warner Records LLC
1574.    Madonna       Erotica                            SR0000149428         Warner Records LLC
1575.    Madonna       Express Yourself                   SR0000106808         Warner Records LLC
1576.    Madonna       Forbidden Love                     SR0000200082         Warner Records LLC
1577.    Madonna       Frozen                             SR0000252818         Warner Records LLC
1578.    Madonna       Get Together                       SR0000375278         Warner Records LLC
1579.    Madonna       Give It 2 Me                       SR0000761202         Warner Records LLC
1580.    Madonna       Holiday                            SR0000046877         Warner Records LLC
1581.    Madonna       Hollywood                          SR0000330200         Warner Records LLC
1582.    Madonna       Human Nature                       SR0000200082         Warner Records LLC
1583.    Madonna       Hung Up                            SR0000375278         Warner Records LLC
1584.    Madonna       Into the Groove                    SR0000062651         Warner Records LLC
1585.    Madonna       Jump                               SR0000375278         Warner Records LLC
1586.    Madonna       Justify My Love                    SR0000128799         Warner Records LLC
1587.    Madonna       La Isla Bonita                     SR0000076979         Warner Records LLC
1588.    Madonna       Like a Prayer                      SRu000148149         Warner Records LLC
1589.    Madonna       Like a Virgin                      SR0000058389         Warner Records LLC
                                                          SR0000070805 /
1590.    Madonna       Live to Tell                                            Warner Records LLC
                                                          SR0000071082
1591.    Madonna       Love Profusion                     SR0000330200         Warner Records LLC
1592.    Madonna       Lucky Star                         SR0000046877         Warner Records LLC
1593.    Madonna       Material Girl                      SR0000059442         Warner Records LLC
1594.    Madonna       Music                              SR0000286415         Warner Records LLC
1595.    Madonna       Nothing Really Matters             SR0000252818         Warner Records LLC
1596.    Madonna       Open Your Heart                    SR0000076979         Warner Records LLC
1597.    Madonna       Papa Don't Preach                  SR0000076152         Warner Records LLC
1598.    Madonna       Rain                               SR0000149428         Warner Records LLC

                                                 - 73 -
        Case 1:24-cv-04777-AKH         Document 9-1       Filed 06/25/24   Page 74 of 78




1599.    Madonna      Ray of Light                        SR0000252818        Warner Records LLC
1600.    Madonna      Take a Bow                          SR0000200082        Warner Records LLC
                      This Used To Be My
1601.    Madonna                                          SR0000144552        Warner Records LLC
                      Playground
1602.    Madonna      True Blue                           SR0000076979        Warner Records LLC
1603.    Madonna      Vogue                               SR0000115751        Warner Records LLC
                                                                                    Warner
1604.   David Byrne   A Million Miles Away                SR0000141139          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
1605.   David Byrne   A Walk in the Dark                  SR0000141139          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
1606.   David Byrne   Carnival Eyes                       SR0000107920          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
1607.   David Byrne   Dirty Old Town                      SR0000107920          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
                      Don't Want to Be Part of
1608.   David Byrne                                       SR0000107920          Records/SIRE
                      Your World
                                                                                Ventures LLC
                                                                                    Warner
1609.   David Byrne   Girls on My Mind                    SR0000141139          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
1610.   David Byrne   Good and Evil                       SR0000107920          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
1611.   David Byrne   Hanging Upside Down                 SR0000141139          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
                      I Know Sometimes a Man
1612.   David Byrne                                       SR0000107920          Records/SIRE
                      Is Wrong
                                                                                Ventures LLC
                                                                                    Warner
1613.   David Byrne   Independence Day                    SR0000107920          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
1614.   David Byrne   Lie to Me                           SR0000107920          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
1615.   David Byrne   Loco De Amor                        SR0000107920          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
1616.   David Byrne   Make Believe Mambo                  SR0000107920          Records/SIRE
                                                                                Ventures LLC
                                                                                    Warner
                      Marching Through the
1617.   David Byrne                                       SR0000107920          Records/SIRE
                      Wilderness
                                                                                Ventures LLC



                                                 - 74 -
        Case 1:24-cv-04777-AKH            Document 9-1     Filed 06/25/24   Page 75 of 78




                                                                                     Warner
1618.   David Byrne     Monkey Man                         SR0000141139           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1619.   David Byrne     Now I'm Your Mom                   SR0000141139           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1620.   David Byrne     Office Cowboy                      SR0000107920           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1621.   David Byrne     She's Mad                          SR0000141139           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1622.   David Byrne     Somebody                           SR0000141139           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1623.   David Byrne     Something Ain't Right              SR0000141139           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1624.   David Byrne     The Call of the Wild               SR0000107920           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
                        The Cowboy Mambo (Hey
1625.   David Byrne                                        SR0000141139           Records/SIRE
                        Look at Me Now)
                                                                                  Ventures LLC
                                                                                     Warner
1626.   David Byrne     The Dream Police                   SR0000107920           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1627.   David Byrne     The Rose Tattoo                    SR0000107920           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1628.   David Byrne     Tiny Town                          SR0000141139           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1629.   David Byrne     Twistin' in the Wind               SR0000141139           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1630.   David Byrne     Women vs. Men                      SR0000107920           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
1631.   Talking Heads   Artists Only                       SR0000002701           Records/SIRE
                                                                                  Ventures LLC
                                                                                     Warner
                        Born Under Punches (The
1632.   Talking Heads                                      SR0000022013           Records/SIRE
                        Heat Goes On)
                                                                                  Ventures LLC
                                                                                     Warner
1633.   Talking Heads   Burning Down the House             SR0000046496           Records/SIRE
                                                                                  Ventures LLC




                                                  - 75 -
        Case 1:24-cv-04777-AKH            Document 9-1         Filed 06/25/24   Page 76 of 78




                                                                                         Warner
                        Burning Down the House
1634.   Talking Heads                                          SR0000059620           Records/SIRE
                        (Live)
                                                                                      Ventures LLC
                                                                                         Warner
1635.   Talking Heads   Crosseyed and Painless                 SR0000022013           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
1636.   Talking Heads   Found a Job                            SR0000002701           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
1637.   Talking Heads   Found a Job (Live)                     SR0000267008           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
                        Genius of Love (Tom Tom
1638.   Talking Heads                                          SR0000267008           Records/SIRE
                        Club) [Live]
                                                                                      Ventures LLC
                                                                                         Warner
1639.   Talking Heads   Girlfriend Is Better                   SR0000046496           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
1640.   Talking Heads   Girlfriend Is Better (Live)            SR0000059620           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
1641.   Talking Heads   Heaven (Live)                          SR0000267008           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
1642.   Talking Heads   Houses in Motion                       SR0000022013           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
1643.   Talking Heads   I Get Wild / Wild Gravity              SR0000046496           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
1644.   Talking Heads   I'm Not in Love                        SR0000002701           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
                        Life During Wartime
1645.   Talking Heads                                          SR0000059620           Records/SIRE
                        (Live)
                                                                                      Ventures LLC
                                                                                         Warner
1646.   Talking Heads   Listening Wind                         SR0000022013           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
1647.   Talking Heads   Making Flippy Floppy                   SR0000046496           Records/SIRE
                                                                                      Ventures LLC
                                                                                         Warner
                        Making Flippy Floppy
1648.   Talking Heads                                          SR0000267008           Records/SIRE
                        (Live)
                                                                                      Ventures LLC
                                                                                         Warner
1649.   Talking Heads   Moon Rocks                             SR0000046496           Records/SIRE
                                                                                      Ventures LLC




                                                      - 76 -
        Case 1:24-cv-04777-AKH              Document 9-1     Filed 06/25/24   Page 77 of 78




                                                                                       Warner
1650.   Talking Heads   Once in a Lifetime                   SR0000022013           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1651.   Talking Heads   Once in a Lifetime (Live)            SR0000059620           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1652.   Talking Heads   Psycho Killer (Live)                 SR0000059620           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1653.   Talking Heads   Pull up the Roots                    SR0000046496           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1654.   Talking Heads   Road to Nowhere                      SR0000064999           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1655.   Talking Heads   Seen and Not Seen                    SR0000022013           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1656.   Talking Heads   Slippery People                      SR0000046496           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1657.   Talking Heads   Slippery People (Live)               SR0000059620           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1658.   Talking Heads   Stay Hungry                          SR0000002701           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1659.   Talking Heads   Swamp                                SR0000046496           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1660.   Talking Heads   Swamp (Live)                         SR0000059620           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1661.   Talking Heads   Take Me to the River                 SR0000002701           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
                        Take Me to the River
1662.   Talking Heads                                        SR0000059620           Records/SIRE
                        (Live)
                                                                                    Ventures LLC
                                                                                       Warner
                        Thank You for Sending Me
1663.   Talking Heads                                        SR0000267008           Records/SIRE
                        an Angel (Live)
                                                                                    Ventures LLC
                                                                                       Warner
1664.   Talking Heads   The Big Country                      SR0000002701           Records/SIRE
                                                                                    Ventures LLC
                                                                                       Warner
1665.   Talking Heads   The Great Curve                      SR0000022013           Records/SIRE
                                                                                    Ventures LLC




                                                    - 77 -
        Case 1:24-cv-04777-AKH          Document 9-1      Filed 06/25/24   Page 78 of 78




                                                                                    Warner
1666.   Talking Heads   The Overload                      SR0000022013           Records/SIRE
                                                                                 Ventures LLC
                                                                                    Warner
                        This Must Be The Place
1667.   Talking Heads                                     SR0000046496           Records/SIRE
                        (Naïve Melody)
                                                                                 Ventures LLC
                                                                                    Warner
                        This Must Be the Place
1668.   Talking Heads                                     SR0000267008           Records/SIRE
                        (Naive Melody) [Live]
                                                                                 Ventures LLC
                                                                                    Warner
                        What a Day That Was
1669.   Talking Heads                                     SR0000059620           Records/SIRE
                        (Live)
                                                                                 Ventures LLC
                                                                                    Warner
1670.   Talking Heads   With Our Love                     SR0000002701           Records/SIRE
                                                                                 Ventures LLC




                                                 - 78 -
